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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The College of New Rochelle

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  29 Castle Place
                                  New Rochelle, NY 10805
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)

                                      Other. Specify:    Not-For-Profit




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Debtor    The College of New Rochelle                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   The College of New Rochelle                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    The College of New Rochelle                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 20, 2019
                                                  MM / DD / YYYY


                             X   /s/ Mark Podgainy                                                        Mark Podgainy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Interim Chief Restructuring Officer




18. Signature of attorney    X   /s/ Matthew G. Roseman                                                    Date September 20, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew G. Roseman MR-1387
                                 Printed name

                                 Cullen and Dykman LLP
                                 Firm name

                                 100 Quentin Roosevelt Blvd
                                 Garden City, NY 11530
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     516-357-3700                  Email address      mroseman@cullenanddykman.com

                                 MR-1387 NY
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name The College of New Rochelle
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 332 E LLC                                                       Landlord                                                                                               $152,818.98
 5676 Riverdale Ave.
 Suite 307
 Bronx, NY 10471
 755 Co-op City                                                  Landlord                                                                                               $458,686.72
 Associates LP
 Triangle Equities
 Mgmt Co LLC
 30-56 Whitestone
 Expressway
 Whitestone, NY
 11354
 Admissions US, LLC                                              Vendor                                                                                                   $68,430.06
 Campus
 Management Corp.
 Attn: Billing
 Boca Raton, FL
 33487
 ATI                                                             Vendor                                                                                                 $202,350.00
 11161 Overbrook
 Rd.
 Plainview, NY 11803
 Bedford Stuyvesant                                              Landlord                                                                                               $126,641.78
 Restoration
 Corporation
 2368 Fulton Street
 Brooklyn, NY 11216
 Con Edison                                                      Utility                                                                                                  $32,167.84
 PO Box 1701
 New York, NY
 10116-1701
 Culinart                                                        Vendor                                                                                                 $141,126.02
 175 Sunnyside Blvd.
 Plainview, NY 11803
 EAB Royall and                                                  Vendor                                                                                                   $56,075.00
 Company
 1920 E Parham Rd.
 Henrico, VA 23228

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    The College of New Rochelle                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 FHEG Coll-New                                                   Vendor                                                                                                   $86,287.74
 Roch. Camp Store
 Store No 518
 3146 Solutions
 Center
 Chicago, IL 60677
 Industry and Local                                              Pension                                                                                              $3,972,524.85
 338 Pension
 and Welfare
 911 Ridgebrook Rd
 Sparks Glencoe, MD
 21152-9451
 Janney Montgomery                                               Professionals                                                                                            $50,000.00
 Scott LLC
 1717 Arch Street
 22nd Floor
 Philadelphia, PA
 19103
 Kaufman Borgeast                                                Professionals                                                                                            $23,082.07
 & Ryan LLP
 120 Broadway
 New York, NY 10271
 Marist College                                                  Vendor                                                                                                 $273,921.25
 Information
 Technology
 3399 North Rd
 Poughkeepsie, NY
 12601
 Paetec                                                          Vendor                                                                                                   $54,417.98
 Communications Inc
 PO Box 9001013
 Louisville, KY
 40290-1013
 REEC West 125th St                                              Landlord                                                                                               $243,945.00
 LLC
 c/o Real Estate
 Equities Corp
 18 East 48th St
 Penthouse
 New York, NY 10017
 Registry for College                                            Vendor                                                                                                   $57,600.00
 &
 University
 Presidents
 3 Centennial Dr, Ste
 320
 Peabody, MA 01960
 Strata Information                                              Vendor                                                                                                   $35,657.50
 Group
 3935 Harney Street
 Ste. 203
 San Diego, CA
 92110

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    The College of New Rochelle                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Tax Collector - New                                             Taxes                                                                                                  $105,011.07
 Rochelle
 City Hall Tax Office
 515 North Avenue
 New Rochelle, NY
 10801
 Transworld Systems                                              Vendor                                                                                                   $26,562.63
 Inc
 PO Box 5505
 Attn Norcross
 Lockbox 24886
 Carol Stream, IL
 60197-5505
 Westchester                                                     Vendor                                                                                                   $26,971.83
 Academic
 Library Directors
 Org
 118 N Bedford Road
 Suite 201
 Mount Kisco, NY
 10549




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      The College of New Rochelle                                                                    Case No.
                                                                                   Debtor(s)               Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Interim Chief Restructuring Officer of the Not-For-Profit named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




 Date:       September 20, 2019                                         /s/ Mark Podgainy
                                                                        Mark Podgainy/Interim Chief Restructuring Officer
                                                                        Signer/Title




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                                   1999 Bonds NRIDA
                                     515 North Ave
                                  Dept. of Development
                                 New Rochelle, NY 10801

                                1st Heating Solutions LLC
                                    619 Oakside Road
                               Yorktown Heights, NY 10598


                                        332 E LLC
                            In Care of Chestnut Holdings of NY
                               5676 Riverdale Ave Suite 307
                                     Bronx, NY 10471

                               755 Co-op City Associates LP
                                  30-56 Whitestone Exp
                                  Whitestone, NY 11354

                                       A+ Letter Service
                                        200 Syracuse Ct
                                      Lakewood, NJ 08701


                                         Abad, Ronny
                                       630 Lenox Avenue
                                            Apt 1-A
                                      New York, NY 10037


                                  Abbiw-Jackson, Kenisha
                                   171 East 96th Street ,
                                         Apt. 5B
                                   Brooklyn, NY 11212


                                   Abdul-Rahim, Ahmad
                                  170 Southportland Ave.
                                         Apt. 8F
                                   Brooklyn, NY 11217




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                                      Abraham, Momena
                                      100 Erdman Place -
                                           Apt. 8C
                                       Bronx, NY 10475

                                      Abraham, William
                                      1622 Melville St #1
                                       Bronx, NY 10460

                                    Acevedo, Cristina
                                  7507 60th Lane 2nd fl
                                  Ridgewood, NY 11385


                                      Acevedo, Jayleen
                                        3930 3rd Ave
                                         Apt. S612
                                      Bronx, NY 10457


                                      Acevedo, Maricela
                                      2711 Gifford Ave.
                                           Apt. 3
                                      Bronx, NY 10465


                                      Acquah, Comfort
                                      4646 Park Avenue
                                          Apt. 4H
                                      Bronx, NY 10458


                                     Acquah, Justina
                                  1595 Metropolitan Ave
                                        Apt. 7E
                                    Bronx, NY 10462

                                      Acquah, Kelly
                                 920 Co-op City Blvd 17F
                                    Bronx, NY 10601

                              Action Environmental Services
                                     PO Box 554744
                                 Detroit, MI 48255-4744

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                                         Acy, Charlette
                                          1029 Hall Pl
                                            Apt. 55
                                        Bronx, NY 10459


                                          Acy, Nichole
                                          1029 Hall Pl
                                            Apt 55
                                        Bronx, NY 10459


                                     Adams, Indera
                                      345 Main St
                                        Apt 4C
                                 New Rochelle, NY 10801


                                         Adams, Kalen
                                       630 Lenox Avenue
                                           Apt 10-N
                                      New York, NY 10037


                                        Adams, Starkisha
                                       410 Lenox Avenue
                                            Apt. 2-N
                                      New York, NY 10037


                                      Adams-Shango, Hazel
                                        3520 Tryon Ave
                                           Apt. 606
                                       Bronx, NY 10467

                                         Adasi, Alexis
                                       364 Hawthorne St
                                      Brooklyn, NY 11225

                                        Addison, Tiffany
                                      70 Silvermine Avenue
                                       Norwalk, CT 6850




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                                         Addy, Sammy
                                      1203 East 224th Street
                                        Bronx, NY 10466


                                         Aderemi, Tolani
                                      2333 Webster Avenue,
                                              Apt
                                        Bronx, NY 10458


                                    Adeyanju, Olumide
                                  1420 Brooklyn Avenue
                                        Apt. 5G
                                   Brooklyn, NY 11210


                                     Adeyemi, George
                                  409 Beach 51st Street,
                                           Apt
                                 Far Rockaway, NY 11691


                                       Adib, Basim
                                 3555 Bainbridge Avenue -
                                         Apt. 2A
                                    Bronx, NY 10467


                                       Adlawan, Karina
                                        4121 Avenue V
                                            Apt. C3
                                      Brooklyn, NY 11234


                                  Admissions US, LLC
                                Campus Management Corp
                                     Attn: Billing
                                 Boca Ration, FL 33487


                                    Adriana D. Sanes
                                   2140 Madison Ave
                                        Apt 12B
                                New York, NY 10037-2829




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                                Advanced Benefit Strategies
                                      30 Mill Street
                                    Attn Sandy Miller
                                  Unionville, CT 06085

                                           Aetna
                                      PO Box 804735
                                  Chicago, IL 60680-4108

                                     Afranie, Whitney
                                  43 Beechwood Avenue
                                 Mount Vernon, NY 10553

                                   Agilient Technologies
                                  4187 Collections Ctr Dr
                                    Chicago, IL 60693

                                        Agnant, Joannie
                                         108 Bedell St
                                      Freeport, NY 11520

                                         Ahmed, Tysha
                                      922 Greene Avenue
                                      Brooklyn, NY 11212

                                          Ahuja, Anita
                                        255 E Warren St
                                      Iselin, NJ 88301255


                                        Aiken, Darlene
                                       872 Macon Street
                                           Apt. 4R
                                      Brooklyn, NY 11233

                                       Aiken, Jackie
                                    520 Seaside Road
                                St Helena Island, SC 29920




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                                  Aiyamenkhue, Jennifer
                                   214 East 168th Street
                                         Apt. C3
                                    Bronx, NY 10456

                                     Ajibade, Ifeoluwa
                                   41 Clarendon Drive
                                 Valley Stream, NY 11580

                                      Akerele, Esther
                                         32 4th St
                                 Ridgefield Park, NJ 07660

                                   Akerman, Hannah D
                                  270 Pennington Avenue
                                  Passaic, NJ 07055-4605

                                      Akhareyi, Monday
                                       238 Hoover Road
                                      Yonkers, NY 10710

                                    Akhter, Mousumi
                               1223 White Plains Rd Apt 211
                                    Bronx, NY 10472


                                         Alao, Foyeke
                                       264 Palisade Ave
                                            Apt 1B
                                      Yonkers, NY 10703


                                         Alarmsoft
                                   Accounts Receivable
                               2669 Production Road #102A
                              Virginia Beach, VA 23454-5258

                                    Alexander, Barbara
                                  222 East Greenwich Ave
                                   Roosevelt, NY 11575




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                                      Alexandre, Luckner
                                       40 Woodruff Ave
                                           Apt. 310
                                      Brooklyn, NY 11226


                                       Alexandre, Michele
                                      2801 Dewey Avenue,
                                            Apt 3D
                                        Bronx, NY 10465


                                        Alexis, Leyamah
                                          1461 Hicks St
                                              Apt 2
                                      Bronx, NY 104691742

                                      Ali, Marium
                                     41 Rushby Way
                                 Yonkers, NY 10701-5422


                                          Ali, Monique
                                        120 Drkruif Place
                                            Apt 24L
                                        Bronx, NY 10475


                                        Ali, Randy
                                    20-40 Seagirt Blvd
                                         Apt. 50
                                 Far Rockaway, NY 11691


                                          Ali, Rubab
                                          259 Elm St
                                             Apt 1
                                       Yonkers, NY 10701


                                          Allen, Jean
                                       987 Union Avenue
                                            Apt 5-F
                                       Bronx, NY 10459




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                                         Allen, Joann
                                       100 Alcott Place
                                          Apt 10-H
                                       Bronx, NY 10475

                                      Allen, Jonelle
                                 1368 Metropolitan Ave 3B
                                     Bronx, NY 10462


                                      Allen, Shanice
                                  1567 Nostrand Avenue
                                         Apt. 3E
                                   Brooklyn, NY 11226


                                       Allen, Stephanie
                                       110 Bradford St
                                             Apt 5
                                      Harrison, NY 10528

                                      Alleva, Anne
                                   17 Top of the Ridge
                                  Mamaroneck, NY 10543

                                     Allison, Najzwha
                                      850 E 231st St
                                  Bronx, NY 10466-4408


                                       Almonte, Cynthia
                                      839 Hunts Point Ave
                                            Apt 4A
                                       Bronx, NY 10474

                                           Alper, Emel
                                       29 Pryer Manor Rd
                                      Larchmont, NY 10538


                                        Alshaib, Asaleh
                                       2704 Wallace Ave
                                           Apt 33N
                                       Bronx, NY 10467

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                                          Alston, Daryl
                                       12202 Raritan Lane
                                       Bowie, MD 20715


                                         Alston, Justin
                                       185 Nevins Street
                                           Apt. 7B
                                      Brooklyn, NY 11217

                                       Altaheri, Yasmine
                                      719 Westminster Rd
                                      Brooklyn, NY 11230


                                         Alvarado, Maria
                                      3033 Coddington Ave.
                                             Apt. 1
                                        Bronx, NY 10461

                                       Alvarado, Roseann
                                       9793 Stover Way
                                      Wellington, FL 33414

                                         Alvarez, Nadine
                                       19 Groveland Street
                                        Boston, MA 2126

                                        Amato, Suzanne
                                      31 West Broad Street
                                      Bergenfield, NJ 7621


                                  Amatul-Matin, Ziyadah
                                   105 Monroe Street
                                         Apt. 2
                                  Mt Vernon, NY 10553


                                         Amaya, Shaela
                                         750 E. 163rd St
                                            Apt 10F
                                        Bronx, NY 10456



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                                          Ameen, Sifat
                                        44 Fenimore Rd
                                      Scarsdale, NY 10583

                              American Art Therapy Association
                               4875 Eisenhower Ave Suite 240
                                   Alexandria, VA 22304

                                American LIbrary Association
                                       50 Huron St
                                  Chicago, IL 60611-2795


                       American Society for Public Administration ASPA
                                 1730 Rhode Island Ave NW
                                          Suite 500
                                   Washington, DC 20036


                                        Amidou, Lamissi
                                       3073 Park Avenue,
                                            Apt. 5A
                                        Bronx, NY 10451

                                      Amo-Adu J, Michael
                                         746 Drew St
                                      Brooklyn, NY 11208

                                     Amoah, Catherine
                                 711 White Plains Rd Apt 4G
                                     Bronx, NY 10473


                                     Amoako, Ernestina
                                   165 E 179th St Apt 4F
                                           Apt 4F
                                     Bronx, NY 10453


                                         Amoh, Beatrice
                                        320 S Broadway
                                             Unit M5
                                      Tarrytown, NY 10591



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                                         Amos, Blake
                                      439 Greene Avenue,
                                            Apt. 4
                                      Brooklyn, NY 11216


                                      Amougou, Solange
                                       587 E 178th St
                                           Apt 2
                                      Bronx, NY 10457


                                     Anastasi, Sara J
                                     185 Elm Street
                                        Apt #1
                                 New Rochelle, NY 10805


                                    Anderson, Amanda
                                  1881 Coney Island Ave.
                                         Apt. 6
                                   Brooklyn, NY 11230

                                        Anderson, Erika
                                         346 E 17th St
                                      Brooklyn, NY 11226


                                   Anderson, Kimisha
                                  100 N Columbus Ave
                                         Apt. 1
                                 Mount Vernon, NY 10553


                                      Anderson, Latoya C
                                       321 Eastern Pkwy
                                            Apt 2C
                                      Brooklyn, NY 11238


                                       Anderson, Nakea
                                      101 South 3rd Street
                                           Apt. 6F
                                      Brooklyn, NY 11211




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                                       Anderson, Petrina
                                       1 St.Nicholas Ave.
                                             Apt.31
                                      New York, NY 10027


                                        Anderson, Priscilla
                                        2950 Park Avenue
                                            Apt. 324
                                        Bronx, NY 10451

                                      Anderson, Ria
                                  1410 Wood Rd Apt 7F
                                  Bronx, NY 10462-7211

                                        Anderson, Robert
                                         90-14 161st St
                                       Jamaica, NY 11432

                                       Anderson, Samantha
                                      112 Saint George Place
                                        Byron, GA 31008


                                        Anderson, Tameca
                                       50 Paladino Avenue
                                             Apt 8-E
                                      New York, NY 10035


                                         Andrade, Debora
                                        5400 Fieldston Rd
                                            Apt 32B
                                        Bronx, NY 10471

                                       Andrews, D'Vaughn
                                       515 South 11th Ave
                                      Mt Vernon, NY 10550

                                       Andrews, Lee
                                    916 Narrasesste Ave.
                                 Eas Patchoughe, NY 11772



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                                    Antalec, Joseph C.
                                   478 West William St.
                               Port Chester, NY 10573-3557

                                    Antonacci, Brianna
                                     29 Roosevelt Dr
                                 Bethpage, NY 11714-5537

                                      Antwi, Beatrice
                                  120 Asch Loop Apt 24F
                                     Bronx, NY 10475


                                        Aponte, Normita
                                      2869 Bainbridge Ave.
                                            Apt. 4M
                                        Bronx, NY 10458


                                          Aponte, Rosa
                                       4385 Vireo Avenue
                                            Apt. 4B
                                        Bronx, NY 10470

                                      Appiah, Akosua
                                 955 Sheridan Ave Apt 4L
                                     Bronx, NY 10456


                                        Arache, Pamela
                                      220 Wadsworth Ave
                                           Apt 106
                                      New York, NY 10033


                                         Aragon, Nancy
                                        286 South Street
                                           Apt. 25-H
                                      New York, NY 10002

                                        Arcenal, Mark
                                       89 Leighton Ave
                                      Yonkers, NY 10705



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                                      Archibald, Heather
                                      12 Gale Ave. 2nd Fl
                                      Pittsfield, MA 1201

                                      Ardito, Laura
                                   313 Laurel Brook Rd
                                  Montvale, NJ 76451742

                                    Armstrong, Paulina
                                 829 Schenck Ave Apt 2D
                                   Brooklyn, NY 11207

                                        Arnao, Chelsea
                                      69 Lake Nanuet Dr
                                      Nanuet, NY 10954


                                     Arroyave, Gerson
                                     799 Riverdide Dr.
                                         Apt.1013
                                  Coral Springs, FL 33071


                                       Arroyo, Griselle
                                      582 Southern Blvd
                                           Apt 43
                                      Bronx, NY 10455


                                        Aryeh, Robert
                                      754 Brady Avenue,
                                           Apt 602
                                       Bronx, NY 10462

                                      Asante, Jacqueline
                                       80 Inwood Street
                                      Yonkers, NY 10704


                                        Asante, Jennifer
                                      2980 Valentine Ave
                                           Apt 514
                                       Bronx, NY 10458



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                                        Asante, Veronica
                                        4604 Bronx Blvd
                                        Bronx, NY 10470


                                           ASCAP
                                      Accounts Receivable
                                        1900 Broadway
                                      New York, NY 10023


                                      Ascencio, Monserrate
                                       3305 Fish Avenue,
                                            Apt. 1
                                       Bronx, NY 10469


                                      Ashmore, Dawn
                                 875-881 Pennsylvania Ave
                                          Apt. 4
                                   Brooklyn, NY 11207


                              ASI Campus Laundry Solutions
                                   Mac-Gray Services
                                     PO Box 1105
                                   Dayton, OH 45410

                                        Asibey, Veronica
                                        47 Eastbrook Crt
                                      Brentwood, NY 11717


                                         Asiedu, Barbara
                                         365 E 184th St
                                             Apt 315
                                        Bronx, NY 10458


                          Association of Division III Independent
                                    Nebraska Wesleyan
                                    5000 St PAul Ave
                                    Lincoln, NE 68504




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                Association of Governing Boards of Universities and Colleges
                                  1133 20th Street N.W.
                                         Suite 300
                                  Washington, DC 20036

                        Association of Writers and Writing Programs
                             4400 University Drive MSN 1E3
                                     Fairfax, VA 22030


                                      Assured Environments
                                          45 Broadway
                                           10th Floor
                                      New York, NY 10006


                                         Asuquo, Emem
                                       338 Ashburton Ave
                                            Apt. 2
                                       Yonkers, NY 10701

                                           ATI LLC
                                      11161 Overbrook Rd
                                      Leawood, KS 66211

                                          Attain, LLC
                                       P.O. BOX 221374
                                      Chantilly, VA 20151


                                        Attiogbe, Adjo
                                         56 W 119th St
                                            Apt 4B
                                      New York, NY 10026


                                        Aubin, Michelle
                                        304 St Johns Pl
                                            Apt 3H
                                      Brooklyn, NY 11238

                                    Augustus, Lynne
                              4027 Wilder Avenue - Top Floor
                                    Bronx, NY 10455

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                                       Ausby, Bianca
                                   221-06 135th Avenue,
                                Springfield Gdns, NY 11413

                                      Avalos, Angela
                                     244 Hudson Ave
                                  Albany, NY 122101802


                                         Avant, Donna
                                        880 Thieriot Ave
                                            Apt 6G
                                        Bronx, NY 10473

                                     Avila, Daisy
                                     89 Iselin Dr
                              New Rochelle, NY 10804-1032


                                          Aviles, Sidra
                                      935 St. Nicholas Ave.
                                             Apt. 3E
                                      New York, NY 10032

                                        Awuah, Jennifer
                                       52 Werner Place
                                       Teaneck, NJ 7666


                                          Ayala, Jessica
                                       12 Chatsworth Ave
                                            Apt A43
                                      Larchmont, NY 10538


                                         Ayers, Kendall
                                      654 St.Marks Avenue
                                            Apt. 1C
                                       Brooklyn, NY 11216

                                          Baby, Jayson
                                         81 Bajart Place
                                       Yonkers, NY 10705



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                                     Bacchus, Keisha
                                  2178 Lexington Avenue
                                           Apt
                                   New York, NY 10037

                                         Bach, Joseph
                                          8 Argyle Ct
                                      Parsippany, NJ 7054

                                       Bacote, Brenda
                                      20 Eldridge Ave
                                  Staten Island, NY 10302

                                    Badalova, Izabella
                                89-11 63rd Drive - Apt. 306
                                   Rego Park, NY 11374

                                     Badu, Rosemond
                              40 W Mosholu Pkwy S Apt 20A
                                  Bronx, NY 10468-1144

                                     Baez, Alessandra
                                  692 Milford Point Road
                                    Milford, CT 06460

                                        Baez, Amarilis
                                      825 East 221st Street
                                       Bronx, NY 10467

                                    Bagwell, Jonathan
                                        11 Meda Pl
                                  White Plains, NY 10605


                                         Bailey, Brian
                                       140 Dekruif Place
                                           Apt 18C
                                       Bronx, NY 10475




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                                         Bailey, Carole
                                        2959 Barnes Ave
                                        Bronx, NY 10467

                                        Bailey, Cassiedah
                                      174 Schenectady Ave
                                      Brooklyn, NY 11213

                                         Bailey, Shaunia
                                         977 Mace Ave
                                      Bronx, NY 104694607

                                      Bailey, Simone
                               98-23 Horace Harding Expwy
                                    Corona, NY 11368

                                        Bailey, Tanisha
                                       450 East 52nd St.
                                      Brooklyn, NY 11203

                                       Baird-Appiah, Liza
                                       2728 Pearsall Ave
                                       Bronx, NY 10469

                                      Baker, Shameka
                                  1339 Bristow St Apt. 5D
                                     Bronx, NY 10459


                                         Baker, Tashia
                                        1152 East224 St
                                            Apt 3A
                                        Bronx, NY 10466

                                         Baker, Wilbert
                                       2835 Gunther Ave.
                                        Bronx, NY 10469

                                         Balan, Marie
                                        99 Jean Avenue
                                      Hempstead, NY 11550

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                                        Baldwin, Sophia
                                      683A Quincy Street
                                      Brooklyn, NY 11221

                                        Balestra, Michael
                                        4314 Oneida Ave
                                        Bronx, NY 10470

                                     Balseiro, Leslie
                                  1040 Muhlenbery Street
                                    Reading, PA 19602


                                       Balthazar, Rachelle
                                       332 West 141 Str.
                                            Apt. 2-A
                                      New York, NY 10030


                                 Bank of New York Mellon
                                   525 William Penn Pl
                                          38th Fl
                                   Pittsburgh, PA 15259

                                         Baque, Jennifer
                                      1902 Edwenwald Ave
                                        Bronx, NY 10466


                                        Barbosa, Albert
                                      120 West 94th Street,
                                            Apt 9
                                      New York, NY 10025


                                         Barclay, Kaija
                                         1718 Purdy St
                                           Apt. 4-H
                                        Bronx, NY 10462


                                     Barile, Stephanie
                                  3825 West Anthem Way
                                        Apt. 2144
                                    Anthem, AZ 85086

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                                        Barnes, Amanda
                                      219 Bronx River Road
                                            Apt. 2B
                                       Yonkers, NY 10704

                                     Barnes, Rebecca
                                     118 Wesley Ave
                                  Port Chester, NY 10573

                                         Barnes, Robert
                                         587 Tinton Ave
                                        Bronx, NY 10455


                                        Barnes, Willisha
                                      200 West 111th Street
                                              Apt
                                      New York, NY 10026

                                     Barragan, Abril
                                       15 May St
                                 New Rochelle, NY 10801

                                  Barranco Barbosa, Luz
                                    238 Bleakley Ave
                                 Buchanan, NY 105111002


                                         Barrett, Leon
                                       875 Morrison Ave
                                           Apt 11C
                                       Bronx, NY 10473


                                        Barrett, Miguel
                                      335 East 112th Street
                                             Apt 2
                                      New York, NY 10029


                                       Barrett, Nicquawn
                                       1769 Vyse Avenue
                                            Apt. 1
                                       Bronx, NY 10460

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                                      Barrios, Luis
                                     133-32 129 St
                                So Ozone Park, NY 11420

                                 Barriteau-Phaire, Candace
                                   441 N Columbus Ave
                                  Mt Vernon, NY 10552

                                       Barry, Nene
                                  1033 Boston Rd Apt 2E
                                    Bronx, NY 10456

                                     Bartee, Shadee
                                     18 Everett St.
                                 New Rochelle, NY 10801

                                         Bartley, Harold
                                       130-13 146th Street
                                      Ozone Park, NY 11436


                                          Barton, Gail
                                       955 Waring Avenue
                                            Apt.6B
                                        Bronx, NY 10469

                                       Barton, Nkosazana
                                      279 Midwood Street
                                      Brooklyn, NY 11225

                                        Bartz, Dawn
                                      28 Weskora Ave
                                Pleasantville, NY 105702715

                                    Barylchenko, Inna
                              1660 Sheepshead Bay Rd 3rd Fl
                                   Brooklyn, NY 11235




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                                    Bascom, Angeline
                                 6833 Lakeview Haven Dr
                                        Apt. 432
                                   Houston, TX 77084

                                     Baskins, Barbara
                                 1425 Pennsylvania Avenue
                                   Brooklyn, NY 11239


                                          Batey, India
                                       1330 Intervale Ave
                                            Apt. 7F
                                        Bronx, NY 10459

                                     Batirbek, Aznehan
                                 20 Aqueduct Ave 1st Floor
                                    Yonkers, NY 10704

                                     Batista, Charlene
                                       9 French Ter
                                  Yonkers, NY 107042407


                                      Batista, Katalina
                                  508 Bloom Field Avenue
                                          Apt. 1
                                      Verona, NJ 7044


                                         Battle, Lacillia
                                      1065 Dr. MLK Jr.Blvd
                                            Apt. 13H
                                        Bronx, NY 10452

                                        Baxter, Katelyn
                                         16 Milton Ave
                                       Liberty, NY 12754


                                        Bazemore, Trinita
                                      217 Bainbridge Street
                                             Apt-4
                                      Brooklyn, NY 11233

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                                      Bean-Hutson, Debra
                                       808 Putnam Ave.
                                           Apt. 4A
                                      Brooklyn, NY 11221

                                        Beaton, Kandra
                                        618 East 43rd St
                                      Brooklyn, NY 11203


                                     Beattie, Jessica
                                     One City Place,
                                        Apt. 1403
                                  White Plains, NY 10601


                                       Beauford, Monique
                                      1660 Madison Avenue
                                            Apt 5-
                                      New York, NY 10029

                                       Beckford, Dawnette
                                       2745 Matthews Ave
                                        Bronx, NY 10467

                                     Beckford, Janene
                                 14 Suydam Place 3rd Floor
                                    Brooklyn, NY 11233

                                    Beckwith Pointe
                                   700 Davenport Ave
                                 New Rochelle, NY 10805

                            Bedford Stuyvesant Restoration Corp
                                      1368 Fulton St
                                   Brooklyn, NY 11216


                                       Bediako, Henrietta
                                       2190 Madison Ave
                                           Apt 12H
                                      New York, NY 10037



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                                           Bekoe, Eva
                                      2100 Creston Avenue
                                             Apt 6-
                                        Bronx, NY 10453


                                        Belgrave, Anna
                                        90 Baruch Drive
                                            Apt-10C
                                      New York, NY 10002

                                     Belinsky, Elizabeth
                                       322 Nelson Ave
                                Staten Island, NY 103083435

                                       Bell, Jonathan
                                     228 Hamilton Ave.
                                  Staten Island, NY 10301

                                     Bell, Vanessa
                                   1076 E Holmes Rd
                                 Memphis, TN 381168246

                                     Bellinger, Jessica
                                52-54 St. Nicholas Place Ap
                                   New York, NY 10031

                                        Bellinger, Kim
                                        P O Box 9093
                                      Hampton, VA 23670

                                     Bellot, Hadassah
                                 434 South Second Ave Ph
                                  Mt.Vernon, NY 10550

                                 Belmont Rodriguez, Ana
                           Urb Jose Mercado V42 Calle Thomas J
                                     Caguas, PR 725




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                                     Belton, Marsha
                                   82 Bank St Apt 2G
                                  White Plains, NY 10606

                                      Bencosme, Bienvenida
                                      3450 Gates Pl Apt 2A
                                        Bronx, NY 10467


                                   Bencosme, Luarben
                                  142 W Boston Post Rd
                                        Apt. 3B
                                  Mamaroneck, NY 10543

                                     Benefield, Creg
                               2770 Morgan Ave P.O..Box52
                                    Bronx, NY 10469

                                        Benn, Shameka
                                      6313 Polar Fox Court
                                      Riverdale, GA 30296


                                         Bent, Richard
                                      357 Edgecombe Ave
                                           Apt. 3G
                                      New York, NY 10031


                                      Bentley, Terrie
                                  40 South Highland Ave.
                                          Apt. 3
                                   Ossining, NY 10562

                                        Berger, Patricia
                                         14 Hadden Rd
                                      Scarsdale, NY 10583


                                       Bergmann, Megan
                                        77 Sterling Ave
                                             Apt 1
                                       Yonkers, NY 10704



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                                     Bergmann, Robert
                                        146 Macy Rd
                                Briarcliff Manor, NY 10510

                                        Bergsten, Ilyssa
                                        205 Rogene St.
                                      Rochester, NY 14616


                                         Berrios, Kali
                                       625 E 141st Street
                                           Apt. 5A
                                       Bronx, NY 10454


                                        Best, Shandaia
                                       370 Cypress Ave
                                          Apt. 1Lb
                                       Bronx, NY 10454

                                        BGCMV
                                  350 South Sixth Ave
                                 Mount Vernon, NY 10550

                                       Bhagwan, Donna
                                      107-02 154th Street
                                      Jamaica, NY 11433


                                        Biddle, Carol
                                             Rd
                                     Apt. 2 Box 233A
                                  Williamsburg, PA 16693

                                     Bilal-Mack, Kiana
                                  1250 Ocean Ave Apt 5O
                                   Brooklyn, NY 11230

                                        Birkett, Jayquan
                                       1869 Harrison Ave
                                       Bronx, NY 10453




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                                       Birthwright, Sandra
                                      140-16 Benchley Place
                                        Bronx, NY 10475

                                  Bisaccia, Dominique
                                 573 Croton Heights Rd
                            Yorktown Heights, NY 10598-5930

                                       Bishop, Genevieve
                                        263 West 114 St
                                      New York, NY 10026


                                        Bishop, Michael
                                      1018 Bedford Avenue
                                            Apt 2F
                                      Brooklyn, NY 11205


                                        Bishop, Shawn
                                        241 Hoyt Street
                                           Apt 4-D
                                      Brooklyn, NY 11217

                                       Blackbaud Inc
                                      PO Box 930456
                                  Atlanta, GA 31193-0256

                                       Blackbaud Inc
                                      PO Box 930456
                                  Atlanta, GA 31193-0256


                                        Blackman, Carol
                                      12399 Flatlands Ave
                                           Apt. 5D
                                      Brooklyn, NY 11207

                                    Blacknell, Dianne
                                358 Nepperhan Ave Apt 4A
                                   Yonkers, NY 10701




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                                       Blackshear, Tellies
                                      2121 Belmont Avenue
                                            Apt. 6
                                        Bronx, NY 10457

                                      Blackwell, Samantha
                                       7 Townsend Lane
                                      Brewster, NY 10509

                                      Blair, Ledorn
                                   241 South 9th Ave
                                 Mount Vernon, NY 10550

                                         Blaize, David
                                      1470 President Street
                                      Brooklyn, NY 11213


                                         Blake, Lorna
                                      220 Throop Avenue,
                                           Apt 1A
                                      Brooklyn, NY 11206


                                          Blake, Petal
                                       2255 Strauss Street
                                            Apt 1-
                                      Brooklyn, NY 11212

                                   Blakely Equipment
                                     491 E Third St
                                 Mount Vernon, NY 10553


                                       Blanchard, Sandra
                                      1752 Sterling Place
                                           Apt. 2F
                                      Brooklyn, NY 11233


                                        Bland, Melonie
                                       34-12 113th Street
                                           Apt 10B
                                       Corona, NY 11368

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                                    Blaufarb, Matthew
                                       386 Rose St
                                Massapequa Park, NY 11762

                                        Blaustein, Anna
                                          443 73rd St
                                      Brooklyn, NY 11209

                                       Blount, Gregory
                                      126-19 144th Street
                                      Queens, NY 11436


                                         Blue, Clarissa
                                       2253 Strauss Street
                                            Apt. 2B
                                      Brooklyn, NY 11212


                                      Blyden, Christopher
                                      1228 Boynton Ave
                                           Apt. 2F
                                       Bronx, NY 10472


                                        Boadu, Martha
                                         20 Post Ave
                                           Apt 3-G
                                      New York, NY 10034

                                         Boccio, Anna
                                        41 Jefferson Ave
                                      Lynbrook, NY 11563

                                       Bochbot, Samantha
                                      1348 East 86th Street
                                      Brooklyn, NY 11236

                                        Bogardus, Holly
                                          8 Viviana Dr
                                      Farmington, NH 3835




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                                        Bolar, Vernell
                                       20 Marian Court
                                      Warwick, NY 10990


                                         Bonfrey, Maud
                                      2051 Grand Concourse
                                             Apt 4
                                        Bronx, NY 10453


                                        Bonilla, Arlene
                                       405 East 105th St
                                           Apt. 9E
                                      New York, NY 10029

                                         Bonilla, Jasmin
                                      1312 Noble Ave Bsmt
                                        Bronx, NY 10472

                                       Bonk, Jamie
                                      74 W Tioga St
                                  Tunkhannock, PA 18657


                                         Bonsu, Tracey
                                         3125 Park Ave
                                            Apt 12D
                                        Bronx, NY 10451

                                        Bopp, John
                                        36 Corsa St
                                 Dix Hills, NY 11746-6623

                                       Borgese, Andrew
                                         121 Garden Dr
                                      Albertson, NY 11507

                                           Bosse, Erin
                                           7 Otha Dr
                                       Katonah, NY 10536




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                                        Boston, Moniqua
                                       3758 10th Avenue,
                                           Apt. 11-A
                                      New York, NY 10034

                                        Boswell, Alberta
                                       324 East 143 Street
                                        Bronx, NY 10451


                                        Boulin, Yves
                                       11 Fletcher Rd
                                           Apt A
                                      Monsey, NY 10952


                                         Boutin, Pierre
                                      214 Kings Highway
                                            Apt. 2
                                      Brooklyn, NY 11233

                                        Bowen, Andrea
                                        3465 Fish Ave
                                       Bronx, NY 10469

                                    Bowen, Anthony
                                    37 Rochelle Place
                                 New Rochelle, NY 10801

                                     Bowen, Robert
                                     123 Beaufort Pl
                                 New Rochelle, NY 10801


                                      Bowie, Sheryl
                                  1160 229th Drive South
                                         Apt. 6H
                                    Bronx, NY 10466


                                       Bowleg, Lashawn
                                      126 Martense Street
                                            Apt. 2
                                      Brooklyn, NY 11226

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                                         Bowman, Nubia
                                      79 Ravine Ave. 3rd Fl
                                       Yonkers, NY 10701

                                     Bowser, Geneva
                                      109-33 212 St.
                                 Queens Village, NY 11429


                                         Boyce, Queen
                                       1068 Gerad Avenue
                                             Apt3B
                                        Bronx, NY 10452


                                          Boyd, Karen
                                       1931 Madison Ave.
                                            Apt. 7B
                                      New York, NY 10035


                                         Boyd, Nygeer
                                       1830 First Avenue
                                           Apt 21-J
                                      New York, NY 10128

                                      Boye, Harriete
                                1955 Sedgwick Ave Apt 5A
                                    Bronx, NY 10453


                                        Boylan, Michelle
                                      938 St Nicholas Ave
                                           Apt. 37
                                      New York, NY 10032

                                         Bracey, Natasha
                                      788 East 182 Street 2E
                                        Bronx, NY 10460


                                         Bradbury, Emily
                                      123 Washington Street
                                             Apt. 3L
                                        Hoboken, NJ 7030

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                                        Bradley, Olga
                                        983 Teller Ave
                                            Apt. 3
                                       Bronx, NY 10456

                                        Bradshaw, Jerry
                                      14508 111 Avenue
                                      Jamaica, NY 11435


                                       Bradshaw, Tiafaria
                                       105 Lefferts Place
                                           Apt. B32
                                      Brooklyn, NY 11238


                                       Brady, James
                                 115 Sedgwick Ave Apt 2J
                                          Apt 2J
                                    Yonkers, NY 10705

                                       Braithwait, Claire
                                       2096 Pitman Ave
                                       Bronx, NY 10466

                                Braithwaite, Oniwabiolorun
                                       528 Queen St
                                Westbury, NY 115901339


                                         Bratten, Shanel
                                        1809 3rd.Avenue
                                            Apt 5-E
                                      New York, NY 10029


                                       Bratton, Charlette
                                        1873 Park Place
                                             Apt.3
                                      Brooklyn, NY 11233

                                        Braxton, Letizia
                                       P.O. Box 370294
                                      Brooklyn, NY 11237

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                                        Braxton, Richard
                                         351 Lenox Ave
                                      New York, NY 10027

                                       Brefo, Regina
                               241 East Mosholu Pkwy North
                                     Bronx, NY 10467

                                    Brensinger, Erika
                                  1234 Ringwood Ave
                              Pompton Lakes, NJ 07442-2327


                                        Brent, Natarsha
                                        660 Main Street
                                      Apt. 1 P.O.BOX 547
                                      Peekskill, NY 10566

                                       Bresil, Lorie
                                3300 West Camelback Road
                                    Phoenix, AZ 85017


                                       Brewer, Bridgette
                                      209 East 16th Street
                                            Apt-C
                                      Brooklyn, NY 11226

                                      Brinn, Elizabeth
                                        27 Barrie Dr
                                  Spring Valley, NY 10977

                                      Brinson, Kuhlighjah
                                        15 Garry Knolls
                                      Danbury, CT 06810


                                       Brioso, Alejandrina
                                         625 E 141st St
                                             Apt 3D
                                        Bronx, NY 10454




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                                           Britt, Troy
                                      1113 Findlay Avenue
                                           Apt. 4-D
                                       Bronx, NY 10456

                                       Britton, Marie-Lyn
                                        243 Herzl Street
                                      Brooklyn, NY 11212


                                        Broadus, Mark
                                       512 West 134th St
                                            Apt 22
                                      New York, NY 10031


                                         Brock Jr, David
                                        2080 5th Avenue
                                            Apt Bsmt
                                      New York, NY 10035

                                    Brock, Shekedia
                                     14 N High St
                              Mount Vernon, NY 10550-1844


                                    Brockenbury, Peter
                                  100 Lane Crest Avenue
                                         Apt 2E
                                 New Rochelle, NY 10805

                                       Brockington, Willis
                                      2097 Daly Ave Apt 3C
                                        Bronx, NY 10460

                                        Brooks, Clorecia
                                        508 Pine Street
                                      Brooklyn, NY 11208

                                    Brooks, Donielle
                             1320 East 224th Street - 2nd floor
                                    Bronx, NY 10466



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                                  Brown Samuels, Uvalyn
                                     3002 Wilson Ave
                                     Bronx, NY 10469

                                      Brown Susan, Wilson
                                          55 Henry St
                                      Scarsdale, NY 10583


                                      Brown, Allana
                                    2 North Broadway
                                         Apt. 1F
                                  White Plains, NY 10601

                                         Brown, Amber
                                      25 Pierces Rd Unit 20
                                      Newburgh, NY 12550


                                         Brown, Andrea
                                        3665 Laconia Ave
                                             Apt. 2
                                        Bronx, NY 10469


                                         Brown, Calesha
                                      1146 East 224th Street,
                                            Apt. 2A
                                        Bronx, NY 10466


                                        Brown, Catherine
                                       378 Throop Avenue
                                           Apt. A3C
                                       Brooklyn, NY 11221


                                         Brown, Chenai
                                      435 East 105th Street
                                              Apt
                                      New York, NY 10029

                                      Brown, Claudia
                                4120-16J Hutchinson River P
                                     Bronx, NY 10475

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                                         Brown, Dwayne
                                       219 Nesbit Terrace
                                       Irvington, NJ 7111


                                      Brown, Elisa
                                    590 Flatbush Ave
                                         Apt 17T
                                 Brooklyn, NY 112254900

                                      Brown, Elizabeth
                                  458 Sw Belmont Circle
                                 Port Saint Lucie, FL 34953

                                        Brown, Hamica
                                      122 Fenimore Street
                                      Brooklyn, NY 11225

                                     Brown, Heather
                                  220 Pelham Rd Apt 2E
                                 New Rochelle, NY 10805

                                        Brown, Hyacinth
                                       401 Prospect Street
                                      East Orange, NJ 7017


                                     Brown, Jeanette
                                  8400 Shore Front Pkwy
                                         Apt. 2B
                                Rockaway Beach, NY 11693

                                        Brown, Kamala
                                       114-35 149th St
                                      Jamaica, NY 11436

                                        Brown, Melissa
                                       48 Highland Ave
                                      Otisville, NY 10963




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                                     Brown, Michael
                                        10 Old Rd
                                  White Plains, NY 10607

                                   Brown, Nathalene
                             1400 Mall of Georgia Blvd #1604
                                   Buford, GA 30519

                                     Brown, Salihah
                                  2076 Matthews Avenue
                                    Bronx, NY 10462


                                        Brown, Sandra
                                       217 S Waverly St
                                            Apt 4H
                                      Yonkers, NY 10701


                                       Brown, Shamane
                                       799 Putnam Ave.
                                           Apt. 3D
                                      Brooklyn, NY 11221


                                        Brown, Shanette
                                      329 Patchen Avenue
                                            Apt-7A
                                      Brooklyn, NY 11233


                                       Brown, Shavette
                                        136 "B" Street
                                            Apt 1
                                      Lincoln, NE 68502


                                      Brown, Sheena
                                 284 South Columbus Ave
                                           Apt
                                 Mount Vernon, NY 10553




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                                          Brown, Tynia
                                      28 MacDonough Street
                                            Apt. 2H
                                       Brooklyn, NY 11216


                                        Brown, Wanda
                                        601 W 176th St
                                            Apt 24
                                      New York, NY 10033

                                        Browne, Caroline
                                       74 Buckingham Rd
                                       Yonkers, NY 10701

                                Bruce-Vanderpuije, Roselind
                                 263 Eastern Pkwy Apt 3H
                                 Brooklyn, NY 11238-6323

                                        Bruna, Kechley
                                         1514 E 94th St
                                      Brooklyn, NY 11236

                                     Bryan, Kandebar
                                  2000 Skylar Leigh Drive
                                    Buford, GA 30518

                                      Bryan, Tonyna
                                     158 Beach 27th St
                                 Far Rockaway, NY 11691

                                         Bryant, Kayla
                                         138 George St
                                      East Haven, CT 6512

                                     Bryant, Marjorie
                                     221-11 113 Drive
                                 Queens Village, NY 11429




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                                         Bryant, William
                                      210 West 230th Street
                                        Brony, NY 10463

                                      Bryce, Nadine
                                     118 Vista Place
                                 Mount Vernon, NY 10550

                                         Brydie, Deonne
                                       115-21 146th Street
                                       Jamaica, NY 11436


                                        Buchanan, Carlos
                                         1653 Hunt Ave
                                            Apt. 1
                                        Bronx, NY 10462

                                       Buckingham, Carol
                                        2266 Nash Court
                                       Mahwah, NJ 7430


                                        Buckman, Jacob
                                         685 E 183rd St
                                            Apt 2H
                                        Bronx, NY 10458

                                       Buerle, Julia
                                      239 Hall Ave
                                  White Plains, NY 10604

                                   Buglione, Anthony
                                   20 Stephenson Blvd
                                 New Rochelle, NY 10801


                                        Bullard, Chante
                                       174 Wyckoff Ave.
                                           Apt. 3R
                                      Brooklyn, NY 11237




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                                         Bundy, Rodney
                                          331 E 146 St
                                           Apt. 4-D
                                        Bronx, NY 10451

                                        Burgess, Jasmine
                                       2542 Radcliff Ave
                                       Bronx, NY 10459

                                      Burgos, James
                                     PO Box 610206
                                  Bronx, NY 10461-0453

                                     Burke, Walleta
                                2064 Grand Avenue 2nd Fl.
                                    Bronx, NY 10452

                                 Burke-Nugent, Jacqueline
                                  534 S 6th Ave 1st Floor
                                 Mount Vernon, NY 10550


                                        Burns, Darrah
                                      214 Beach 96 Street
                                           Apt. 2K
                                      Queens, NY 11693

                                         Burns, Kara
                                      6 Thornwood Drive
                                      New City, NY 10956


                                          Burns, Penny
                                      230 West 129th Street
                                              Apt
                                      New York, NY 10027


                                         Burrell, Latoya
                                        2623 Foster Ave
                                             Apt. 8
                                        Bklyn, NY 11210



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                                        Burwell, George
                                       2141 Crotona Ave
                                           Apt. 1-B
                                       Bronx, NY 10457


                                        Burwell, Lisette
                                      162 West 144th Street
                                              Apt
                                      New York, NY 10030


                                        Busacco, Debra
                                        2345 83rd Street
                                            apt 2D
                                      Brooklyn, NY 11214


                                        Bushay, Janille
                                         667 E 43rd St
                                             Apt 1
                                      Brooklyn, NY 11203

                              Business Council of Westchester
                                 800 Westchester Avenue
                                  Rye Brook, NY 10573

                                       Butler, Sharmane
                                      2796 Claflin Ave Ph
                                       Bronx, NY 10468


                                      Caba, Arleen
                                    45 Pinehurst Ave
                                         Apt 56
                                 New York, NY 100335520

                                      Cabral, Jennifer
                                  3810 Bailey Ave Apt 3B
                                   Bronx, NY 10463-2563




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                                         Cabral, Nicole
                                      1353 Webster Avenue
                                             Apt 8
                                        Bronx, NY 10456


                                        Cadell, Catream
                                       107 West 113th St
                                           Apt. 2A
                                      New York, NY 10026


                                         Cadet, Rosalynn
                                      1319 Newkirk Avenue
                                              Apt 2
                                       Brooklyn, NY 11230

                                       Cadette, Virginia
                                         1576 E 55th St
                                      Brooklyn, NY 11234


                                   Caggiano, Geraldine
                                    2221 Palmer Ave
                                         Apt 4P
                                 New Rochelle, NY 10801


                                       Cahill, Gwendolyn
                                      300 ADDISON WAT
                                           APT. 10-1C
                                      Petersburg, VA 23805

                                     Calderon, Gloria
                                     35-24 87th Street
                                Jackson Heights, NY 11372

                                     Calderon, Gloria
                                     35-24 87th Street
                                Jackson Heights, NY 11372

                                    Callagy, Margaret
                                       5 Louis Lane
                               Croton on Hudson, NY 10520

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                                      Calle, Catherine
                                  1510 Unionport Rd. 11H
                                     Bronx, NY 10462


                                         Calvin, Katrina
                                       362 E. 137th Street
                                            Apt 18E
                                        Bronx, NY 10454

                                     Camacho, Candy
                                   3 Ridgeview Avenue
                                  White Plains, NY 10606


                                       Cambell, Leota
                                     139 Brabant Street
                                           Apt 5B
                                  Staten Island, NY 10303

                                       Cameron, Linden
                                       1 Lamartine Ter
                                      Yonkers, NY 10701

                                   Camilleri, Veronica
                                       2166 47th St
                                  Astoria, NY 111051308


                                        Campbell, Alicha
                                      23-25 New Lots Ave.
                                            Apt 1 E
                                      Brooklyn, NY 11212

                                     Campbell, Christie
                                      871 Manor Road
                                  Staten Island, NY 10314

                                       Campbell, Diamond
                                      44 Randolph Avenue
                                      Jersey City, NJ 07305




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                                       Campbell, Glenn
                                        1636 Park Place
                                            Apt 1C
                                      Brooklyn, NY 11233

                                      Campbell, Humphery
                                       280 Montauk Ave
                                      Brooklyn, NY 11208


                                        Campbell, James
                                          1428 5 Ave
                                           Apt. 215
                                      New York, NY 10027

                                     Campbell, Janith
                                 3812 Golden Feathers way
                                   Kissimmee, FL 34746

                                       Campbell, Tamika
                                          164 Hull St
                                      Brooklyn, NY 11233


                                        Campbell, Victor
                                      1174 West Farms RD
                                            Apt. 2a
                                        Bronx, NY 10459

                                        Campus Labs
                                       PO Box 206155
                                       Dallas, TX 75320

                                         Canale, Mary
                                       4433 Matilda Ave
                                       Bronx, NY 10470


                                    Cannonier, Chalaya
                                  165 Edgecombe Avenue
                                         Apt. 2B
                                   New York, NY 10030



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                                         Canty, Betty
                                       1881 Park Avenue
                                      New York, NY 10035

                                      Capellan, Rody
                                  1685 Boston Rd Apt 6N
                                  Bronx, NY 10460-4955


                                       Capestany, Stacey
                                       1705 Purdy Street
                                           Apt. 1E
                                       Bronx, NY 10462

                                 Capital Recovery Systems
                                       PO Box 2085
                                Tarrytown, NY 10591-9085


                                       Caputo, Josephine
                                        2730 8th Avenue
                                            Apt 1-I
                                      New York, NY 10039


                                       Carabello, Amarilis
                                       2559 Radcliff Ave
                                             Apt 2
                                        Bronx, NY 10469


                                   Cardenas, Samantha
                                      54 Church St
                                         Apt E1
                               New Rochelle, NY 108053239

                                      Cardi, Melissa
                                  611 Hollywood Avenue
                                    Bronx, NY 10465


                                         Cardo, Melissa
                                       615 E. 141st Street
                                            Apt. 2D
                                       Bronx, NY 10454

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                                     Cardona, Jessica
                                        31 Main St
                                  Bedford Hills, NY 10507

                                    Career Council Inc
                                135-02 Rockaway Bch Blvd
                                Rockaway Park, NY 11694

                                            Carlaftes
                                       25 Alexander Street
                                      Greenwich, CT 06830


                                      Carmichael, Lynette
                                       1330 Fulton Street
                                            Apt. 3J
                                      Brooklyn, NY 11216


                                   Carmichael, Madison
                             c/o Worby Vecchio Edelman LLP
                                   11 Martine Ave. PH
                               White Plaints, NY 10606-1934


                                 Carnegie Communications
                                         2 Lan Dr
                                         Suite 100
                                   Westford, MA 01886


                               Carney Family Charitable Trust
                              C/O Claremont Companies TWO
                                     Lakeshore Center
                                  Bridgewater, MA 02324


                              Carney Family Charitable Trust
                                C/O Claremont Companies
                                  Two Lakeshore Center
                                 Bridgewater, MA 02324

                                       Carpinelli, Lenore
                                      101 Eastview Drive
                                      Valhalla, NY 10595

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                                     Carradero, Jody
                                    3 Reserviar place
                                         apt 10
                                Wappingers Falls, NY 12590


                                    Carrasco, Yashira
                                    260 Audubon Ave
                                        Apt 20B
                                 New York, NY 100336309


                                          Carrera, Alicia
                                        2420 Prospect Ave
                                            Apt. 4-C
                                        Bronx, NY 10458

                                    Carrier Corporation
                                      PO Box 93844
                                  Chicago, IL 60673-3844

                                       Carrington, Denise
                                        59 Sheldon Rd.
                                      Wingdale, NY 12594

                                    Carter Homeworks
                                  11 W 106th St Apt 1C
                                New York, NY 10025-3765


                                     Carter, Angela
                                   10 Bonnefoy Place
                                         Apt 5
                                 New Rochelle, NY 10805


                                           Carter, Asia
                                       461 Chancey Street
                                             Apt 3-L
                                       Brooklyn, NY 11233

                                         Carter, Chonda
                                      212 South 13th Street
                                      Wilmington, NC 28401

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                                        Carter, Marshall
                                        370 Decatur St.
                                      Brooklyn, NY 11233


                                         Carter, Tamika
                                         300 E 162nd St
                                            Apt 2A
                                        Bronx, NY 10451


                                        Carter, Tiffany
                                       104 Macon Street
                                           Apt-2ndfl
                                      Brooklyn, NY 11216


                                        Carvalho, Azzia
                                      166 West120th Street
                                            Apt 2
                                      New York, NY 10027

                                    Cascarano, Gina
                                   180 Kings Highway
                                 New Rochelle, NY 10801

                                    Cascarano, Gina
                                   180 Kings Highway
                                 New Rochelle, NY 10801


                                          CASDA
                             University at Albany East Campus
                                   5 University Pl A409
                                  Rensselaer, NY 12144


                                            CASDA
                                      University at Albany
                                      5 University Pl A409
                                      Rensselaer, NY 12144




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                                      Casey, Monique
                                 159-14 Harlem River Drive
                                           Apt.
                                   New York, NY 10039

                                         Caspare, Megan
                                          4 Heather Ln
                                      Larchmont, NY 10538


                                Cassamajor, Ros-Gassandre
                                  2500 Shallowford Rd
                                        Apt 8506
                                    Atlanta, GA 30345

                                         Cassels, Anne
                                       15 Chamberlin Ave
                                       Yonkers, NY 10704

                                        Castaldo, Maria
                                          201 3rd Ave
                                       Pelham, NY 10803


                                    Castillo, Antonio
                                       1 Charles St
                                          Apt 1E
                                  White Plains, NY 10606


                                        Castillo, Brenda
                                       870 Southern Blvd
                                            Apt 4L
                                       Bronx, NY 10459

                                      Castillo, Kenicia
                                 924 Rockaway Pkwy Apt 2
                                    Brooklyn, NY 11236

                                      Castillo, Kevin
                                  10701 Bridlerein Terrace
                                   Columbia, MD 21044



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                                          Castro, Idalia
                                       20 Parkhill Terrace
                                       Yonkers, NY 10705

                                      Castro, Indhira
                                     10721 91st Ave
                                 Richmond Hill, NY 11418

                                        Cavalieri, Vanessa
                                      3295 C Street Apt 123
                                      San Diego, CA 92102

                                           Cea, Jillian
                                        298 William Ave
                                        Bronx, NY 10464


                                         Ceballos, Aris
                                        2070 3rd Avenue
                                            Apt 9-E
                                      New York, NY 10029

                                  Cedano-Freeman, Susan
                                     2917 Miles Ave
                                    Bronx, NY 10465


                                        Cedeno, Destiny
                                        546 55th Street,
                                            Apt 6
                                      Brookyln, NY 11220


                                         Cedeno, Francy
                                        920 Prospect Ave
                                            Apt. 5F
                                        Bronx, NY 10459

                                     Ceesay, Baturu
                                  291 E 143rd St Apt 6E
                                  Bronx, NY 10451-6208




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                                      Ceglia, Joseph
                                   11 Greenridge Ave
                                         Apt. B2
                                  White Plains, NY 10605


                                       Celestine, Dwayne
                                         36 Hilton Ave
                                              105
                                      Hempstead, NY 11550


                                    Cepeda, Christine
                                     643 East 13th St
                                        Apt. 6B
                                 New York City, NY 10009

                                       Cepeda, Katherine
                                      295 Central Park Ave
                                       Yonkers, NY 10704


                                    Chadwick, Susan
                                    55B Locust Ave.
                                        Apt. 6C
                                 New Rochelle, NY 10801


                                       Chaffin Jr, Donald
                                        100 Debs Place
                                           Apt 16E
                                       Bronx, NY 10475

                                       Chambers, Andrea
                                       P.O. Box 690123
                                       Bronx, NY 10469

                                        Chambers, Ebony
                                      226-J New State Road
                                       Machester, CT 6042




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                                        Chandler, Trilette
                                        1099 Walton Ave
                                            Apt 41
                                        Bronx, NY 10452

                                          Chang, Jenny
                                         150-07 35th Ave
                                       Flushing, NY 11354

                                      Chang, Kevin
                                   72 Soundview Street
                                 New Rochelle, NY 10805

                                        Chaplin, Jasmare
                                      140 Dekruif Place 19B
                                        Bronx, NY 10475


                                        Chappell, Alaire
                                      1320 Sterling Place,
                                            Apt 3
                                      Brooklyn, NY 11213

                                 Chappell, Margaret Anne
                                    22 Princeton Court
                               Basking Ridge, NJ 07920-4248


                                   Chappelle, Tyhishsa
                                 55 West 110th Street Rm
                                         Apt. 4
                                  New York, NY 10026

                                       Charles, Emmanuela
                                      165 New York Avenue
                                       Westbury, NY 11590

                                     Charles, Jean-Max
                                    8010 Blair Mill Way
                                  Silver Spring, MD 20910




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                                         Charles, Leila
                                          85 Butler Pl
                                      Hempstead, NY 11550

                                         Charles, Leila
                                        85 Butler Place
                                      Hempstead, NY 11550

                                     Chavez, Jessica
                                   223 Lakeview Ave.
                                 West Harrison, NY 10604

                                          CheerZone
                                        302 East Ohmer
                                       Mayville, MI 48744

                                    CHEMSEARCHFE
                                   23261 Network Place
                                  Chicago, IL 60673-1232

                                       Cheng, Ming
                                  3-10 B Soundview Lane
                                   College Pt, NY 11356

                                         Cherniy, Iryna
                                         72 Holland St
                                       Harrison, NY 10528


                                         Cherry, Keiona
                                        55 Lasalle Street
                                           Apt 21-H
                                      New York, NY 10027

                                          Cherry, Leon
                                      1602 Martin L K Street
                                        Selma, AL 36703

                                         Cherry, Nikkole
                                       1111 Forest Avenue
                                        Bronx, NY 10456

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                                       Cherry, Shaquandra
                                       2075 Wallace Ave
                                            Apt. 545
                                        Bronx, NY 10462

                                         Cheruvil, Ann
                                        8 Overhill Lane
                                      New City, NY 10956


                                         Chess, Amber
                                       96 Steuben Street
                                             #3B
                                      Brooklyn, NY 11205

                                 Chiarellis Religious Goods
                                   1014 Jericho Turnpike
                                 New Hyde Park, NY 11040

                                         Chico, Mirlaine
                                       542 North High St
                                      Mt Vernon, NY 10552

                                          Chinea, Liza
                                      370 Barbey St. Apt 2
                                      Brooklyn, NY 11207


                                 Chisholm Moore, Carolyne
                                      341 Linden Blvd
                                           Apt 3
                                   Brooklyn, NY 11203

                                      Chisolm, Bernadette
                                       22 Devon Avenue
                                        Ewing, NJ 8638

                                       Choi, Samuel
                                 3830 Corporal Kennedy St
                                    Bayside, NY 11361




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                                     Choisi, Samanta
                                   1288 Langdon Blvd
                                Rockville Centre, NY 11570

                                      Choisi, Syndja
                                   1288 Langdon Blvd
                             Rockville Centre, NY 11570-3415

                                  Chrisphonte, Samantha
                                      9121 218th St
                              Queens Village, NY 11428-1258


                                    Christian, Alfred
                                   100 Lane Crest Ave
                                          #2E
                                 New Rochelle, NY 10805


                                      Christian, Lloyd
                                       480 E 188th St
                                          Apt 5M
                                      Bronx, NY 10458

                               Christie-Rogers, Tracey-Ann
                                  30 Park Ave Apt 5M
                              Mount Vernon, NY 10550-2139

                                  Christopher, Charmaine
                                   1052 East 233 Street
                                    Bronx, NY 10466

                                       Chu, Thomas
                                121 S Highland Ave Apt 1B
                                   Ossining, NY 10562


                                       Chuang, Henry
                                        8 Union Ave
                                          Apt. E1
                                      Norwalk, CT 6851




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                                         Chung, Karlene
                                        151-61 134th Ave
                                       Jamaica, NY 11434

                              Church of St Charles Borromeo
                                     211 W 141st St
                                  New York, NY 10030

                                         Chuzan, Jadiya
                                       914 Bryant Avenue
                                        Bronx, NY 10474

                                           Cisse, Nanan
                                      248 W 149th St Apt 5C
                                          New York, NY


                                  Citizens Bank /DASNY
                                       515 Broadway
                                   Accounts Receivable
                                    Albany, NY 12207

                                       Citizens Bank, N.A.
                                      45 Dan Road MCD110
                                        Canton, MA 02021

                                 City Carting and Recycling
                                       PO Box 17250
                                    Stamford, CT 06907

                                  City of New Rochelle
                                     515 North Ave
                                 New Rochelle, NY 10801


                                          Clark, Dainer
                                       12 East 108th Street
                                             Apt 3
                                      New York, NY 10029




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                                         Clark, George
                                       1479 Macombs Rd
                                            Apt 1J
                                       Bronx, NY 10452

                                          Clark, Laura
                                       1960 Park Ave 11C
                                      New York, NY 10037


                                      Clark, Luz Margarita
                                      1711 Morris Avenue
                                             apt 2G
                                       Bronx, NY 10457

                                         Clarke, Aine
                                       9 Agawam North
                                      Yonkers, NY 10704

                                          Clarke, Ann
                                       3036 Tiemann Ave
                                        Bronx, NY 10469

                                         Clarke, Laura
                                       1960 Park Ave 11C
                                      New York, NY 10037

                                      Clarke, Sasha
                                    37 Beekman Ave
                                  Mount Veron, NY 10553

                                        Claude, Donalda
                                         918 E103rd St
                                      Brooklyn, NY 11236

                                        Clayton, Doreth
                                        1451 Oakley St
                                       Bronx, NY 10469




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                                         Cleckley, Barry
                                        1464 Leland Ave
                                        Bronx, NY 10460


                                        Clement, Annette
                                      106 West 142nd Street
                                              Apt
                                      New York, NY 10030


                                         Cloud, Tanisha
                                       65 Featherbed Lane
                                             Apt 3B
                                        Bronx, NY 10452

                                       Clouser, Kameron
                                         77 Sanders Rd
                                       Buffalo, NY 14216

                                        Clue Enterprises
                                        101 Cassilis Ave
                                      Bronxville, NY 10708

                                        Coaxum, Nicole
                                        73 Onondaga St
                                       Yonkers, NY 10704


                                      Coban, Christopher
                                      163 Ten Eyck Walk
                                           Apt 2-B
                                      Brooklyn, NY 11206

                                         Cochran, Althea
                                         115-37 159th St
                                       Jamaica, NY 11434

                                      Coffaro, Lori
                                  230 Mamaroneck Ave.
                                  Mamaroneck, NY 10543




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                                     Coffin, Alexa
                                   311 North Avenue
                                        Apt 10
                                 New Rochelle, NY 10801


                                    Cofield, Taiwana
                                    70 West 3rd. St.
                                        Apt. 7F
                                 Mount Vernon, NY 10550

                                      Cohen, Arielle
                                        5 Diane Dr
                                 New City, NY 10956-3901

                                      Colangelo, Christine
                                      2527 Westervelt Ave
                                       Bronx, NY 96121

                                 Colangelo, Lorraine Paoli
                                        55 Dent Road
                               Staten Island, NY 10308-2948


                                      Coleman, Cherohn
                                      172-341 33rd Ave.
                                          Apt. 12D
                                      Jamaica, NY 11434

                                       Coleman, Robin
                                         241-11-132rd
                                      Rosedale, NY 11422

                                         Coles, Stacy
                                        515 Blake Ave.
                                      Brooklyn, NY 11207


                                        Coley, Krystan
                                       31 Leonard Street
                                           Apt. 22B
                                      Brooklyn, NY 11206



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                                        Coley, Tashima
                                       574 Howard Ave.
                                           Apt. 3B
                                      Brooklyn, NY 11212


                                         Collado, Ana
                                       955 Bruckner Blvd
                                            Apt. 1
                                       Bronx, NY 10459


                                 College of New Rochelle
                            Faculty Council and College Senate
                                  c/o Eisner & Dictor, PC
                                  39 Broadway, Ste 1540
                                   New York, NY 10006

                                      Colleges of Distinction
                                         4402 Eskew Dr
                                        Austin, TX 78749

                                    Colliard, Lashawna
                                  109-53 Guy Brewer Blvd
                                    Queens, NY 11433


                                        Collins, Amarah
                                         685 East 228th
                                            Apt. 4F
                                        Bronx, NY 10466


                                         Collins, Darnell
                                         3603 Third Ave
                                           Apt. 14C
                                        Bronx, NY 10456


                                         Collins, Regina
                                       1255 Adee Avenue
                                           Apt. 3-C
                                        Bronx, NY 10469




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                                         Collins, Teianna
                                      251 West 135th Street,
                                             Apt 4-A
                                      New York, NY 10030


                                         Collins, William
                                        514 Concord Ave.
                                            Apt. 305
                                        Bronx, NY 10455


                                     Colon, Le Dette
                                  730 Rockaway Avenue,
                                         Apt 3A
                                   Brooklyn, NY 11212

                                      Colon, Michelle
                                      87 Iroquois Rd.
                                  Albrightsville, PA 18210

                                          Colon, Milka
                                        1612 Allerton Ave
                                        Bronx, NY 10469


                                          Colon, Victor
                                         106 Grand Ave
                                             Apt 2R
                                        Newark, NJ 7106


                   Commission on Independent Colleges and Universities
                                     17 Elk Street
                                       2nd Floor
                                   Albany, NY 12207


                           Commissioner of Taxation and Finance
                                   44 South Broadway
                                        6th Floor
                              White Plains, NY 10601-4425




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                                      Con Edison
                                      JAF Station
                                     PO Box 1701
                                New York, NY 10116-1701


                                      Con Edison
                                      JAF Station
                                     PO Box 1701
                                New York, NY 10116-1701

                                     Conquest, Nyema
                                  884 Brush Hollow Road
                                   Westbury, NY 11590

                                   Constantine, Jillian
                                      4 Topland Rd
                                  White Plains, NY 10605


                                     Contreras, Julie
                                     3 Church Street
                                        Apt. 822
                                 New Rochelle, NY 10801

                                   Convent of St Teresa
                                      39 Willow Dr
                                 New Rochelle, NY 10805


                                        Conway, Patricia
                                         2041 5th Ave
                                            Apt 4B
                                      New York, NY 10035


                                      Cook, Nikeva
                                    2011 Newkirk Ave
                                         Apt 1B
                                 Brooklyn, NY 112267498




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                                         Cook, Racquel
                                        1595 Park Place
                                            Apt 1C
                                      Brooklyn, NY 11233

                                        Coombs, Briana
                                        12 North High St
                                      Elmsford, NY 10523

                                     Cooper, Leandra
                                      34 Smith Street
                                  Poughkeepsie, NY 12601


                                       Copeland, Beatrice
                                      1019 East 215th Street
                                            Apt. 2F
                                        Bronx, NY 10469

                                    Copeland, Sheronda
                                  1920 Amsterdam Avenue
                                   New York, NY 10032

                                         Coppin, Sylvia
                                        3210 Colden Ave
                                        Bronx, NY 10469

                                    Cordasco, Crystal
                                      7 Parkridge Ct
                                Rye Brook, NY 10573-1944


                                        Cordero, Loidian
                                      3201 Grand Concourse
                                             Apt 5D
                                        Bronx, NY 81224

                         Cornerstone Advisors Asset Management
                                 74 W Broad St Ste. 340
                                  Bethlehem, PA 18018




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                                      Corpus Christi School
                                       535 West 121st St
                                      New York, NY 10027

                                       Cortes, Davea
                                   78 Washington Ave
                                  Mastic Beach, NY 11951

                                        Corti, Melissa
                                          12 First St
                                       Danbury, CT 6810


                                      Costanza, Bridgette
                                      1868 Matthews Ave
                                           Apt 1A
                                       Bronx, NY 10462

                                       Costello, Madellaine
                                      28914 Chartwell Lane
                                      Fair Oaks, TX 78015

                                      Cotton, Takenia
                                 626 1st Avenue - Apt. 17G
                                   New York, NY 10016


                                          Coull, Donna
                                       424 West 146 Street
                                            Apt. 2A
                                      New York, NY 10031


                             Council on Social Work Education
                                       1701 Duke St
                                         Suite 200
                                  Alexandria, VA 22314

                                       Courtney, Margaret
                                         436 E 240th St
                                        Bronx, NY 10470




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                                      Coviello, Rose Cuomo
                                        311 Moore Avenue
                                      Leonia, NJ 07605-2023


                                         Coward, Vivian
                                       443 St.Ann's Avenue
                                            Apt. 12-C
                                        Bronx, NY 10455


                                        Cox, Fatima
                                      23-08 Mott Ave
                                         Apt. 3H
                                 Far Rockaway, NY 11691

                                         Crandall, Cierra
                                         435 Hancock St
                                       Brooklyn, NY 11216

                                      Creaturo, Diana
                                   315 King St Apt 1A
                                  Port Chester, NY 10573


                                         Credell, Sandra
                                          770 E 165 St
                                            Apt. 5-I
                                        Bronx, NY 10456


                                        Crenshaw, Keisha
                                       67 Palisade Avenue
                                              Apt 3
                                        Garfield, NJ 7026

                                     Creque, Ashley
                                     227 S 1st Ave
                                 Mount Vernon, NY 10550


                                        Crespo, Genevieve
                                        1453 Walton Ave
                                             Apt. 5F
                                        Bronx, NY 10452

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                                         Crooks, Melissa
                                        60 East 4th Street
                                      Mt. Vernon, NY 10550

                                         Croom, Elisa
                                         1824 E 51 St
                                      Brooklyn, NY 11234

                                           Crowl, Bria
                                        1714 Nereid Ave
                                        Bronx, NY 10466


                                         Crown, Tiana
                                      2014-16 7th Avenue
                                           Apt 1B
                                      New York, NY 10027


                                        CRRA Inc
                                  Attn Executive Director
                                    4175 Cherokee Dr
                                   Madison, WI 53711


                                         Cruz, Bernice
                                        2081 B Daly Ave
                                             Apt 2
                                        Bronx, NY 10460

                                      Cruz, Eliana
                                       155 Platt St
                                Waterbury, CT 06704-3042


                                           Cruz, Ivet
                                        1044 Boyton Ave
                                           Apt. 3-B
                                        Bronx, NY 10472


                                        Cruz, Katherine
                                       633 Olmstead Ave
                                            Apt 1K
                                       Bronx, NY 10473

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                                         Cruz, Lillian
                                       2916 Bouck Ave
                                       Bronx, NY 10469

                                        Cruz, Mariela
                                      936 Brinsmade Ave
                                       Bronx, NY 10465

                                      Cruz, Melissa
                                 480 Halstead Ave Apt 6O
                                   Harrison, NY 10528

                                        Cruz, Nicolas
                                      210 Primrose Street
                                      Haverhill, MA 1830

                                       Cruz, West
                                  180 Douglas Ave 2nd Fl
                                    Yonkers, NY 10703

                                      Cruz, Yolanda
                                    2351 Delafield St
                                  Houston, TX 770235102

                                   Cruz-Gutierrez, Rosio
                                  787 Prospect Ave Apt 7
                                     Bronx, NY 10455


                             Crystal Beach Development Corp
                                     Pan Am Equities
                                       PO Box 5020
                                  New York, NY 10163

                                       CSC Service Works
                                         PO Box 27288
                                      New York, NY 10087

                                  CSD of New Rochelle
                                     515 North Ave
                                 New Rochelle, NY 10801

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                                            CSS Inc
                                          PO Box 927
                                       Voorhees, NJ 08043

                                             Culinart
                                       175 Sunnyside Blvd
                                      Plainview, NY 11803

                                          Culinart
                                      PO Box 417632
                                  Boston, MA 02241-7632

                                     Cummings, Kayla
                                  4 LINVIEW TERRACE
                                    Buffalo, NY 14216


                                       Cummings, Naisha
                                      122 Dorscher Street
                                            Apt-3A
                                      Brooklyn, NY 11208


                                      Cunningham, Veronica
                                       1509 Eastern Pkwy.
                                             Apt. 3
                                       Brooklyn, NY 11233

                                        Curry, Lamont
                                         PO Box 422
                                      New York, NY 10037


                                        Curtis, Laverne
                                         218 Gates Ave
                                            Apt 4H
                                      Brooklyn, NY 11238

                                          Cuscina, Erica
                                        10 Millfarm Lane
                                       Brewster, NY 10509




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                                        Cutrona, Richard
                                         33 W End Ave
                                            Apt 21E
                                      New York, NY 37824

                                       D and J Distributors
                                          86 Smith Ave
                                       Kingston, NY 12401

                                   D Newkir, Thomas
                                   125 Winthrop Ave
                                 New Rochelle, NY 10801

                                        Da, Tilka
                                 909 Sheridan Ave Apt 3B
                                    Bronx, NY 10451

                                          Dabrio, Alma
                                      60 East 104th Street 7F
                                       New York, NY 10029

                                         Dafinone, Best
                                      710 East 223rd Street
                                       Bronx, NY 10466


                                      Daktronics Inc
                                      SDS-12-2222
                                       PO Box 86
                                  Minneapolis, MN 55486

                                      Daley, Amanda
                                  440-11 North Broadway
                                    Yonkers, NY 10701


                                       Danbury High School
                                         DHS College Fair
                                      43 Clapboard Ridge Rd
                                        Danbury, CT 06811




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                                 Dancewear Solutions, LLC
                                   6750 Manchester Ave
                                  Saint Louis, MO 63139

                                     Daniarov, Elena
                                 62-65 Saunders St Apt 2A
                                   Rego Park, NY 11374

                                  Danielle J. Scicutella
                                     19 Clinton Street
                               White Plains, NY 10603-3603


                                         Daniels, Abike
                                       3120 Naamans Road
                                            Apt. 11
                                      Wilmington, DE 19810


                                     Daniels, Alaura
                                  40 Memorial Highway
                                        Apt. 4P
                               New Rochelle, NY 108011362


                                        Daniels, Janice
                                      1250 Sutter Avenue,
                                            Apt 2
                                      Brooklyn, NY 11208


                                        Daniels, Lakesha
                                       363 Walnut Street,
                                            Apt. 1S
                                       Yonkers, NY 10701

                                      Dannenhoffer, Patrick
                                         50-04 47th St
                                      Woodside, NY 11377

                                       Danseco, Jhosalie R
                                      1763 Seminole Avenue
                                        Bronx, NY 10461



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                                   Darbouze, Kimberly
                                    21911 119th Ave
                                Cambria Heights, NY 11411

                                      Darden, Robin
                                  3150 Broadway Apt 3G
                                   New York, NY 10027

                                        Darden, Torcia
                                      220 Throop Avenue
                                      Brooklyn, NY 11206

                                      Darley, Casey
                                       809 17th Ave
                                 Wall Township, NJ 07719


                                         Darns, Shakeba
                                       128 Lewis Avenue,
                                            Apt 2H
                                      Brooklyn, NY 11221


                                           DASNY
                                         515 Broadway
                                      Accounts Receivable
                                       Albany, NY 12207

                                         David Stern, Inc
                                        165 Horton Street
                                        Bronx, NY 10464

                                      David, Ketia
                                     14 Horton Ave
                                 New Rochelle, NY 10801


                                          David, Tyanna
                                       3316 De Reimer Ave
                                              Apt 3
                                      Bronx, NY 104751504




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                                         Davila, Alicia
                                       365 Pulaski Street
                                           Apt. 4C
                                      Brooklyn, NY 11206

                                         Davis, Blair
                                       621 Valley Ave
                                      Yonkers, NY 10703


                                          Davis, John
                                      1051 Ocean Avenue,
                                            Apt 9
                                      Brooklyn, NY 11226


                                         Davis, Joyce
                                       722 Metcalf Ave
                                           Apt. B
                                       Bronx, NY 10473


                                          Davis, Lisa
                                       5905 Shore Pkwy,
                                            Apt 1C
                                      Brooklyn, NY 11236

                                        Davis, Michelle
                                      31 Leonard St. 11M
                                      Brooklyn, NY 11206


                                         Davis, Regina
                                       1799 Fulton Street
                                            Apt 2L
                                      Brooklyn, NY 11233


                                         Davis, Sandra
                                      1581 President Street
                                             Apt-2
                                      Brooklyn, NY 11213




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                                          Davis, Sidia
                                        3232 Wilson Ave
                                        Bronx, NY 10469


                                         Davis, Tamika
                                       729 Halsey Street
                                            Apt -5
                                      Brooklyn, NY 11233


                                       Davis-Henry, Joshua
                                      121 West 115th Street
                                              Apt 5
                                      New York, NY 10026


                                    Daya, Gina Marie
                                9372 Straw hays Street Unit
                                         Apt. 102
                                  Las Vegas, NV 89178


                                         Daye, Charice
                                       423 East 168 Street
                                           Apt. 16E
                                        Bronx, NY 10456

                                      D'Costa, Zoe
                                     145 Myers Ave
                                Hicksville, NY 11801-1134


                                         De Haro, Frida
                                         259 E. 235th St.
                                             Apt. B
                                        Bronx, NY 10470

                                     De Hoyos, Jessica
                                  561 Henderson Avenue
                                  Staten Island, NY 10310

                                        De Jesus, Yvette
                                      120 Elgar Place #28 D
                                        Bronx, NY 10475

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                                      De La Rosa, Yanira
                                      2042 Ryer Avenue -
                                            Apt. 2
                                       Bronx, NY 10457

                                    De Pinto, Lynne
                                    17 Meroke Trail
                                 Wading River, NY 11792

                                        De Rosa, Frank
                                      201 McKinley Ave.
                                      Brooklyn, NY 11208

                                      De Vita, Stella
                                       PO Box 212
                                 Goldens Bridge, NY 10526

                                       Deane, Carol
                               2331 Holland Avenue 1st Floor
                                     Bronx, NY 10467

                                     Debra E. Flores
                                     2 Inverness Dr
                                 New Rochelle, NY 10804

                                        Decaro, Elizabeth
                                        95 Rockledge Rd
                                      Bronxville, NY 10708

                                        Dedad, Kathleen
                                       4308 Harding Drive
                                         Erie, PA 16509

                                       DeFelice, Angelica
                                       1540 Robertson Pl
                                       Bronx, NY 10465

                                      Defrancesco, Amanda
                                          P.O.BOX 67
                                      Cairo, NY 124132626

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                                       Dehayes, Dianne
                                       120 Benchley Pl
                                           Apt. 8K
                                       Bronx, NY 10475


                                       Deierlein, Andrea
                                        6629 Broadway
                                            Apt 4F
                                       Bronx, NY 10471


                                       Delancey, Soraya
                                      689 Dekalb Avenue,
                                            Apt 1
                                      Brooklyn, NY 11216

                                        Delasala, Ilduara
                                      1207 Sunnyview Oval
                                        Keasbey, NJ 8832


                                       DeLeon, Argelia
                                        676 E 221st St
                                            Apt 2
                                       Bronx, NY 10467

                                     Delgais, Maria
                                     781 Pelham Rd
                                 New Rochelle, NY 10805

                                      Dell Marketing LP
                                       PO Box 643561
                                 Pittsburgh, PA 15264-3561

                                   Dellicarpini, Casey
                                       168 4th St
                                 New Rochelle, NY 10801


                                      Deloatch, Shakeema
                                      927 Dekalb Aveneu
                                           Apt 12-C
                                      Brooklyn, NY 11221

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                                         Demby, Alexis
                                        584 Logan Street,
                                            Apt. 1A
                                       Brooklyn, NY 11208

                                        Demkowicz, Tara
                                         6611 53rd Ave
                                       Maspeth, NY 81412

                                   Dempsey, Johvonn
                                    64 Adams Street
                                 Mount Vernon, NY 10550

                                     Denegall, Melva
                              754 Sackman Avenue, 1st Floor
                                   Brooklyn, NY 11212


                                      Dennis-Butler, Theresa
                                        20-25 Shore Blvd
                                             Apt 2-B
                                       Astoria, NY 11105

                                         Dentini, Diane
                                       79 Ridgewood Ave
                                       Yonkers, NY 10704


                                        Denton, Annmarie
                                        547 East 168th St
                                            Apt. 2B
                                        Bronx, NY 10456

                                     Derbes, Daniel W.
                                7815 Rush Rose Drive S-202
                                    Carlsbad, CA 92009

                                    Derbes, Patricia M.
                                7815 Rush Rose Drive S-202
                                    Carlsbad, CA 92009




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                                        Deroche, Diane
                                        1044 E 105th St
                                             Apt 1
                                      Brooklyn, NY 11236

                                         D'Errico, Annie
                                      2817 Coddington Ave
                                        Bronx, NY 10461

                                       DeVera, Jared
                                     59 Creekside Cir
                               Spring Valley, NY 109773906

                                       Devine, Katheen
                                        1 Beech Place
                                       Bronx, NY 10465

                                       DeVinney, Rachel
                                       101 Ackerman Ave
                                        Ramsey, NJ 7446


                                        Devone, Simone
                                        2225 5th Avenue
                                           Apt 12-A
                                      New York, NY 10037

                                    Dhital, Samikshya
                                      134 Harding St
                                 Medfield, MA 02052-1012


                                        Diallo, Aissatou
                                      2537 Valentine Ave
                                            Apt D7
                                       Bronx, NY 10458


                                        Diallo, Jasmine
                                      412 West 19th Street
                                           Apt 2B
                                      New York, NY 10011



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                                         Diallo, Tenin
                                       17 harding avenue
                                       Clifton, NJ 07011

                                         Dias, Mikalia
                                      3032 Wilson Avenue
                                       Bronx, NY 10469

                                    Diaz Jimenez, Juan
                           Urb Villa del Rey 4ta Sec Calle 11 JJ5
                                     Caguas, PR 00725


                                   Diaz Luz, Georgina
                                    145 Franklin Ave
                                         Apt 4E
                                 New Rochelle, NY 10805

                                        Diaz, Angela
                                     62 Metcalfe Street
                                  Staten Island, NY 10304


                                        Diaz, Annmarie
                                       2157 Powell Ave
                                            Apt 1F
                                       Bronx, NY 10462

                                        Diaz, Frances
                                       5619 Kevin Ave
                                      Orlando, FL 32819


                                        Diaz, Milagro
                                      1150 Intervale Ave
                                           Apt 1H
                                       Bronx, NY 10459

                                       Dibraccio, Cristina
                                      1928 Tomlinsan Ave
                                       Bronx, NY 10461




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                                      Digital Architecture
                                      5015 S. Florida Ave.
                                           Suite 304
                                      Lakeland, FL 33813

                                         Digiulio, Rita
                                       2571 Young Ave
                                       Bronx, NY 10469


                                           Dill, Gloria
                                      2028 Washington Ave
                                            Apt. 3B
                                        Bronx, NY 10457

                                      Dillard, Tamar
                                  615 East Vernon Road
                                  Philadelphia, PA 19119


                                   DiMartino, Maltee
                                     365 North Ave
                                         Apt 4
                                 New Rochelle, NY 10801

                                            Dingee
                                      1094 Riverbank Rd
                                      Stamford, CT 06903

                                    Dingersen, Katherine
                                    508 Pleasantville Rd
                              Briarcliff Manor, NY 105101924

                                     Dinko, Jaclyn
                                    16 Park Avenue
                                 New Rochelle, NY 10805

                                      DiRenzo, Michelle
                                      201 Woodlawn Ave
                                      Yonkers, NY 10703




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                                   Discua Zelaya, Jeffrey
                                 359 Lexington Ave Apt 3D
                                  Mount Kisco, NY 10549

                                         Disla, Paola
                                         P O Box 976
                                       Bronx, NY 10473

                                         Divon, Yael
                                       402 Oakridge Rd
                                        Cary, NC 27511


                                         Dixon, Crystal
                                       791 Union Street
                                            Apt -2
                                      Brooklyn, NY 11215

                                       Dixon, Everald
                                        14 Tucker St
                                      Danbury, CT 6810


                                        Dixon, Jacquelin
                                         940 Gates Ave
                                            Apt 5 A
                                      Brooklyn, NY 11221

                                       Dixon, Malik
                                  140 Carver Loop Apt 4E
                                     Bronx, NY 10475


                                         Dixon, Nicole
                                       1260 Waring Ave
                                           Apt. Pk
                                       Bronx, NY 10469

                                    Dixon, Thomassenia
                                 637 Vancortland Park Ave.
                                    Yonkers, NY 10705




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                                   Djurasevic, Valentina
                                     218 S Buckhout St
                                 Irvington, NY 105332206

                                         Dobles, Rosa
                                       12 R. Cheuremont
                                       Mayaguez, PR 682


                                        Dockery, Kristen
                                      1593 Bedford Avenue,
                                             Apt 3
                                       Brooklyn, NY 11225

                                      Dodson, Jacqueline
                                      490A Monroe Street
                                      Brooklyn, NY 11221

                                      Doino, Lindsey
                                     30 Lindsay Lane
                                 Putnam Valley, NY 10579

                                     Donatich, Paul
                                     49 Coutant Dr
                                 New Rochelle, NY 10804

                                          Donlin , Ruth
                                       1401 Devonshire Rd
                                      Hauppauge, NY 11788

                                         Donnelly, David
                                       46 Brookridge Court
                                      Rye Brook, NY 10573

                                         Donovan, Emily
                                        9 Hawyhorne Rd
                                      Larchmont, NY 10538

                                       Donovan, Frances
                                       210 Spencer Place
                                      Ridgewood, NJ 7450

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                                       Doolity, Victoria
                                       14 Randolph St
                                      Yonkers, NY 10705


                                        Dore, Evateiya
                                       164 St Anns Ave
                                           Apt 15F
                                       Bronx, NY 10454


                                     Dorsett, Latia
                                   35 Davenport Ave,
                                        Apt 3E
                                 New Rochelle, NY 10805


                                 Dorsey-Cleveland, Brittany
                                     61 Deering Street
                                         Apt. 1A
                                    Portland, ME 4101

                                      D'ortenzio, Danielle
                                         80 Gates Ave
                                      Malverne, NY 11565

                                    Dos Santos, Shellon
                                 2070 East 57th St. - Floor 1
                                    Brooklyn, NY 11234


                                      Drakeford, Shashawn
                                       150 Somers Street
                                            Apt. 2
                                      Brooklyn, NY 11233

                                           Dreher, H
                                      644 10th Ave Apt 3S
                                      New York, NY 10036


                                       Drew University
                                      Accounts Receivable
                                      36 Madison Avenue
                                      Madison, NJ 07940

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                                 Drummond Burke, Jazmin
                                     140 Benchley Pl
                                        Apt 22K
                                  Bronx, NY 104753559

                                       Drummond, Shari
                                      52 N Mortimer Ave
                                      Elmsford, NY 10523

                                        Dubois, Sherrod
                                       1301 Hicks Street
                                       Bronx, NY 10469


                                      Dubyk-Bergen, Irene
                                         166 2nd Ave
                                           Apt 14-D
                                      New York, NY 10003

                                     Duceour, Sandra
                                     308 Hilltop Drive
                                  Lower Burrell, PA 15068

                                        Duff, Michelle
                                      4814 Barnes Avenue
                                       Bronx, NY 10470

                                        Dukes, Elizabeth
                                         773 Atlantic St
                                       Stamford, CT 6902


                                        Dukes, Lorraine
                                       31 Midland Place
                                           Apt. 1-B
                                      Tuckahoe, NY 10707

                                        Dume, Djurha
                                       4010 Bronx Blvd
                                       Bronx, NY 10466




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                                        Duncan, Dionne
                                       646 East 32 Street
                                      Brooklyn, NY 11210

                                        Dunkley, Dawn
                                      4352 Baychester Ave
                                       Bronx, NY 10466


                                      Dunn, Princess
                                  708 Kingsboro 7th Walk
                                           Apt
                                   Brooklyn, NY 11233

                                       Durace, Dania
                                  12003 Saint Dusten Lane
                                  Silver Spring, MD 20906


                                       Durand, Danielle
                                       1855 Bogart Ave
                                           Apt. B7
                                       Bronx, NY 10462

                                      Durfee, Jeanette
                                      41 Tamar Drive
                                 Valley Cottage, NY 10989

                                 EAB Royall and Company
                                   1920 E Parham Rd
                                   Henrico, VA 23228


                                          Eady, Katrina
                                      910 Grand Concourse
                                              #9E
                                        Bronx, NY 10451

                                          Eagan, Haley
                                           86 Grove St
                                      Plantsville, CT 06479




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                                      Early, Dorinda
                                395 Palisades Ave 2nd Floor
                                    Yonkers, NY 10703

                                      Eato, Marleen
                                830 Amsterdam Avenue 19G
                                   New York, NY 10025


                                        Eaton, Allyson
                                       120-7 Asch Loop
                                            Apt 7F
                                       Bronx, NY 10475

                                        Ebanks, Melissa
                                      388 Hancock Street
                                      Brooklyn, NY 11216


                                EBSCO Information Services
                                  Payment Processing Ctr
                                     PO Box 204661
                                  Dallas, TX 75320-4661


                                         Edet, Marita
                                         2246 7th Ave
                                            Apt 4B
                                      New York, NY 10027

                                       Edie, Alexa
                                   433 Homestead Ave
                                 Mount Vernon, NY 10553

                             Educational Computer Systems Inc
                                  181 Montour Run Road
                                Coraopolis, PA 15108-9408

                                         Edvotek
                                      PO Box 341232
                                 Bethesda, MD 20827-1232




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                                        Edwards, Collisha
                                      2265 Newbod Avenue
                                        Bronx, NY 10462

                                        Edwards, Erwin
                                       516 Halsey Street
                                      Brooklyn, NY 11233

                                     Edwards, Jared
                               183 Daffodil Dr SW Apt#201
                                   Palm Bay, FL 32908


                                        Edwards, Natalie
                                       1790 Fulton Street
                                            Apt-2B
                                      Brooklyn, NY 11233

                                    Edwards, Simone
                               978 Dekalb Avenue, 2nd Floor
                                   Brooklyn, NY 11221

                                             EECA
                                       970 N Griffing Ave
                                      Riverhead, NY 11901

                                       Egbe, Emmanuel
                                        4040 Hill Ave
                                       Bronx, NY 10466

                                      Egharevba, Osamede
                                      1611 Bussing Avenue
                                        Bronx, NY 10466

                                         Egloff, Krista
                                         3 Trails End
                                        Rye, NY 10580

                                         Egloff, Krista
                                         3 Trails End
                                        Rye, NY 10580

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                                    EJ Pest Control Inc
                                   788 Pelhamdale Ave
                                 New Rochelle, NY 10801

                                    EJ Pest Control Inc
                                   788 Pelhamdale Ave
                                 New Rochelle, NY 10801

                                     Ejiogu, Chinasa
                               3533 White Plains Rd Apt 3A
                                    Bronx, NY 10467

                                       Ekeigwe, Christine
                                       3721 Olinville Ave
                                        Bronx, NY 10467

                                          El, Maurice
                                       342 Union Avenue
                                      Mt Vernon, NY 10550

                                     Elegbede, Akeem
                                  1605 Fulton Ave Apt 4E
                                  Bronx, NY 10457-8239

                                      Eljamal, Serena
                                       284 Walsh Rd
                                  Lagrangeville, NY 12540

                                          Ellerbe, Eric
                                      196-198 Utica Avenue
                                       Brooklyn, NY 11213


                                         Elliott, Marsha
                                       20 East 3rd Street
                                             Apt 7G
                                      Mt Vernon, NY 10550

                                         Ellison, Chalay
                                         843 E 232nd St
                                        Bronx, NY 10466

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                                  Elms-Phillip, Kimberly
                                     2036 Hone Ave
                                  Bronx, NY 10461-1312


                                       Elsevier B.V.
                       Corporate Accounts Receivable and Collections
                                   P.O. Box 7247-8455
                               Philadelphia, PA 19170-8455

                                          Elwin, Justin
                                       1887 Strauss Street
                                       Brooklyn, NY 11212


                                        Emanuel, Anessa
                                      1880 Lafayette Avenue
                                            Apt. 24C
                                        Bronx, NY 10473

                                      Emanuel, Lisa
                                    104-58 22nd Place
                                 Queens Village, NY 11429

                                    Emeran, Fabienne
                                  3211 Avenue I APT 5K
                                   Brooklyn, NY 11210


                                       Emersion Learning
                                         210 N 1200 E
                                           Suite 10
                                        Lehi, UT 84043

                                       Enabulele, Edowaye
                                         11303 169th St
                                       Jamaica, NY 11433

                                    Enamorado, Martin
                                 495 Lexington Ave 2nd Fl
                                  Mount Kisco, NY 10549




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                                  Encarnacion, Mylorenz
                                    39 Fauntain Place
                                        Apt. 4G
                                 New Rochelle, NY 10801

                                        Encinas, Aileen
                                      2714 Barnes Ave 1R
                                       Bronx, NY 10467

                                          Enos, Tanissa
                                      2104 Lown-Farm Ln.
                                       Lithonia, GA 30058

                                        Epstein, Melissa
                                       209 Manhattan Ave
                                      Hawthorne, NY 10532


                                        Erondu, Clifford
                                       584 Union Avenue
                                           Apt. 2B
                                       Bronx, NY 10455

                                       Eshun, Sarah
                                  675 Cauldwell Ave Apt 2
                                     Bronx, NY 10455


                                      Espinosa, Altagracia
                                        661 West 180 St
                                           Apt. 4H
                                      New York, NY 10033

                                    Esquivel, Maria
                               100 Lane Crest Ave Apt 3S
                              New Rochelle, NY 10805-1442


                                         Estrada, Iliana
                                       1935 McGraw Ave.
                                            Apt. 2-F
                                        Bronx, NY 10462



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                                       Estrella, Emily B
                                         29 Nicole Ln
                                      Wingdale, NY 12594


                                ETS Corporate Headquarters
                                College Board SAT Program
                                 Attention: Order Services
                                 Princeton, NJ 08541-6212

                                       Eustace, McDonald,
                                       204-19 104Th Ave
                                        Hollis, NY 11412

                                       Evangelista, Randi
                                        9 Mangrove Rd.
                                       Yonkers, NY 10701

                                     Evans, Barbara
                                  420 east prospect ave
                                 Mount Vernon, NY 10553


                                         Evans, Britany
                                      2130 Madison Avenue
                                            Apt 4-
                                      New York, NY 10037

                                         Evans, Desheen
                                      888 Lafayette Avenue
                                      Brooklyn, NY 11221


                                         Evans, Victoria
                                         3138 Hull Ave.
                                             Apt. 2
                                        Bronx, NY 10467


                                         Evelyn, Atikah
                                        754 Jackson Ave
                                             Apt. 3
                                        Bronx, NY 10456



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                                        Everett, Cheryl
                                       1404 Dumont Ave
                                      Brooklyn, NY 11208


                                        Eversley, Jerome
                                      280 Herkimer Street,
                                            Apt 6Q
                                      Brooklyn, NY 11216

                               Evident Crime Scene Products
                                    739 Brooks Mill Rd
                                  Union Hall, VA 24176


                                 ExamSoft Worldwide Inc
                                 Attn: Accounts Receivable
                                     5001 LBJ Freeway
                                     Dallas, TX 75244


                                        Fabian, Minerva
                                         70 Lenox Ave
                                           Apt 10-F
                                      New York, NY 10026

                                  Fairclough, Devonique
                                       PO Box 466
                                 Mount Vernon, NY 10552

                                       Fairclough, Tania
                                       140 Bellamy Loop
                                       Bronx, NY 10475

                                           Fajardo, Jaime
                                         621 Forge Hill Est
                                      Ilion, NY 13357-2413

                                       Fajardo, Stacy
                                  756 Pelham Parkway, 5G
                                     Bronx, NY 10462




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                                     Falkowski, Kristi
                                     9 N Stonegate Rd.
                                 Southington, CT 64893422


                                       Fantauzzi, Katiria
                                      438 Chauncey Street,
                                           Apt. 1F
                                      Brooklyn, NY 11233


                                         Farmer, Ebony
                                       287 Harman Street
                                            Apt-3A
                                      Brooklyn, NY 11237

                                        Farnum, Damien
                                      769 East 49th Street
                                      Brooklyn, NY 11203

                                      Farouk, Aisha
                                 610 Waring avenue Apt 1U
                                     Bronx, NY 10467


                                        Farrow, Brenda
                                      2265 Strauss Street,
                                            Apt 1R
                                      Brooklyn, NY 11212

                                    Faulkner, Micaela
                              39 Davenport Avenue - Apt. 1C
                                 New Rochelle, NY 10805

                                        Favorite, Lavern
                                      1112 Dean Street 4G
                                      Brooklyn, NY 11216

                                           FedEx
                                       PO Box 371461
                                 Pittsburgh, PA 15250-7461




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                                          Feld, Tyrone
                                      1458 Webster Avenue
                                           Apt. 11B
                                        Bronx, NY 10456

                                    Felix-Fleming, Paula
                                  1326 Pacific Street Bsmt
                                    Brooklyn, NY 11216

                                         Feracho, Zakia
                                          PO Box 290
                                        Bronx, NY 10475

                                      Ferdinand, Eva
                                     19 Waldron Ave
                                  Nyack, NY 10960-2935


                                       Fernandez, Carmen
                                      1930 Grand Concourse
                                            Apt. 4-K
                                        Bronx, NY 10457


                                        Fernandez, Gloria
                                       1702 Davidson Ave
                                            Apt. 4-C
                                        Bronx, NY 10453


                                         Fernandez, Juan
                                        643 Caldwell Ave
                                            Apt. B-1
                                        Bronx, NY 10465


                                   Fernandez, Odalys
                                        420 56th
                                         Apt 5
                                 West New York, NJ 7093

                                        Fernando, Lorena
                                      169 Montgomery Ave
                                      Scarsdale, NY 10583

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                                    Ferreira, Patricia
                                 8 Island View Pl 1st Fl
                              New Rochelle, NY 10801-7513

                                      Ferrer, Steven
                                3823 East Piper Grove Drive
                                     Katy, TX 77449


                                         Ferri, Elizabeth
                                         1 Georgia Ave
                                             Apt 6D
                                      Bronxville, NY 10708


                                          Ferrilli
                                   Accounts Receivable
                                 41 South Haddon Avenue
                                  Haddonfield, NJ 08033

                                     Ferrullo, Alicia
                                     324 Briar Patch
                                  Mountainside, NJ 07092

                                         Fetman, Rina
                                        26 Cortland Rd
                                       Monsey, NY 10952


                                 FHEG CNR Campus Store
                                       Store No 518
                                   3146 Solutions Center
                                    Chicago, IL 60677


                       FHEG College of New Rochelle Campus Store
                                     Store No 518
                                 3146 Solutions Center
                                  Chicago, IL 60677


                                    Fiamordzi, Patrick
                                  5375 Sugarloaf PKWY
                                       Apt. 12002
                                 Lawrenceville, GA 30043

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                                     Fields, Aaliyah
                                 24046 Mervell Dean Rd
                                Hollywood, MD 206362843


                                        Fields, Christina
                                      9907 Good Luck Rd
                                           Apt. 13T
                                      Lanham, MD 20706

                                          Fields, Nancy
                                       5386 Jay Way NW
                                       Lilburn, GA 30047

                                       Figeroux, Chantal
                                       438 Gates Avenue
                                      Brooklyn, NY 11216


                                       Figuereo, Anaudy
                                      81 Metropolitan Oval
                                            Apt. 9C
                                       Bronx, NY 10462

                                    Figueroa, Evelyn
                                   334 N High St Fl 2
                                 Mount Vernon, NY 10550


                                       Figueroa, Thelma
                                        3555 Bivona St
                                            Apt 6F
                                       Bronx, NY 10475

                                      Fils-Aime, Farrah
                                          10 Park St
                                  Spring Valley, NY 10977


                                 Financial Aid Services Inc
                                 180 Interstate North Pkwy
                                         Suite 550
                                    Atlanta, GA 30339



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                                       Findlay, Kerosha
                                      959 East 79th Street
                                      Brooklyn, NY 11236

                                         Finnegan, Ava
                                        1616 Mahan Ave
                                        Bronx, NY 10461

                                           Fiore, Julie
                                         230 Crest Drive
                                      Tarrytown, NY 10591

                                       Fiorella, Victoria
                                       347 Success Ave
                                      Bridgeport, CT 6610

                                        Fischer, Geoffrey
                                          6 Cole Drive
                                       Armonk, NY 10504


                                        Fisher, La-Star
                                        523 Blake Ave.
                                           Apt. 2D
                                      Brooklyn, NY 11207


                                         Fisher, Shavan
                                      185 Stuyvesant Ave.
                                            Apt. 3C
                                      Brooklyn, NY 11221


                                         Fisiru, Kujagie
                                         455 E 146th St
                                             Apt 5F
                                      Bronx, NY 104554122


                                    Fitzgibbon, Tara
                                     541Pelham Rd
                                         Apt 8D
                                 New Rochelle, NY 10805



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                                         Flanagan, Sean
                                       105 Fifth Avenue -
                                            Apt. 1D
                                       Pelham, NY 10803


                                        Fleming, Brianna
                                         929 E 214th St
                                             Apt 2
                                        Bronx, NY 10469


                                      Fleming, Shervawn
                                       1710 Carroll Street
                                           Apt. F7
                                      Brooklyn, NY 11213

                                       Fletcher, Amy
                                     526 Swamp Road
                                  Fairfield, VT 54555478

                                     Fletcher, Towana
                              457 Schenectady Ave Apt. B10
                                   Brooklyn, NY 11203


                                       Florencio, Nakita
                                      3605 Sedgwick Ave
                                           Apt A14
                                       Bronx, NY 10463

                                          Flores, Daniel
                                         171 Ryan Drive
                                      Palm Coast, FL 32164


                                        Flores, Dayana
                                       240 West 167th St
                                            Apt 5K
                                       Bronx, NY 10452




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                                         Flores, Melissa
                                       1011 Sheridan Ave
                                             Apt C1
                                        Bronx, NY 10456

                                        Flores, Reinette
                                      1319 Mayflower Ave
                                       Bronx, NY 10461


                                         Flores, Vivian
                                      2078 Second Avenue
                                            Apt.1F
                                      New York, NY 10029


                                         Fluellen, Malik
                                        2275 Randall Ave
                                            Apt. 7B
                                        Bronx, NY 10473

                                           Fofana, Issa
                                      1064 Sheridan Ave 4B
                                        Bronx, NY 10456


                                      Fogelman, Michelle
                                       128 Dupont Street
                                           Apt. 1F
                                      Brooklyn, NY 11222

                                           Fonah, Isha
                                         979 Teller Ave
                                        Bronx, NY 10456


                                        Foote, Tereasa
                                        60 Avenue D -
                                           Apt. 9H
                                      New York, NY 10009

                                         Forbes, Kemar
                                      4081 De Reimer Ave
                                       Bronx, NY 10466

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                                         Ford Credit
                                      PO BOX 220564
                                 Pittsburgh, PA 15257-2564

                                      Foreman, Glen
                                 3228 Whitney Ave Apt 705
                                  Hamden, CT 06518-2145

                                       Formale, Rachel
                                       84 Kia-Ora Blvd
                                      Mahopac, NY 10541


                                         Forrest, Ginger
                                      219 West 145th Street
                                             Apt 3
                                      New York, NY 10039

                                    Forsyth, Kaitlyn
                                     9 Mt Tom Rd
                                 New Rochelle, NY 10805

                                        Foster, Merlene
                                        1200 Troy Ave.
                                      Brooklyn, NY 11203

                                         Foster, Teresa
                                      9598 North 82nd Glen
                                        Peoria, AZ 85345


                                        Fountain, Donna
                                      1335 St. John's Place,
                                               Apt
                                      Brooklyn, NY 11213


                                       Foust, Lashawnda
                                       415 Lafayette Ave
                                           Apt. 9-A
                                      Brooklyn, NY 11238




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                                          Fowler, Karly
                                       309 Washington Ave
                                      Tyrone, PA 166861249


                                       Foxworth, Latarsha
                                        510 Main Street
                                           Apt 434
                                      New York, NY 10044


                                         Foya, Allatisha
                                      1368 Webster Avenue
                                           Apt. 16D
                                        Bronx, NY 10456

                                       Francis, Itima
                                  225 Bainbridge St Apt 2
                                   Brooklyn, NY 11233


                                        Francis, Lavonia
                                       41 West 112 Street
                                           Apt. 9-E
                                      New York, NY 10026


                                        Francis, Michele
                                       87-13 97th Avenue
                                             Apt 1
                                      Ozone Park, NY 11416

                                      Francis, Monica
                                  300 Palisade Avenue 3Y
                                    Yonkers, NY 10703

                                        Francis, Phelicia
                                         1048 E 223rd St
                                        Bronx, NY 10466


                                         Francis, Therese
                                      63 Morningside Avenue
                                             Apt. 4S
                                       New York, NY 10027

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                                         Francis, Vernice
                                      1502 Bryant Ave 1st Fl
                                        Bronx, NY 10460

                                         Franco, Jessica
                                        178 Cantitoe St
                                       Katonah, NY 10536

                                         Franjul, Jennifer
                                          3 Georgian Dr
                                      Stony Point, NY 10980

                                          Frank, Kailee
                                        167 Eastern Pkwy
                                        Milford, CT 06460

                                     Franks Sport Shop
                                  430 East Tremont Avenue
                                      Bronx, NY 10457

                                         Fratello, Linda
                                       3160 Fairmount Ave
                                        Bronx, NY 10465

                                           Fray, Isaiah
                                          11613 240th St
                                        Elmont, NY 11003


                                         Frazier, Deborah
                                      186-88 Malcom X Blvd
                                            Apt. A-4
                                       Brooklyn, NY 11221


                                          Frazier, Karen
                                         1588 Sterling Pl
                                             Apt-2C
                                       Brooklyn, NY 11213




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                                       Frederick, Frances
                                      700 Westchester Ave
                                            Apt. 9J
                                       Bronx, NY 10455


                                       Freeman, Charlotte
                                      2075 St Raymond Ave
                                             Apt 3C
                                        Bronx, NY 10462

                                         Freeman, Terri
                                       108 Southland Drive
                                       Zebulon, NC 27597


                                     Fudge, Stacey
                                   15 Union Avenue -
                                         Apt. 5
                                 Mount Vernon, NY 10550

                                         Fuentes, Shadeja
                                       483 Vermont Street
                                       Brooklyn, NY 11207


                                          Fuller, Jeneen
                                      8 St Nicholas Terrace
                                              Apt 1
                                      New York, NY 10027


                                         Fuller, Octavia
                                        2326 Loring Place
                                            Apt 3-G
                                        Bronx, NY 10468

                                          Fults, Pamela
                                        504 Scotland Road
                                      South Orange, NJ 7079




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                                         Furbert, Denise
                                        1144 Wheeler Ave
                                            Apt. 2B
                                        Bronx, NY 10472


                                         Gaddy, Lillian
                                       930 East 4th Walk -
                                            Apt. 5E
                                      New York, NY 10009

                                      Gadson, Taison
                                 95 Malcolm X Blvd Apt 8A
                                    New York, NY 10026

                                          Galano, Sandra
                                      400 East 77th Street 9E
                                       New York, NY 10075


                                         Galarza, Nerely
                                         1727 Hunt Ave
                                             Apt. 1
                                        Bronz, NY 10462


                                       Gallop, Inicia
                                  110 Rochester Avcenue,
                                         Apt. 2A
                                   Brooklyn, NY 11233


                                         Garcia, Adamirka
                                       106 Locust Hills Ave
                                             Apt. 3A
                                        Yonkers, NY 10701


                                         Garcia, Armani
                                          919 Park Place
                                             Apt. 6A
                                       Brooklyn, NY 11213




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                                       Garcia, Daniel
                                 4182 East Tremont Avenue
                                     Bronx, NY 10465

                                     Garcia, DiAnne
                                     140 N 8th Ave
                                 Mount Vernon, NY 10550

                                         Garcia, Genesis
                                      70 East 108 Street 4G
                                      New York, NY 10029

                                        Garcia, Mandy
                                      143 cleveland street
                                      Brooklyn, NY 11208


                                         Garcia, Nicole
                                        380 McLean Ave.
                                           Apt. AA1
                                       Yonkers, NY 10705

                                      Garcia, Shavon
                                1890 Schieffeiln Ave apt#1E
                                     Bronx, NY 10466


                                      Gardner, Darwnesher
                                      324 Howard Avenue
                                            Apt-1F
                                      Brooklyn, NY 11233

                                        Garland, Tiffany
                                      409 Clermont Avenue
                                      Brooklyn, NY 11238

                                    Garnett, Adrienne
                             Caudlewood Suite Raleigh Crabtree
                                    Raleigh, NC 27612




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                                         Gartner, Beth
                                        600 W 239th St
                                            Apt 5N
                                       Bronx, NY 10463


                                        Gaskin, Natasha
                                         266 E 23rd St
                                            Apt. 1
                                      Brooklyn, NY 11226


                                    Gatilao, Rolando
                                     642 Locust St.
                                        Apt. 3C
                                 Mount Vernon, NY 10552

                                          Gaumard
                                      14700 SW 136th St
                                       Miami, FL 33196

                                      Gayle-Curtis, Sophia
                                      1325 Rosedale Ave
                                       Bronx, NY 10472


                                         Gaynor, Nadia
                                       194 E. 52nd Street
                                            Apt. 1
                                      Brooklyn, NY 11203

                                         Geiger, Debra
                                        115 Cliff Avenue
                                       Pelham, NY 10803

                                          Gelb, Zipora
                                      677 North LakeDrive
                                       Lakewood, NJ 8701

                                        Gelin, Daffney
                                         60 Custer St
                                      Stamford, CT 6902



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                                        Geller, Brittany
                                        660 Timpson St
                                       Pelham, NY 10803

                                      Gemma, Avery
                                       7 Yardley Dr
                                 Dix Hills, NY 11746-6037

                                        George, Tobin
                                         Po Box 87
                                      Yonkers, NY 10705

                                     George, Tracey
                                   528 South 2nd Ave.
                                 Mount Vernon, NY 10550

                                  Georgioudakis, Gabriella
                                    52 Stormytown Rd
                                   Ossining, NY 10562

                                        Gerber, Sheera
                                         PO Box 1739
                                      New City, NY 10956


                                      Geri Caggiano
                                     2221 Palmer Ave
                                         Apt 4P
                                  New Rochelle, NY 10801


                                         Gerilyn, Bates
                                      1595 Unionport Road
                                            Apt 1F
                                        Bronx, NY 10462


                                     Gerloven, Susan
                                   45 Kew Gardens Rd
                                         Apt. 40
                                  Kew Garden, NY 11415




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                                     Gheraldi, Jennifer
                                    172 Armstrong Ave.
                                  Staten Island, NY 10308

                                     Gibbons, Crystal
                                    10 Pinehurst Drive
                                  Lakewood, NJ 87014444


                                         Gibbs, Rachel
                                         2698 8th Ave
                                           Apt. 5L
                                      New York, NY 10030

                                        Gibson, Ebony
                                       61 Seminary Ave
                                      Yonkers, NY 10704

                                     Gibson, Nichala
                                      530 Chester St
                                 Uniondale, NY 115532438


                                        Giff, Christine
                                       248 Hosmer Ave
                                             Apt 3
                                       Bronx, NY 10465

                                       Gilberti, Angelica
                                       130 whitesboro st
                                      yorkville, NY 13495


                                       Gilford, Channelle
                                       870 Freeman Street
                                             Apt 5B
                                        Bronx, NY 10458


                                          Gill, Patricia
                                       2354 Paulding Ave
                                            Apt 6E
                                        Bronx, NY 10469



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                                          Gill, Shelley
                                       1510 Unionport Rd
                                           Apt. MB
                                        Bronx, NY 10462

                                         Gillard, Katelcia
                                      1080 Anderson Avenue
                                        Bronx, NY 10452


                                       Gillespie, Elizabeth
                                      156-05 Laburnum Ave
                                           Apt LT left
                                       Flushing, NY 11355

                                     Giorgio, Amanda
                                     52 Old Mill Road
                                Yorktown Heights, NY 10598

                                       Giraldo, Lina
                                    164 Sickles Avenue
                                  New Rochelle, NY 10801

                                    Giulietti, Jennifer
                                      7 Larmel Ct
                               Hopewell Junction, NY 12533

                                      Gizzi, Jessica
                                  101 Buckberg Mtn Rd
                                 Tomkins Cove, NY 10986


                                      Gjoka, Emanuel
                                  605 McLean Ave Apt 1A
                                          Apt 1A
                                    Yonkers, NY 10705

                                         Glover, Doreen
                                         9 Foster Square
                                      Pittsburgh, PA 15212




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                                      Glover, James
                                     221 Hakeside Dr.
                                        Apt. 202
                                  Leavenworth, KS 66048


                                        Godfrey, Jennifer
                                         110 Morris St.
                                            Apt. 3B
                                       Yonkers, NY 10705


                                         Gomez, Selina
                                        1971 7th Avenue
                                            Apt. 4
                                      New York, NY 10026


                                         Gons, Dianna
                                       530 Valley Street
                                            Apt.1
                                      Maplewood, NJ 7040

                                       Gonzales, Chelsea
                                        6 Stillman Wye
                                       Monroe, NY 10950

                                        Gonzalez, Daniel
                                          9405 Lenel Pl
                                      Dallas, TX 752205024


                                      Gonzalez, Guillermo
                                       140 Alcott Place
                                           Apt 9K
                                       Bronx, NY 10475

                                        Gonzalez, Jessica
                                       1519 Glover Street
                                       Bronx, NY 10462

                                    Gonzalez, Lissette
                                     42 Linden Drive
                                 Highland Mills, NY 10930

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                                          Gonzalez, Luisa
                                          520 E 142nd St
                                             Apt. 4A
                                         Bronx, NY 10454

                                        Gonzalez, Lynnette
                                         255 Swinton Ave
                                        Bronx, NY 10465

                                    Gonzalez, Nathalie
                                     33 Kathwood Rd
                                  Yonkers, NY 10710-1003


                                        Gonzalez, Pamela
                                        2026 Colden Ave
                                             Apt 1
                                        Bronx, NY 10462


                                    Gonzalez, Stephanie
                                      263 Drake Ave
                                          Apt 5
                                  New Rochelle, NY 10805

                                         Gonzalez, Taina
                                           348 50th St
                                       Brooklyn, NY 11220


                                         Gonzalez, Victor
                                       800 Grand Concourse
                                             Apt. 3Ss
                                         Bronx, NY 10451


                                           Goode, Hope
                                      1334 Louis Nine Blvd. -
                                             Apt. 8B
                                         Bronx, NY 10459

                                        Gooden, Clarence
                                       562 East 80th Street
                                       Brooklyn, NY 11236

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                                        Gooden, Justine
                                         731 E 46th St
                                      Brooklyn, NY 11203


                                       Goodman, Frances
                                       411 Lafayette Ave.
                                            Apt. 2C
                                      Brooklyn, NY 11238


                                      Goodno, Virginia
                                       30-24 21st Street
                                            Apt.1
                                      Astoria, NY 11102

                                Goosetown Communications
                                    58 N Harrison Ave
                                   Congers, NY 10920

                                        Gordon, Akelia
                                      1464 Hicks St 1st Fl
                                       Bronx, NY 10469

                                       Gordon, Ashia
                                  493 SW Columbus Drive
                                 Port Saint Lucie, FL 34953


                                        Gordon, Dionne
                                      312 Bradford Street
                                            Apt. 2
                                      Brooklyn, NY 11207

                                       Gordon, Kimberly
                                        702 Forest Ave
                                        Rye, NY 10580


                                        Gordon, Latoya
                                      4128 Carpenter Ave.
                                           Apt. 5D
                                       Bronx, NY 10466



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                                        Gordon, Rebecca
                                         24 Munroe Ave
                                      Mount Sinai, NY 11766

                                          Goree, Kadian
                                         108 Union Ave
                                       Peekskill, NY 10566

                                      Gorham, Justin
                                 772 East 233 Street First F
                                     Bronx, NY 10466


                                          Gorman, Keya
                                        362 Sutter Avenue,
                                             Apt 5F
                                       Brooklyn, NY 11212

                                        Goudiaby, Mame
                                        3761 Barnes Ave
                                        Bronx, NY 10467


                                         Gould
                                      100 Clove Rd
                                          Apt 3
                                  New Rochelle, NY 10801


                                         Gourdine, John
                                       953 Dekalb Avenue
                                            Apt. 4-E
                                       Brooklyn, NY 11221


                                        Graham, Dorienn
                                        203 Macon Street
                                            Apt. 2B
                                       Brooklyn, NY 11216


                                         Graham, Lavan
                                         120 De Kruif Pl
                                            Apt 27F
                                        Bronx, NY 10475

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                                        Graham, Natasha
                                      131 Belmont Avenue
                                            Apt. 3C
                                      Brooklyn, NY 11212


                                       Graham, Zipporah
                                        831 Bartholdi St
                                            Apt 2A
                                       Bronx, NY 10467

                                         Grande, Kelly
                                      3185 Barkley Avenue
                                        Bronx, NY 10465


                                         Grant, Denise
                                        224 York Street,
                                           Apt. 3C
                                      Brooklyn, NY 11201


                                         Grant, Kinmer
                                      590 Bradford Street
                                           Apt. 1R
                                      Brooklyn, NY 11207


                                          Grant, Kyle
                                        584 E. 137 St.
                                           Apt. 4H
                                       Bronx, NY 10473

                                        Grant, Princella
                                      2101 Paciific Street
                                      Brooklyn, NY 11233

                                         Grant, Tyece
                                           8 Vernon
                                      Brooklyn, NY 11206




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                                        Grassi & Company
                                       Accounts Receivable
                                      50 Jericho Quadrangle
                                        Jericho, NY 11753

                                       Grau, Wilmer
                                    21 Woodbury Street
                                  New Rochelle, NY 10805


                                          Gray, Jaylin
                                      216 Rockaway Ave
                                           Apt 16K
                                      Brooklyn, NY 11233

                                     Gray, Natoriee
                                   231-16 121 Avenue
                                Cambria Heights, NY 11411

                                     Green, Antoinette
                                932 E. 173rd Street Apt. 5D
                                     Bronx, NY 10460


                                        Green, Daynisha
                                        1571 Fulton Ave
                                            Apt. 3B
                                        Bronx, NY 10457


                                        Green, Gina
                                2051 Frederick Douglas Blvd
                                         Apt. 2B
                                   New York, NY 10026


                                        Green, Jacqueline
                                       950 Jennings Street
                                             Apt 4F
                                        Bronx, NY 10460




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                                        Green, Kimberlee
                                         1191 Park Place
                                             Apt-3A
                                       Brooklyn, NY 11213


                                         Green, Lynnette
                                         1191 Park Place
                                            Apt. 3A
                                       Brooklyn, NY 11213

                                          Green, Natalee
                                      912 E 226th St Apt B1
                                      Bronx, NY 10466-4666


                                         Green, Natalie
                                       357 West 118 St.
                                           Apt. 7-A
                                      New York, NY 10026

                                       Green, Renee
                                       9 The Court
                                  New Rochelle, NY 10801

                                         Green, Shirnae
                                       376 Madison Street
                                      New York, NY 10002

                                      Greenberg, Alexandra
                                      107 Lakeview Avenue
                                       Scarsdale, NY 10583

                                    Greenberg, Kaitlyn
                                     10 N Meadow Ln
                                 Putnam Valley, NY 10579

                                         Greene, Helen
                                          P O Box 710
                                        Bronx, NY 10456




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                                        Greer, Hannah
                                        11 Abbey Ln
                                          Apt 1303
                                      Danbury, CT 06810


                                     Gregg, Samantha
                                 2026 Adam C Powell Blvd.
                                         Apt. 4C
                                   New York, NY 10027

                                        Grego, Patricia
                                       83 Braunsdorf Rd
                                        Pearl River, NY


                                        Gregory, Melody
                                       1695 Madison Ave.,
                                           Apt. 19-A
                                      New York, NY 10029


                                       Gregory, Sherneise
                                        1240 Burke Ave
                                           Apt. 1-C
                                       Bronx, NY 10469

                                        Gregory, Stacey
                                         6 Belair Lane
                                        Salem, NH 3079


                                           Grey, Morris
                                         557 Broadway
                                             Apt 30C
                                      Port Ewen, NY 12466


                                         Grey, Nicole
                                      384 Warwick Street
                                         Apt. 2nd Fl.
                                      Brooklyn, NY 11207




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                                        Grice, Chandra
                                         P. O. Box 834
                                      New York, NY 10027

                                      Griffin, Luisa
                                  274 Town View Drive
                                Wappingers Falls, NY 12590

                                           Gross, Ariel
                                         87 Audrey Ave
                                      Plainview, NY 11803

                                     Gualano, Danielle
                                     20 Red Mill Road
                                Cortlandt Manor, NY 10567

                                      Guaman, Vilma
                                       35-36 92nd St
                                 Jackson Heights, NY 11372

                                       Guerrero, Edith
                                  140 Bradhurst Avenue 3A
                                    New York, NY 10039


                                        Guerrero, Jessica
                                       180 Prospect Place
                                            Apt 2C
                                      Brooklyn, NY 11238


                                        Guignard, Stacey
                                          107 1st Ave
                                              Apt 2
                                      Nyack, NY 109602630

                                       Guillaume, Dreanna
                                        305 Overlook Dr
                                      Covington, GA 30016




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                                         Guillen, Darlene
                                      615 West 183rd Street,
                                               Apt
                                      New York, NY 10033


                                          Gunn, Kevin
                                      525 West 138th Street
                                            Apt 11
                                      New York, NY 10031

                                      Gurney, Allison
                                      7 Granville Rd
                                 Southwick, MA 10779705

                                        Gutierrez, Carmen
                                          350 S Regent St
                                      Port Chester, NY 10573

                                        Gutierrez, Drusilia
                                           972 Fox St
                                      Bronx, NY 10459-3367


                                        Gutierrez, Eilyn
                                         508 W. 151st
                                           Apt. 1A
                                      New York, NY 10031


                                       Gutierrez, Fernando
                                        2070 Third Ave.
                                            Apt. 13 F
                                      New York, NY 10029

                                   Gutierrez, Rosemary
                                      8724 108th St
                               Richmond Hill, NY 114182229

                                          Guzman, Carol
                                       64 Kaufman Avenue
                                      Little Ferry, NJ 07643



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                                    Guzman, Elizabeth
                                     159 Depeyster St
                              Sleepy Hollow, NY 10591-2442


                                        Guzman, Roxanne
                                         3880 Orloff Ave
                                             Apt 7M
                                      Bronx, NY 104632663

                                        Gyampoh, Raenee
                                          13 Gabby Ln
                                      Middletown, NY 10940


                                      Gym Door Repairs Inc
                                        3500 Sunrise Hwy
                                      Building 200 Suite 210
                                      Great River, NY 11739

                                   Hackett-Napier, Caron
                                 128 Rockaway Ave Apt 1H
                                    Brooklyn, NY 11233


                                       Haggerty, Lawrence
                                         140 Dekruif Pl
                                             Apt 3J
                                        Bronx, NY 10475

                                         Hagley, Melisa
                                      8221 Glenwood Road
                                      Brooklyn, NY 11236


                                         Haines, Doreen
                                       217 Ocean Avenue,
                                             Apt 2C
                                       Brooklyn, NY 11225

                                      Haliburda, Mary Beth
                                      1171 Shoemaker Drive
                                       Wetsland, MI 48185



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                                          Hall, Arshea
                                        125 A W 168th St
                                             Apt 4A
                                        Bronx, NY 10452

                                      Hall, Ashnelle
                                    90-12 218th Place
                                 Queens Village, NY 11428

                                    Hall, Christopher
                             4044 George Busbee Parkway NW
                                  Kennesaw, GA 30144

                                       Hall, Hailey
                                        20 Pratt St
                                  Rouses Point, NY 12979

                                          Hall, Rebecca
                                      1818 Wilton Gate Drive
                                       Charlotte, NC 28262


                                          Hall, Tarkisha
                                       880 Thieriot Avenue
                                             Apt 8C
                                        Bronx, NY 10473

                                         Hallett, Tamara
                                       234 Vermont Street
                                       Brooklyn, NY 11216

                                    Hall-Morgan, Nerissa
                                    340 Beach 44th Street
                                  Far Rockaway, NY 11691

                                     Halpern, Dennis
                                   23 Maplemoor Lane
                                  White Plains, NY 10605




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                                        Hamblin, Jamaal
                                         30 Seneca Ave
                                             Apt. 2
                                        Dumont, NJ 7628

                                       Hamilton, Norbert
                                      2217 S W 117th Ave
                                      Hollywood, FL 33025

                                     Hamilton, Tanisha
                                2180 Wallace Avenue Apt 2L
                                     Bronx, NY 10462


                                    Hammonds, Portia
                                  101-125 W. 147th Street
                                         Apt. 26F
                                   New York, NY 10039

                                     Hancock, Stephen
                                  418 BEDFORD ROAD
                                  Pleasantville, NY 10570

                                       Hanglow, Amanda
                                        353 Fordham Pl
                                       Bronx, NY 10464

                                       Harasym, Melanie
                                       48-32 65th Place
                                      Woodside, NY 11377

                                          Harding, Kafi
                                      23 Paerdegat 13 Street
                                       Brooklyn, NY 11236


                                          Hardt, Lady
                                       35 West 33 Street,
                                           Apt 14C
                                      New York, NY 10001




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                                       Harikissoon, Karen
                                         1543 Budd St
                                       Elmont, NY 11003

                                       Harnisch, Kathryn
                                        780 Hillside Rd
                                       Fairfield, CT 6824

                                     Harper, Vivian
                                 15 W. 139th Street Apt 1F
                                   New York, NY 10037

                                       Harris, Alberta
                                     69 Wookoff Lane
                                  Staten Island, NY 10303


                                         Harris, Alicia
                                      2200 E Tremont Ave
                                           Apt. 1-G
                                       Bronx, NY 10462


                                         Harris, Arielle
                                       1428 Webster Ave
                                            Apt. 1C
                                       Bronx, NY 10456

                                        Harris, Brea
                                      302 E Skyline Dr
                                  Staten Island, NY 10304


                                          Harris, Daya
                                         99 Wall Street
                                            #1407
                                      New York, NY 10005

                                      Harris, Deandra
                                 4014 Carpenter Ave Apt 4B
                                     Bronx, NY 10466




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                                          Harris, Denise
                                       309 East 91st Street
                                            Apt. 2F
                                       Brooklyn, NY 11212


                                          Harris, Denise
                                      611 Crotona Park North
                                            Apt. 20E
                                        Bronx, NY 10457

                                         Harris, Ebiere
                                        1202 Polk-Xing
                                      McDonough, GA 30252

                                          Harris, Helen
                                      110 Beach 59th Street
                                       Arverne, NY 11692


                                          Harris, Melissa
                                      603 New Jersey Avenue
                                            Apt. 1-F
                                       Brooklyn, NY 11207


                                           Harris, Nicole
                                        1024 Sanford Ave
                                              Unit 26
                                        Irvington, NJ 7111

                                        Harris, Roxanne
                                        5069 Towles Rd
                                      Hollywood, SC 29449


                                    Harris, Sasha-Gaye
                                     149-65 22nd Ave
                                          Apt 1L
                                 Whitestone, NY 113571033




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                                        Harris, Saskia
                                      413 Beach 29th St
                                         Apt. 2nd Fl
                                  Far Rockaway, NY 11691


                                        Harris, Shaleema
                                      1104 Herkimer Street
                                             Apt. 1
                                      Brooklyn, NY 11233


                                         Harris, Simone
                                         760 E 183rd St
                                            Apt 317
                                        Bronx, NY 10460


                                         Harris, Simone
                                         760 E 183rd St
                                             Apt 317
                                      Bronx, NY 104601076


                                         Harris, Tabitha
                                        15 Crown Street
                                             Apt-5J
                                      Brooklyn, NY 11225


                                        Harris, Tawanna
                                      987 Mytrle Avenue
                                            Apt-2E
                                      Brooklyn, NY 11206

                                        Harris, Veronica
                                         42 Pleasant Pl.
                                      Tuckahoe, NY 10707

                                         Harrison, Tara
                                      337 East 241st Street
                                       Bronx, NY 10470




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                                          Hartell, Irena
                                      4 Rolling Way, Apt F
                                      Peekskill, NY 10566

                                   Hartford Steam Boiler
                                   21045 Network Place
                                  Chicago, IL 60673-1210


                                    Hart-Shoulder, Nikki
                                      4604 Broad Street
                                          Apt. 202
                                 Virginia Beeach, VA 23462

                                        Harvey, Brittany
                                       3404 Tiemann Ave
                                        Bronx, NY 10469


                                      Hathaway, Alisa
                                 159-70 Harlem River Drive
                                         Apt. 10E
                                   New York, NY 10039


                                      Hathaway, Katheryn T
                                       172 Pinewood Road
                                               #32
                                      Hartsdale, NY 10530

                                     Haughton, Rachel
                                 73 Shoreview Drive, Apt 4
                                    Yonkers, NY 10710

                                         Hauser, Robert
                                        65 Briarcliff Rd
                                      Shoreham, NY 11786


                                        Hawkins, Marquis
                                       4034 Lowerre Place
                                             Apt 1R
                                        Bronx, NY 10466



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                                       Haywood, Tamara
                                      1206 Hancock Street
                                      Brooklyn, NY 11221

                               Health Insurance Plan of Great
                                       PO Box 21105
                                   New York, NY 10087


                                         Healy, Lori
                                       78-11 35th Ave
                                           Apt 1C
                                 Jackson Heights, NY 11372


                                         Heath, Jasmine
                                         820 E 168th St
                                             Apt 3C
                                      Bronx, NY 104592265

                                   Hechavarria, Ronald
                                       15 Drake St
                                 Mount Vernon, NY 10550

                                 Hemmings-Rainford, Janet
                                    52 Churchill Street
                                    Fairfield, CT 6824


                                       Henderson, Jerome
                                        2492 8th Avenue
                                            Apt 4-A
                                      New York, NY 10030


                                      Henderson, Mary
                                      4 Riverhurtst Rd.
                                          Apt. 336
                                  Billerica, MA 18211408


                                       Henderson, Tiesha
                                       425 E. 102nd Street
                                            Apt. 6A
                                      New York, NY 10029

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                                     Hendricks, Kayla
                                  1588 Sterling Pl Apt 1B
                                 Brooklyn, NY 11213-3288


                                     Henry, Andrene
                                   519 N. Wagner Ave.
                                          Apt. 3
                                  Mamaroneck, NY 10543

                                        Henry, Bryanna
                                      246 Westminster Rd
                                      Brooklyn, NY 11218

                                       Henry, Julia
                                   408 Homestead Ave
                                 Mount Vernon, NY 10553

                                      Henry, Mervis
                                24 Metropolitan Oval Apt 1B
                                    Bronx, NY 10462


                                         Henry, Shaday
                                       3555 Bivona Street
                                            Apt 5B
                                        Bronx, NY 10475


                                        Henson, Giovanna
                                       101-125 W 147th St
                                             Apt 9J
                                      New York, NY 10039

                                      Herff Jones Inc
                                      PO Box 099292
                                  Chicago, IL 60693-9292


                                    Hernandez , Marta
                                      173 Pelham Rd
                                           #2L
                                  New Rochelle, NY 10805



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                                      Hernandez, Annette
                                        2942 Hone Ave
                                       Bronx, NY 10469


                                   Hernandez, Brandon
                                    153 Park Hill Ave
                                          Apt 1A
                                  Yonkers, NY 107051425

                                      Hernandez, Charlotte
                                         P.O. Box 611
                                       Hatillo, PR 00659

                                       Hernandez, Erica
                                      2253 Chatterton Ave
                                       Bronx, NY 10472


                                      Hernandez, Frankie
                                      155 City Island Ave
                                            3rd FL
                                       Bronx, NY 10464


                                       Hernandez, Ingrid
                                       54-39 100th Street
                                           Apt. 800
                                       Corona, NY 11368


                                       Hernandez, Jenny
                                        607 E 139th St
                                           Apt. 4F
                                       Bronx, NY 10454

                                       Hernandez, Kailyn
                                       1735 Haight Ave
                                       Bronx, NY 10461


                                       Hernandez, Myrna
                                       920 Metcalf Ave.
                                           Apt. 20H
                                       Bronx, NY 10473

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                                      Herron, Derriko
                                 1829 Americana Blvd 32N
                                    Orlando, FL 32839

                                      Herstic, Frimet
                                      45 Davis Ave
                                  New Rochelle, NY 10805


                                          Hewitt, Shana
                                         1460 Burke Ave
                                              Apt 1
                                      Bronx, NY 104693019

                        Hewlett-Packard Financial Services Company
                                     P.O. Box 402582
                                 Atlanta, GA 30384-2582

                                      Hicks, Cynthia
                                        26 Main St
                                 Goldens Bridge, NY 10526


                                          Hicks, Kathy
                                       348 E 119Th Street
                                            Apt #4A
                                      New York, NY 10035


                                         Hicks, Tamara
                                       135 Hamilton Place
                                            Apt 7-C
                                      New York, NY 10031

                                   Higgins, Charonne
                                      423 Locust St
                                 Mount Vernon, NY 10552

                                           Higgins, Paul
                                       8025 Slide Rock Rd
                                      Fort Worth, TX 76137




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                                           Hill, Beth
                                      857 Crotona Park N.
                                           Apt. 5C
                                       Bronx, NY 10460


                                          Hill, Ce'Asia
                                         345 E 193rd St
                                             Apt 5A
                                      Bronx, NY 104584762


                                         Hill, Douglas
                                      1039 Willmohr Street
                                           Apt. 3A
                                      Brooklyn, NY 11212


                                         Hill, Rasheeda
                                        1780 1st Avenue
                                            Apt 6-G
                                      New York, NY 10128


                                          Hing, Joan
                                      3004 Clarendon Rd
                                            Apt-D6
                                      Brooklyn, NY 11226


                                        Hinton, Sabrina
                                         405 E 92nd St
                                           Apt 18H
                                      New York, NY 10128


                                        Hirschy, Andrea
                                         35-40 30th St
                                            Apt. 1A
                                       Astoria, NY 11106

                                         Hisari, Zahra
                                        45-59 45 Street
                                      Woodside, NY 11377




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                                      Hochstein, Tara
                                     5 Cobblestone Ln
                                  Airmont, NY 109524708


                                         Hodge, Nichelle
                                        120 Bellamy Loop
                                            Apt 26C
                                        Bronx, NY 10475

                                       Hoerner, Rosemary
                                        307 Clfford Street
                                       Bellmore, NY 11710

                                            Hoey, Shana
                                           4327 248th St
                                      Little Neck, NY 11363

                                          Holder, Ingrid
                                          4 Revere Place
                                       Brooklyn, NY 11213


                                         Holder, Tyrice
                                       60 East 135th Street
                                             Apt 9-
                                      New York, NY 10037

                                    Hollensworth, Taisha
                                    156 E. Eckerson Rd
                                  Spring Valley, NY 10977


                                        Holliday, Sydney
                                      321 East 153rd Street
                                              Apt 2
                                       Bronx, NY 10451


                                      Hollies-Johnson, Marie
                                      620 West 170th Street
                                             Apt. 4-J
                                      New York, NY 10032



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                                      Holloway, Dawn
                                1210 Havemeyer Ave Ph         N
                                     Bronx, NY 10462


                                       Holloway, Makeia
                                        902 Drew Street,
                                            Apt 131
                                      Brooklyn, NY 11208

                                        Holmes, Ivelisse
                                       16 Moorland Blvd
                                       Monroe, NJ 8831

                                       Holmes, Natalie
                                      773 E. 231st Street
                                      Bronx, NY 10466

                                       Holmes, Victoria
                                       31382 Willow Ln
                                      Franklin, VA 23851


                                      Holmes, Wanda
                                 1530 Pennsylvania Avenue,
                                           Apt.
                                    Brooklyn, NY 11239


                                    Hopkins, Tanya
                                   407 South 9th Ave
                                        Apt. 2D
                                 Mount Vernon, NY 10550

                                      Horan, Catherine
                                       P O BOX 82
                                  Old Greenwich, CT 6870

                                     Horan, Mary Kate
                                     129 Lookout Pass
                                 Stormville, NY 125825223




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                                         Horne, Danielle
                                      1600 Sedgwick Avenue
                                            Apt. 14L
                                        Bronx, NY 10453

                                        Horowitz, Cheryl
                                          11 Forest Ave
                                       Cortlandt, NY 10567

                                      Hough, Sarita
                                   116-29 221th. Street
                                Cambria Heights, NY 11411

                                      House, Cydney
                                 7142 Amador Valley Blvd
                                    Dublin, CA 94568


                                         Howard, Leroy
                                       3410 Dereimer Ave
                                            Apt 15F
                                        Bronx, NY 10475

                                      Hoyos, Lorena
                                     42 Lynton Place
                                  White Plains, NY 10606


                                        Hubbard, Dorothy
                                       1027 Walton Avenue
                                            Apt. 4-E
                                        Bronx, NY 10452


                                        Huggins, Natasha
                                        522 Decatur Street
                                             Apt. 3
                                       Brooklyn, NY 11233


                                         Huggins, Tyrell
                                       280 Herkimer Street
                                             Apt-G7
                                       Brooklyn, NY 11216

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                                      Hugh, Kanika
                                    209 tecumseh ave
                                 Mount Vernon, NY 10553

                                        Hugh, Samantha
                                        355 Helena Ave
                                       Yonkers, NY 10710


                                         Hughes, Shakeya
                                      122 Rockaway Parkway
                                              Apt 1
                                       Brooklyn, NY 11212


                                         Hunter, Debra
                                      1127 Sheridan Avenue
                                            Apt. 1-D
                                        Bronx, NY 10456

                                         Hunter, Sheila
                                        711 Harding Park
                                        Bronx, NY 10473

                                         Hurd, Monica
                                      3603 3rd Ave Apt 14F
                                        Bronx, NY 10456


                                        Huremovic, Ramo
                                       253 Washington Ave
                                             Apt B2
                                       Brooklyn, NY 11205


                                         Hurley, Lystria
                                          855 E 178th St
                                             Apt 15C
                                         Bronx, NY 6127


                                          Huston, June
                                        301 E143rd Street
                                            Apt. 5G
                                        Bronx, NY 10451

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                                       Hutchinson, Marcia
                                        212 Station Place
                                      Mt Vernon, NY 10552

                                       Hutchinson, Shayna
                                       3306 Seymour Ave
                                        Bronx, NY 10469

                               Hutchinson-Mitchell, Shawnlee
                                   1095 University Ave
                                     Bronx, NY 10452

                                       Hutto, Brian
                                   453 Country Club Ln
                                  Pomona, NY 109702500

                                       Hutzler, Anne
                                    23 N Howells Pt Rd
                                  Bellport, NY 117132907


                                       Hyacinthe, Archea
                                        2745 8th Avenue
                                           Apt 2-C
                                      New York, NY 10039

                                       Hyde, Sarah
                                    119 Winthrop Ave.
                                  New Rochelle, NY 10801

                                      Ianello, Julia
                                    1510 Henry Ave
                                  Mamaroneck, NY 10543

                                     Ibishaj, Christina
                                 2770 Briggs Ave Apt. B1
                                     Bronx, NY 10458

                                      IFILL, Susanne
                                    62 Hunter Avenue
                                  New Rochelle, NY 10801

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                                    Igbinadolor, Belicia
                                  999 hidden lakes drive
                                          apt 3D
                                 North Brunswick, NJ 8902


                               Immediate Credit Recovery Inc
                                     6 Neptune Road
                                         Suite 110
                                 Poughkeepsie, NY 12601

                        Industry and Local 338 Pension and Welfare
                                    911 Ridgebrook Rd
                             Sparks Glencoe, MD 21152-9451

                        Industry and Local 338 Pension and Welfare
                                    911 Ridgebrook Rd
                             Sparks Glencoe, MD 21152-9451

                                        Inga, Nelly
                                      46 Depeyster St
                                 Sleepy Hollow, NY 10591


                                       Inglese, Anonya
                                       780 Kimball Ave
                                           Apt 3A
                                      Yonkers, NY 10704


                                        Ingram, Cherri
                                      785 Courtlandt Ave
                                           Apt. 9B
                                       Bronx, NY 10451

                                      Inguito, Al Anthony
                                       10 Dogwood Drive
                                      Scarsdale, NY 10583

                                       Innes, Mary
                                  1080 D Lakeview Drive
                                  White Haven, PA 18661



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                                 Innovative Communication
                                        519 8th Ave
                                           4th Fl
                                   New York, NY 10018

                                        Intintoli, Jennifer
                                         6 Muriel Drive
                                       Stamford, CT 6907


                                     Iona College
                                   715 North Avenue
                             Advancement and External Affairs
                                New Rochelle, NY 10801


                                         Irby, Shamika
                                      1900 Lexington Ave
                                            Apt. 9B
                                      New York, NY 10035


                                          Irish, Nicole
                                      29 MacDonough Street,
                                             Apt. 2E
                                       Brooklyn, NY 11216

                                      Isaacs, Brittany
                                         13 Ona Ln
                                  New Windsor, NY 12553

                                      Isacharov, Elena
                                 14035 Burden Cres Apt 308
                                   Briarwood, NY 11435

                                       Ishaque, Bebi
                                      10711 115th St
                                So Richmond Hill, NY 11419

                                         Iusmen, Elly
                                        2512 Yale Place
                                       Merrick, NY 11566



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                                       Ivahnenko
                       Independent Soccer Official Assigning Bureau
                                  267 Conservatory Dr.
                                  Palm Coast, FL 32137

                                  Ivers-Mcvey, Deborah
                                     49 Hewitt Street
                                 Lake Peekskill, NY 10537

                                         J. Hausman, Inc
                                           PO Box 343
                                      Eastchester, NY 10709

                                   Jackob, Stephanie
                                    15 Larchmont Dr
                            Hopewell Junction, NY 12533-5226

                                         Jackson, Bernita
                                      1569 Brightshore Blvd
                                       Bayshore, NY 11706

                                     Jackson, Cassandra
                                    25-52 100th Street
                                  East Elmhurst, NY 11369


                                         Jackson, Dax
                                      410 St Nicholas Ave
                                           Apt. 25E
                                      New York, NY 10027


                                         Jackson, Ieshia
                                      1382 Nostrand Avenue,
                                             Apt. 6
                                       Brooklyn, NY 11226

                                         Jackson, Khrystal
                                        3555 Bivona Street
                                         Bronx, NY 10475




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                                        Jackson, Pamela
                                       27 Marconi Place
                                      Brooklyn, NY 11233


                                       Jackson, Stephanie
                                       3216 Kossuth Ave
                                            Apt. 5G
                                        Bronx, NY 10467


                                    Jackson, Tykequan
                                  736 Willoughby Avenue
                                         Apt. 3F
                                   Brooklyn, NY 11206


                                        Jackson, Wadie
                                       798 St Johns Place
                                            Apt-1L
                                      Brooklyn, NY 11216

                                         Jadotte, Raisa
                                         31 Elridge Ln
                                      Willingboro, NJ 8046

                                        Jalloh, Ahmadu
                                       82 Lonergan Drive
                                       Suffern, NY 10901


                                          James, Ebony
                                      390 Lexington Avenue
                                            Apt. 3B
                                       Brooklyn, NY 11216

                                           James, Gail
                                       2751 Matthews Ave
                                        Bronx, NY 10467


                                          James, Janet
                                        1245 Ocean Ave
                                            Apt 3-D
                                      Brooklyn, NY 11230

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                                         James, Neville
                                       803 Chestnut Street
                                        Bronx, NY 10467

                                         James, Sandra
                                         933 Brady Ave
                                        Bronx, NY 10462

                                      James-Shakoor, Gaitree
                                        2524 Tiemann Ave
                                      Bronx, NY 104696112

                                  James-Stewart, Maxine
                                8 Oakwood Ave. Unit A-11
                                    Norwalk, CT 6850

                                  James-Stewart, Maxine
                                8 Oakwood Ave. Unit A-11
                                    Norwalk, CT 6850


                                        Jamison, Jasmine
                                         1219 Adee Ave
                                            Apt 7D
                                        Bronx, NY 10469


                               Janney Montgomery Scott LLC
                                      1717 Arch Street
                                        22nd Floor
                                  Philadelphia, PA 19103

                                        Jarrett, Leedroige
                                         800 E. 180 Str
                                        Bronx, NY 10460


                                       Jarvis, Cheina-Jade
                                       10 Amsterdam Ave
                                             Apt 303
                                      New York, NY 10023




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                                   Javierbieda, Garbielle
                                     81 Chestnut Ave
                                  Jamaica Plain, MA 2130


                                      Jawahar, Jessica
                                     111 Franklin Ave
                                          Apt 1J
                                  New Rochelle, NY 10805

                                     Jean Pierre, Philip
                                    30 Lorenz Avenue
                                  New Rochelle, NY 10801

                                          Jean, Marie
                                       8 N Bayview Ave
                                      Freeport, NY 11520

                                   Jekab-DeRocco, Judy
                                     257 Clinton Ave
                                  New Rochelle, NY 10801

                                       Jenkins, Jennifer
                                      313 5th Ave Apt 2F
                                      Pelham, NY 10803


                                        Jenkins, Raemar
                                       3301 Farragut Rd.
                                            Apt 28
                                      Brooklyn, NY 11210


                                        Jenkins, Telisha
                                       1625 Fulton Street
                                           Apt-C11
                                      Brooklyn, NY 11213

                                       Jessica C. Pisto
                                        76 Rumsey Rd
                                      Yonkers, NY 10705




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                                        Jimenez, Deborah
                                         25 Robin Court
                                      Poughquag, NY 12570

                                        Jimenez, Timothy
                                      643 Bolton Ave 1st Fl
                                        Bronx, NY 10473


                                         Jimenez, Yadira
                                           268 King St
                                             Apt A7
                                      Portchester, NY 10573


                                        John, Kashawn
                                        416 Ocean Ave
                                           Apt. 97
                                      Brooklyn, NY 11226

                                          Johncox, Erin
                                           15 Alsace St
                                      Springfield, MA 1108


                                      Johnnie, Richardson,
                                        94-11 59Th Ave
                                              #C9
                                      Elmhurst, NY 11373

                            Johnson Controls Fire Protection LP
                                     Dept CH 10320
                                    Palatine, IL 60055


                                        Johnson, Angela
                                        941 Hoe Avenue
                                            Apt 2-C
                                        Bronx, NY 10459

                                    Johnson, Brinsley
                                  241 Claremont Avenue
                                 Mount Vernon, NY 10552



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                                         Johnson, Carl
                                       172-22 144th. Ave.
                                       Jamaica, NY 11434


                                        Johnson, Celena
                                       1950 Andrews Ave
                                           Apt. 7B1
                                        Bronx, NY 10453


                                         Johnson, Diane
                                         740 Park Place,
                                             Apt 4R
                                       Brooklyn, NY 11216

                                        Johnson, Elaine
                                      273 Quincy Street 3C
                                      Brooklyn, NY 11216


                                          Johnson, Erica
                                      79 North Oxford Walk,
                                             Apt. 3D
                                       Brooklyn, NY 11205

                                     Johnson, Heather
                                    20 Schuyler Street
                                  New Rochelle, NY 10801


                                         Johnson, Latell
                                       905 Tinton Avenue
                                            Apt. 8G
                                        Bronx, NY 10456


                                        Johnson, Qwanda
                                         3565 Bivona St
                                            Apt 15F
                                        Bronx, NY 10475

                                        Johnson, Raymond
                                         234 Woodbine St
                                       Brooklyn, NY 11221

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                                     Johnson, Regina
                                   130 N Kensico Ave
                                  White Plains, NY 10604

                                    Johnson, Seanta
                              57 Osmunda Close Sub Division
                                    Freeport Grand,


                                       Johnson, Shaquawna
                                        49 East 19th Street
                                             Apt. 51
                                       Brooklyn, NY 11226


                                       Johnson, Shikeanma
                                        701 Gates Avenue
                                             Apt-2E
                                       Brooklyn, NY 11221

                                          Johnson, Steve
                                        637 Glenmore Ave
                                       Brooklyn, NY 11207

                                        Johnson, Tamika
                                       632 East 78th Street
                                       Brooklyn, NY 11236

                                         Johnson, Tanja
                                       1445 Nelson Ave 5D
                                        Bronx, NY 10452


                                        Johnson, Wynona
                                          894 Kent Ave.
                                            Apt. 1A
                                       Brooklyn, NY 11205

                                      Johnson-Sealy, Camille
                                          1749 E 48th St
                                       Brooklyn, NY 11234




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                                     Johnston, Nora
                                      315 Route 292
                                  Holmes, NY 125315339


                                       Jones Charles, Joann
                                      130 Bradhurst Avenue
                                            Apt. 302
                                      New York, NY 10039


                                         Jones, Ayanna
                                        40 E Sidney Ave
                                           Apt. 10-N
                                      Mt Vernon, NY 10550

                                         Jones, Brenda
                                      206 St. James Place
                                      Brooklyn, NY 11238


                                         Jones, Deseante
                                        100 Casals Place
                                            Apt. 20L
                                        Bronx, NY 10475


                                      Jones, Eboney
                                      1 Glencar Ave.
                                         Apt. 1B
                                  New Rochelle, NY 10801


                                          Jones, Enise
                                      525 Jackson Avenue
                                            Apt 17G
                                       Bronx, NY 10455

                                       Jones, Heather
                                  328 Timber Ridge Drive
                                  Staten Island, NY 10306




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                                     Jones, Khaleed
                                   241 South 9th Ave
                                        Apt 8A
                                 Mount Vernon, NY 10550


                                          Jones, Krystal
                                        2070 Seward Ave
                                             Apt 7A
                                      Bronx, NY 104732105


                                          Jones, Krystal
                                        2070 Seward Ave
                                             Apt 7A
                                      Bronx, NY 104732105

                                          Jones, Mark
                                      1898 Pacific St Apt 1
                                      Brooklyn, NY 11233

                                         Jones, Nyshia
                                         PO Box 1508
                                      Carthage, NC 28327


                                         Jones, Rashida
                                         950 Jennings St
                                             Apt 6F
                                      Bronx, NY 104606092

                                         Jones, Robert
                                      58 Washington Ave
                                      Greenwich, CT 6830


                                          Jones, Robin
                                         30 Cottage Ave
                                            Apt. 3E
                                      Mt Vernon, NY 10550




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                                         Jones, Robin
                                      420 West 19th Street
                                           Apt. 9H
                                      New York, NY 10011

                                         Jones, Sabrina
                                        535 E21st Street
                                      Brooklyn, NY 11226

                                        Jones, Shaunise
                                       943 Bruckner Blvd
                                       Bronx, NY 10459


                                        Jordan, Sherelle
                                       1853 Fulton Street
                                            Apt. 7C
                                      Brooklyn, NY 11237

                                          Jorge, Marcel
                                           31 Pine Ave
                                       Ossining, NY 10562

                                         Joseph, Jewel
                                        386 Linden Blvd
                                      Brooklyn, NY 11203


                                       Joseph, Kimberly
                                        107 East 105 St
                                           Apt. 5A
                                      New York, NY 10029

                                        Joseph, Kimberly
                                      453 S Long Beach Ave
                                       Freeport, NY 11520


                                          Joseph, Najwa
                                        3021 Holland Ave
                                             Apt 41N
                                        Bronx, NY 10467



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                                         Joseph, Natalie
                                       70 East 42nd Street
                                      Brooklyn, NY 11203

                                        Joseph, Shanya
                                         1885 Fargo St
                                      Baldwin, NY 11510


                                       Joshua, Jacqueline
                                      660 East 98 Th Street
                                            Apt. 1G
                                      Brooklyn, NY 11236


                                        Joyce, Dorothea
                                       2162 Barnes Ave
                                            Apt 626
                                       Bronx, NY 10462


                                         Joyce, Rachel
                                       26-62 30th Street
                                             Apt. 3
                                       Astoria, NY 11102

                                         Joyner, Dakaris
                                       156 W 164th Street
                                        Bronx, NY 10452


                                        Junjulas, June
                                       520 Ashford Ave
                                            Apt 31
                                      Ardsley, NY 10502

                                       Justinien, Vayola
                                         849 Park Ave
                                      Westbury, NY 11590

                                        Kaba, Fanta
                                 1100 Franklin Ave Apt 3A
                                     Bronx, NY 10456



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                                          Kalap, Robin
                                      115 Vermilyea Avenue
                                            Apt. 2D
                                      New York, NY 10034

                                       Kalappura, Wesley
                                         30 Marietta Dr
                                       Pomona, NY 10970

                                      Kaleem, Zahiy
                                 460 Tuckahoe Rd Apt 4A
                                 Yonkers, NY 10710-5722

                                     Kalokoh, Abdul
                                 893A Greene Ave. 4th. Fl.
                                   Brooklyn, NY 11221

                                      Kane, Susan
                                   7522 Lincoln Place
                                Wauwatosa, WI 53213-2615

                                         Karim, Yasmin
                                        2729 Pearsall Ave
                                        Bronx, NY 10469


                              Kaufman Borgeest & Ryan LLP
                                  Attn: Katherine Perino
                                      120 Broadway
                                  New York, NY 10271

                                     Kaufman, Alyssa
                                     185 Elm St Apt 1
                                  New Rochelle, NY 10805

                                        Kaur, Ramandeep
                                         7309 52nd Rd
                                       Maspeth, NY 11378




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                                          Keane, Anni
                                         81 Park Ave.
                                       Yonkers, NY 10703

                                       Keegan, Kiera
                                 59-40 Queens Blvd. Apt 1C
                                    Woodside, NY 11377

                                          Kelley, Joseph
                                      354 Nepperhan Avenue
                                       Yonkers, NY 10701

                                      Kelly, Kathleen
                                      2484 Orange St
                                 Bellmore, NY 11710-3912


                                       Kendrick, Christina
                                        2108 Ryer Ave
                                           Apt. D4
                                       Bronx, NY 10457

                                      Kendrick, Hailee
                                  1130 NE 1st Ave Apt 305
                                    Portland, OR 97232


                                         Kenion, Theresa
                                       669 Newjersey Ave.
                                            Apt. 1R
                                       Brooklyn, NY 11207

                                       Kennedy, Clifford
                                       171 Intervale Road
                                       Teaneck, NJ 7656


                                      Kennedy, Jacqueline
                                      68 Cumberland Walk
                                           Apt. 11F
                                      Brooklyn, NY 11205




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                                     Kennedy, Kristie
                                       10 Terbar Ct
                                  Dover Plains, NY 12522

                                     Kenny, Judith P.
                                  39 Club Pointe Drive
                               White Plains, NY 10605-4461

                                     Keoula, Ankou
                          1125 Dr Martin L King Jr Blvd Apt 11H
                                 Bronx, NY 10452-4217

                                       Kern, Susan
                                    395 Pinebrook Blvd
                                  New Rochelle, NY 10804

                                           Key Bank
                                         PO Box 94831
                                      Cleveland, OH 44101

                                           Key Bank
                                         PO Box 94831
                                      Cleveland, OH 44101


                                         Key Jr, Joseph
                                       217 Ralph Avenue
                                           Apt. 2L
                                      Brooklyn, NY 11233

                                         Key, Shameca
                                      225 Jefferson Avenue
                                      Brooklyn, NY 11216

                                        Khan, Stephanie
                                       9 Rake St. - Apt. 7
                                      Harriman, NY 10926

                                          Kiffin, Marie
                                      2965 Morgan Avenue
                                        Bronx, NY 10469

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                                        Kilpatrick, Asia
                                         878 Park Ave.
                                            Apt. 2B
                                      Brooklyn, NY 11206

                                      Kim, Eun Hye
                                     17 Winding Lane
                                 Central Valley, NY 10917


                                         Kim, Heeyoung
                                       157-11 Sanford Ave
                                            Apt. 11A
                                       Flushing, NY 11355

                                        Kimpson, Marion
                                      1106 N Mitchell Street
                                       Ahoskie, NC 27910


                                        Kinard, Crystal
                                          22 Mill St
                                              2C
                                      Brooklyn, NY 11231

                                      Kindler, Clare
                                     29 Fishermans Dr
                                Port Washington, NY 11050

                                        King, Cassandra
                                      3420 Bell Bluff Drive
                                      Richmond, VA 23237


                                          King, Dabney
                                        140 Darrow Place
                                            Apt. 8B
                                        Bronx, NY 10475


                                         King, Deborah
                                       755 Southern Blvd
                                            Apt. 6A
                                       Bronx, NY 10455

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                                  King, Dolores Castellano
                                  300 East 54th Steet, #28D
                                    New York, NY 10022

                                       King, Karen
                                     530 S 5th Ave
                                 Mount Vernon, NY 10550

                                          King, Lilian
                                        43 Fern Avenue
                                      East Islip, NY 11730


                                        King, Malcolm
                                      454 Manhattan Ave.
                                           Apt. 2B
                                      New York, NY 10026


                                         King, Ophelia
                                      2383 Second Avenue
                                           Apt 1002
                                      New York, NY 10035

                                          King, Peggy
                                      935 St. Marks Avenue
                                       Brooklyn, NY 11213


                                         King, Shekena
                                      1749 Grand Concourse
                                            Apt. 11A
                                        Bronx, NY 10453


                                         King, Victoria
                                        47 Riverdale Ave
                                           Apt A6-16
                                       Yonkers, NY 10701

                                        Kirkland, Keisha
                                        115 Sterling Ave
                                       Yonkers, NY 10704



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                                        Klaver, Cheryl
                                        23 Lake Drive
                                      New City, NY 10956

                                     Knight, Alexandria
                                         53 Colby Ln
                                 Briarcliff Manor, NY 10510

                                           Knight, Essie
                                      126 White Cedar Drive
                                       Sicklerville, NJ 8081


                                         KnowBe4, Inc.
                                        33 N Garden Ave
                                           STE 1200
                                      Clearwater, FL 33755

                                    Knowles, Camille
                                    113 Franklin Ave
                                 Mount Vernon, NY 10550


                                         Knowles, Keisha
                                      6354 Shannon Parkway
                                            Apt. 32-B
                                      Union City, GA 30291

                                     Kolesova, Anna
                                144-44 72nd Ave 2nd Floor
                                   Flushing, NY 11367

                                     Kolesova, Anna
                                144-44 72nd Ave 2nd Floor
                                   Flushing, NY 11367

                                        Kolodkin, Melissa
                                        83 Hemlock Drive
                                        Paramus, NJ 7652




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                                     Kondakciu, Kejda
                                      60 Gleason Blvd
                              Pleasant Valley, NY 12569-7762

                             Konica Minolta Business Solutions
                                     Dept AT 952823
                                 Atlanta, GA 31192-2823

                              Konica Minolta Premier Finance
                                     P.O. BOX 790448
                               Saint Louis, MO 63179-0448


                                      Konneh, Mohammed
                                       480 Maple Street,
                                           Apt. 1A2
                                      Brooklyn, NY 11225

                                        Korngold, Karen
                                      235 Scofieldtown Rd
                                       Stamford, CT 6903


                                         Kraft, Roshaun
                                          1705 Purdy St
                                             Apt 2C
                                      Bronx, NY 104626357

                                        La Starza, Alyssa
                                        2890 Zulette Ave
                                        Bronx, NY 10461

                                      Lab-Aids, Inc.
                                      17 Colt Court
                                  Ronkonkoma, NY 11779


                                     Labaso, Kirstein
                                   6055 Monticello Dr.
                                         Apt. 2
                                  Montgomery, AL 36117




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                                        Lacay, Esmerida
                                      168-44 127th Avenue
                                            Apt. 4G
                                       Jamaica, NY 11434


                                         Lacayo, Rosana
                                      425 Easat 158th Street
                                             Apt. B
                                        Bronx, NY 10451

                                      Lacy, Lessie
                                     423 S. 8th Ave
                                 Mount Vernon, NY 10550

                                        Lafferty, Janine
                                      8321 Gidleigh Court
                                      Charlotte, NC 28216

                                  Lagmay-Polanco, Maida
                                     47 Westview Ave
                                  White Plains, NY 10603

                                        Laguna, Christine
                                        1909 Barnes Ave
                                        Bronx, NY 10462


                                          Lake, Joseph
                                         166 Grand Ave
                                             Apt 7B
                                      Englewood, NJ 07631


                                       Lamb, Shirley
                                    438 Beach 40th Street
                                          Apt. 9H
                                  Far Rockaway, NY 11691


                                        Lamboy, Valerie
                                        130 3rd Avenue,
                                           Apt 7K
                                      Brooklyn, NY 11217

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                                         Lammers, Jason
                                        100 Casals Place
                                           Apt. 29E
                                        Bronx, NY 10475


                                      Lance, Monica
                                  707 Kingsboro 7th Walk
                                         Apt. 4B
                                   Brooklyn, NY 11233

                                          Lang, Katrice
                                      128 West 128 Street 3C
                                       New York, NY 10027


                                          Langfor, Edith
                                         1311 Pacific St
                                              #206
                                       Brooklyn, NY 11216

                                 Lantigua De Leon, Genesis
                               2754 Grand Concourse Apt 4D
                                     Bronx, NY 10458


                                     LaPeter, Lauretta
                                      720 Pelham Rd
                                         Apt 4K
                                  New Rochelle, NY 10805

                                       Lappetito, Donna
                                         84 Barr Lane
                                       Monroe, NY 10950

                                      Larish, Christina
                                    264 Buttonwood Ave
                              Cortlandt Manor, NY 10567-4931

                                   Larmond, Avery-Ann
                                    27 Tibbits Avenue
                                  White Plains, NY 10606



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                                          Latvis, Andrea
                                          86 Perks Blvd
                                      Cold Spring, NY 10516

                                        Lawrence, Celia
                                        129 Hillside Ave
                                      Mt Vernon, NY 10553

                                      Lawrence, Gala
                                 20 E. Grand Street Suite N
                                 Mount Vernon, NY 10553

                                         Lawrence, Kelly
                                        2812 Sexton Place
                                        Bronx, NY 10469

                                   Lawrence, Laurencia
                                1570 East New York Avenue
                                   Brooklyn, NY 11212

                                       Laws, Judith
                                   199 Fisher Avenue
                                  White Plains, NY 10606

                                       Lazzu, Nilsa
                               1544 Boone Avenue - Apt. 12G
                                     Bronx, NY 10460

                                             Leaf
                                      PO Box 742647
                                 Cincinnati, OH 45274-2647


                                       Lean, Alexa
                                 3725 Henry Hudson Pkwy
                                        Apt 10D
                                    Bronx, NY 10463

                                   Lechowicz, Joseph
                                   2 Harding Parkway
                                 Mount Vernon, NY 10552

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                                           Lee, Bettye
                                        10337 91st Street
                                            1st Floor
                                      Ozone Park, NY 11417

                                           Lee, Jarai
                                         114 Buck Ln
                                      New Castle, DE 19720


                                          Lee, Lahoma
                                        628 Eldert Lane -
                                            Apt. 3K
                                       Brooklyn, NY 11208


                                          Lee, Lahoma
                                        628 Eldert Lane -
                                            Apt. 3K
                                       Brooklyn, NY 11208

                                           Lee, Monica
                                      74 E Brookside Avenue
                                       New Haven, CT 6515

                                      Lee, Nicole
                                    502 Panorama Dr
                                 Mohegan Lake, NY 10547


                                        Lee-Turner, Lorna
                                       620 Baychester Ave
                                            Apt. 14A
                                        Bronx, NY 10475

                                            Leid, Zoe
                                       1927 Edenwald Ave
                                        Bronx, NY 10466

                                        Lekweuwa, Israel
                                        651 Britton Street
                                        Bronx, NY 10467



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                                        Lemon, Kenneth
                                      120-24 Dreiser Loop
                                       Bronx, NY 10475

                                        Leocadio, Caprice
                                        3368 Fenton Ave
                                        Bronx, NY 10469

                                       Leon, Daisy
                                    109-18 Jamaica Ave
                                 Richmond Hill, NY 11418


                                       Leottau, Lisandra
                                      333 Beach 32nd St
                                          Apt. 12-D
                                  Far Rockaway, NY 11691


                                        Leslie, Elizabeth
                                       1316 Boston Road
                                             Apt 4F
                                       Bronx, NY 10456


                                         Leslie, Lavonne
                                        880 Colgate Ave
                                             Apt 4H
                                        Bronx, NY 10473


                                            Lester Inc
                                      100 South Shore Drive
                                            Suite 175
                                      East Haven, CT 06512


                                            Lester Inc
                                       Accounts Receivable
                                      100 South Shore Drive
                                      East Haven, CT 06512




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                                          Lett, Tahirah
                                         720 Gates Ave
                                            Apt 2B
                                      Brooklyn, NY 11221


                                         Lettley, Lisa
                                        2296 Belmont
                                             Apt.
                                       Bronx, NY 10457

                                      Leveille, Stephanie
                                       11 Stone Avenue
                                      Ossining, NY 10562


                                         Levi, Desiree
                                      1425 University Ave
                                           Apt. 4B
                                       Bronx, NY 10452

                                        Levin, Nikita
                                        171 Bell Rd
                                  Scarsdale, NY 105835834


                                      Lewis Small, Sharon
                                        1003 Grant Ave
                                            Apt 3A
                                       Bronx, NY 10456


                                         Lewis, Alicia
                                        245 East 34th St
                                           Apt. D9
                                      Brooklyn, NY 11203

                                       Lewis, Courtney
                                        7 Godwin Ter
                                      Monsey, NY 10952

                                       Lewis, Courtney
                                        7 Godwin Ter
                                      Monsey, NY 10952

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                                          Lewis, Kevin
                                         183 Palnetto St.
                                             Apt. 3R
                                       Brooklyn, NY 11221


                                          Lewis, Shanika
                                         487 Carlton Ave
                                            Apt. 5A
                                       Brooklyn, NY 11238


                                          Lewis, Trevor
                                       1487 Nostrand Ave
                                             Apt 6B
                                       Brooklyn, NY 11226

                                      Lewis-Kelly, Armani
                                      2094 5th Ave Apt 1B
                                      New York, NY 10035

                                         Lewittes, Becky
                                      37 South First Avenue
                                      Highland Park, NJ 8904

                               LHVCC & UC at Iona College
                                   715 North Avenue
                                 New Rochelle, NY 10801

                                          Liang, Li Tao
                                       8419 17th Avenue 2F
                                       Brooklyn, NY 11214

                                        Licari, Diane
                                   201 Sheep Pasture Rd
                                  Port Jefferson, NY 11777

                                        Lightner, Jordann
                                       210 West 230 Street
                                        Bronx, NY 10463




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                                    Ligonde, Reyna
                                     27 Drake Street
                                 Mount Vernon, NY 10550

                                         Limpel, David
                                        29 Eastwind Rd
                                       Yonkers, NY 10710

                                    Lindner, Christine
                                     7311 67th Drive
                                 Middle Village, NY 11379

                                      Lindo, Katrina Anne
                                         9045 56th Ave
                                      Elmhurst, NY 11373

                                        Lindsay, Samantha
                                       45A Edgewater Park
                                      Bronx, NY 104653543


                                      Liriano, Koral
                                     26 Randolph St
                                          Apt 1B
                                  Yonkers, NY 107052327


                                     Liscio, Corinne
                                    11 Westview Ave
                                         Apt 23-1
                                  White Plains, NY 10603

                                        Liston, Sabrina
                                      114 Homestead Ave
                                      Rehoboth, MA 02769

                                   Little-Diop, Dianna
                                  458 Coolidge Avenue
                                Rockville Centre, NY 11570




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                                       Liu, Qianqian
                                        6857 185 st.
                                          Apt.2A
                                 Fresh Meadows, NY 11365


                                          Lloyd, Renell
                                        140 Casals Place
                                            Apt. 29B
                                        Bronx, NY 10475

                                  Lockhart-Derr, Yashua A
                                      21 River Street
                                   Tuckahoe, NY 10707

                                      Lodato-Suppa, Phyllis
                                      262 Four Brooks Road
                                       Stamford, CT 6903

                                       Loftus, Toni
                                      19 Russell Ave
                                  New Rochelle, NY 10801


                                         Logan, Anitra
                                      135 Washington Wlk.
                                           Apt 3-E
                                      Brooklyn, NY 11205


                                        Logue, Maalika
                                      921 Myrtle Avenue
                                           Apt-10D
                                      Brooklyn, NY 11206

                                          Lomax, Tanya
                                         2045 Story Ave
                                        Bronx, NY 10473


                                       London, Cassandra
                                        1081 E 73rd St
                                             Apt 1
                                      Brooklyn, NY 11234

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                                         London, Edith
                                      142 Madison Street
                                           Apt. 3B
                                      Brooklyn, NY 11216

                                      London, Jasmine
                                       45 Renwick Dr
                                  Bridgeport, CT 66042037


                                        Long, Alberta
                                       120 Carver Loop
                                          Apt. 5-D
                                       Bronx, NY 10475


                                          Long, Gina
                                      102 Monument Walk
                                           Apt. 3B
                                      Brooklyn, NY 11205


                                        Long, Lakeema
                                      300 Dumont Avenue
                                           Apt. 11G
                                      Brooklyn, NY 11212

                                      Longarzo, Marybeth
                                        110 Hyatt Ave
                                      Yonkers, NY 10704


                                       Lopes, Kimesha
                                      2261 Loretta Road
                                           Apt 12
                                  Far Rockaway, NY 11691

                                    Lopez Soto, Melanie
                                     59 Chestnunt Lane
                                  New Rochelle, NY 10805




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                                          Lopez, Alissia
                                         1734 Sexton Pl.
                                             Apt 2
                                        Bronx, NY 10469


                                         Lopez, Amanda
                                         220 W 167th St
                                             Apt 7J
                                        Bronx, NY 10452

                                         Lopez, Angelica
                                         1672 Linden St.
                                      Ridgewood, NY 11385


                                         Lopez, Ashley
                                       255 Bronx River Rd
                                             Apt 4N
                                       Yonkers, NY 10704


                                          Lopez, Celsa
                                        2434 150 Street
                                              Fl. 1
                                      Whitestone, NY 11357


                                          Lopez, Devi
                                        1152 Manor Ave
                                             Apt 1
                                        Bronx, NY 10472

                                      Lopez, Gabriel
                                  3230 NW 103rd Terrace
                                  Coral SPrings, FL 33065


                                           Lopez, Iris
                                      1368 Webster Avenue
                                           Apt. 21F
                                        Bronx, NY 10456




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                                         Lopez, Miriam
                                       1850 Lafayette Ave
                                            Apt. 4J
                                        Bronx, NY 10473

                                         Lopez, Miriam
                                       809 Havemeyer Ave
                                        Bronx, NY 10473

                                          Lopez, Omar
                                          817 Heisse St
                                      Alvin, TX 77511-3201

                                         Lopez, Reynaldo
                                      365 E 184th St Apt 403
                                        Bronx, NY 10458

                                          Lopez, Sandra
                                        7299 Urshan Way
                                       San Jose, CA 95153

                                   Lopresti, Allyssandra
                                     12 Mereland Rd
                                 New Rochelle, NY 10804

                                        Loughran, Daniel
                                          298 Radio Ave
                                      Miller Place, NY 11764

                                        Louis, Gracemarie
                                        106 Harrison Ave
                                       Bethpage, NY 11714

                                      Love Catering Service
                                         59 E 126th St
                                      New York, NY 10035

                                          Lovell, Faith
                                       644 Westminster Rd
                                       Baldwin, NY 11510

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                                        Lovell, Nicole
                                       216 W Runyon St
                                       Newark, NJ 07108

                                        Lovell, Shalece
                                      1313 Herkimer Street
                                      Brooklyn, NY 11233

                                      Lowe, Veronica
                                      145-44 180th St
                               Springfield Garden, NY 11434


                                        Lowell, Maxine
                                        140 Elgar Place
                                           Apt25-L
                                       Bronx, NY 14075

                                       Lowery, Therese
                                        47 Loring Ave
                                      Yonkers, NY 10704

                                     Lubliner, Jane
                                     115 Sunset Rd
                                  Mamaroneck, NY 10543

                                     Lucero, Beatriz
                                      23 Villus Ave
                               New Rochelle, NY 108016817


                                         Luciano, Diana
                                      2200 E. Tremont Ave
                                            Apt. 7E
                                        Bronx, NY 10462

                                       Luckose, Annamma
                                      43 Valley View Drive
                                       Yonkers, NY 10710




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                                     Ludizaca, Jesenia
                                    181 Main St Apt 2
                              Ridgefield Park, NJ 07660-1622

                                          Luisi, Diane
                                       8 Armourvilla Ave
                                      Tuckahoe, NY 10707

                                     Lujan, Fernanda
                                   650 Main St Apt 3BB
                                  New Rochelle, NY 10801


                                         Lula, Violeta
                                       2064 Barnes Ave
                                            apt 2H
                                       Bronx, NY 10462


                                      Lyerly, David
                                    5 Prospect Street -
                                         Apt. 1R
                                  New Rochelle, NY 10805


                                         Lyn, Tasheka
                                      675 Lincoln Avenue
                                          Apt. 15-U
                                      Brooklyn, NY 11208


                                        Lynch, Danielle
                                      305 E. 153RD Street
                                           Apt. 6B
                                       Bronx, NY 10451

                                         Lyons, Emily
                                      27 Country Club Rd
                                      Trumbull, CT 06611


                                          Lyons, John
                                        172 5th Avenue,
                                            Apt 69
                                      Brooklyn, NY 11217

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                                         Mable, Symorrah
                                       1880 Schieffelin Ave
                                            Apt. 6C
                                        Bronx, NY 10466

                                    Macalena, Daniel
                                     27 Brothers Rd
                                Wappingers Falls, NY 12590

                                          Mack, Jaime
                                        124 E.29th Street
                                       Brooklyn, NY 11226

                                          Mack, Santina
                                        323 Quincy Street
                                       Brooklyn, NY 11216

                                          Mackle, Susan
                                         8 Hammond Rd
                                         Rye, NY 10580

                                        Madden, Margaret
                                           35 Colt Ave
                                       Torrington, CT 6790

                                         Maged, Patricia
                                         70 Oneida Ave
                                        Oakland, NJ 7436

                                        Magnotta, Louis
                                         35 Puritan Ave
                                       Yonkers, NY 10710


                                           Mailfinance
                                            Dept 3682
                                         PO Box 123682
                                      Dallas, TX 75312-3682




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                                       Maire, Joan
                                   189 Kensington Oval
                                  New Rochelle, NY 10805


                                        Major, Shantee
                                      53 Woodbine Street
                                           Apt. 4D
                                      Brooklyn, NY 11221


                                         Major, Wanda
                                      47 Riverdale Avenue
                                            Apt A6
                                      Yonkers, NY 10701


                                      Malara, Johnna
                                   30 Davenport Avenue
                                         Apt 3K
                                  New Rochelle, NY 10805

                                    Maldonado, Pamela
                                    93 Sampson Avenue
                                  Staten Island, NY 10308


                                        Maloney, Roger
                                        282 W 119th St
                                            Apt 4B
                                      New York, NY 10026


                                        Mamulu, Patrick
                                       552 Parkside Ave.
                                            Apt. 5F
                                      Brooklyn, NY 11226


                                        Mandry, Hailey
                                         890 E 6th St
                                           Apt 10C
                                      New York, NY 10009




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                                       Mangiapili, Andrea
                                       2553 Colden Ave.
                                       Bronx, NY 10469

                                           Manley, Jade
                                      196-10 120th Avenue
                                      St. Albans, NY 11412


                                     Manning, Audrey
                                       50 Dewitt Pl
                                         Apt 2A
                                  New Rochelle, NY 10805


                                        Manning, Rometta
                                       177 Vernon Avenue
                                              Apt-2
                                       Brooklyn, NY 11206

                                         Manrique, Rocio
                                        190 32nd St 1st Fl
                                       Brooklyn, NY 11232


                                         Mantilla, Maria
                                       505 East 144th Street
                                            Apt. 4A
                                        Bronx, NY 10454

                                       Manzolillo, Angelica
                                           353 43rd St
                                      Lindenhurst, NY 11757

                                     Maragh, Jackell
                                      26 Clinton Pl
                               Mount Vernon, NY 105501535

                                        Marcano, Gerardo
                                      302 W 148th St Apt 5B
                                       New York, NY 10039




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                                       Marcelino, Luisana
                                         112 Thomas Pl
                                       Yonkers, NY 10701

                                        Marchiano, Marie
                                          1645 E 4th St
                                       Brooklyn, NY 11230

                                          Maria, Jihan
                                         2326 Fish Ave
                                      Bronx, NY 104695746

                                     Maria, Shannon
                                      27 Dewey Ave
                                  New Rochelle, NY 10801

                                         Mariano, Suzanne
                                            PO Box 891
                                      Scituate, MA 20660891

                                       Mariconda, Melissa
                                         214 Balcom Ave
                                      Bronx, NY 10465-3158

                                         Marine, Charlie
                                        331 Pulaski Street
                                       Brooklyn, NY 11206


                                       Marist College
                                  Information Technology
                                       3399 North Rd
                                  Poughkeepsie, NY 12601


                                          Marji, Noor
                                        397 N Broadway
                                            Apt 3O
                                       Yonkers, NY 10701




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                                         Marji, Steven
                                          248 Elm St
                                       Yonkers, NY 10701


                                         Marks, Tajuana
                                      1171 Morrison Avenue
                                             Apt 2-
                                        Bronx, NY 10472


                                        Marrow, Vanessa
                                      1085 Anderson Avenue
                                             Apt 4C
                                        Bronx, NY 10452

                                     Marsala, Margaret
                                     77 Wayne Terrace
                                  Staten Island, NY 10310

                                       Marseille, Melissa
                                        305 Plymouth Ct
                                      Uniondale, NY 11553

                                          Marshall, Gail
                                         86 Grove Street
                                       Mt Kisco, NY 10549

                                        Marshall, Lesia
                                         296 Lawrence
                                      Uniondale, NY 11553


                                     Marshall, Robin
                                      155 Ferris Ave
                                         Suite 2G
                                  White Plains, NY 10603


                                         Marshall, Sybia
                                          1500 Carroll
                                            Apt. 2B
                                       Brooklyn, NY 11213



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                                          Marte, Teresa
                                      1796 Madison Avenue
                                            Apt. 1
                                      New York, NY 10035


                                         Marte, Zunilda
                                      200 West 107th Street
                                             Apt 4
                                      New York, NY 10025

                                         Martin, April
                                      614 A Halsey Street
                                      Brooklyn, NY 11233


                                      Martin, Ebony
                                  57-15 Shore Front Pkwy
                                        Apt. 1301
                                    Arnerne, NY 11692


                                      Martin, Gladys
                                      95-27 110th St
                                         Apt. 2R
                                S Richmond Hills, NY 11419

                                         Martin, Imani
                                       4359 Murdock Ave
                                        Bronx, NY 10466

                                        Martin, Joseph
                                         5 Fairport Rd
                                      Brewster, NY 10509


                                    Martin, Namequa
                                   155 Union Avenue
                                        Apt. 2A
                                 Mount Vernon, NY 10550

                                      Martin, Sandra
                               88-83 Van Wkcy Express Way
                                    Jamaica, NY 11435

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                                       Martin, Sontashia
                                       1336 Findlay Ave.
                                       Bronx, NY 10456

                                    Martines, Vincent
                                       2032 Earl Dr
                                 N Merrick, NY 115661702


                                      Martinez   Jr, Edwin
                                       120 Benchley Place
                                            Apt 27L
                                        Bronx, NY 10475


                                     Martinez, Andrea
                                     55 B Locust Ave
                                          Apt 1E
                                  New Rochelle, NY 10801


                                     Martinez, Angel
                                     22 L Heritage Dr
                                          APT L
                                 New City, NY 10956-5350

                                        Martinez, Anita
                                      2315 Lodovick Ave.
                                       Bronx, NY 10469

                                         Martinez, Jose
                                       3500 Frederick Dr
                                       Toano, VA 23168

                                    Martinez, Michele
                                1430 Parkchester Rd Apt 1B
                                     Bronx, NY 10462

                                     Martinez, Nicole
                                   193 Sunset Hill Road
                                 Putnam Valley, NY 10579




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                                       Martinez, Shamieka
                                        1615 Fulton Street
                                            Apt-B604
                                       Brooklyn, NY 11213

                                          Mary J. Bishop
                                          3 Conklin Dr
                                      Stony Point, NY 10980


                                         Mason, Adrian
                                      1050 Soundview Ave
                                            Apt 4E
                                       Bronx, NY 10472

                                     Mason, Charmina
                                3477 Ft Independence St. 4S
                                     Bronx, NY 10463


                                        Mason, Monique
                                       214 South 3 Rd Ave
                                            Apt 11B
                                      Mt Vernon, NY 10550

                                         Massey, Tene
                                        266 West 123rd
                                      New York, NY 10027

                                Massmutual Financial Group
                                        Box 371368
                                Pittsburgh, PA 15250-7368

                                   Mastoras, Alexandros
                                       68 White Rd
                                 Scarsdale, NY 10583-5711

                                      Mastriacovo, Jacklyn
                                       333 East 236th St
                                       Bronx, NY 10470




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                                          Mathias, Gail
                                      25 Old Kings Highway
                                        Weston, CT 6883


                                         Mathias, Storm
                                      12 South Atlantic Ave
                                             Unit 5
                                       Matawan, NJ 7747


                                   Mathis-Bogues, Deidra
                                   2317 Oceancrest Blvd.
                                         Apt. A1
                                  Farrockaway, NY 11691

                                     Matthew Hyland
                                    170 Norman Road
                               New Rochelle, NY 10804-3112


                                          Matthis, Aisha
                                      654 Kingsboro 6th-Wlk
                                             Apt. 5A
                                       Brooklyn, NY 11233


                                       Mattocks, Gwendolyn
                                      861 Rockaway Avenue,
                                               Apt
                                       Brooklyn, NY 11212

                                        Maughns, Kathura
                                       150-25 116th Road
                                       Jamaica, NY 11434

                                      Mavros, Cassidy
                                     3 Knollwood Ave
                                  Bayville, NY 11709-1918


                                        Maxwell, Latoya
                                        140 Benchley Pl
                                            Apt 31A
                                        Bronx, NY 10475

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                                    Mayes, Marjorie
                              215 West 140th Street - Apt. 4A
                                  New York, NY 10030


                                    Mazhindu, Tavaziva
                               28 Riffle Range Drive Chegutu
                                         CHEGUTU
                                      Chegutu, 11111


                                        Mcallister, Sandra
                                      1460 Washington Ave
                                             Apt 9E
                                        Bronx, NY 10456

                                        Mcallister, Sonia
                                       29-19 Martin Court
                                      New York, NY 11691

                                      Mcarthur, Sara
                                147-29 Hook Creek Blvd, 1st
                                    Rosedale, NY 11422

                                         McBean, Patria
                                      12605 Sweet Bay Drive
                                        Euless, TX 76040

                                         McBean, Patricia
                                      12605 Sweet Bay Drive
                                        Euless, TX 76040


                                         Mccain, Bridget
                                        50 Stuyvesant Ave
                                            Apt 10-G
                                       Brooklyn, NY 11221

                                         Mccants, Sonia
                                      1014 Ray Suggs Pl NW
                                       Concord, NC 28027




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                                        McCarthy
                                    37 Rockland Place
                                  New Rochelle, NY 10801


                                       Mccaskill, Rasheed
                                         144 W 144 St
                                           Apt. 2-C
                                      New York, NY 10030

                                        Mcclain, Tiffany
                                      741C St. Anns Avenue
                                        Bronx, NY 10454

                                     Mcclear, Jovacia
                               1015 Washington Ave Apt 2A
                                   Brooklyn, NY 11225

                                    Mccloud, Jacqueline
                                       9 Hunter Lane
                                 Claryville, NY 127255206

                                       Mcclung, Priscilla
                                          6 Nash Place
                                       Stamford, CT 6906


                                       McCrae, Gwendolyn
                                       206 Sumpter Street -
                                             Apt. 1L
                                       Brooklyn, NY 11233

                                        McCullough, Gail
                                         848 E 229th St
                                      Bronx, NY 104664415


                                         Mccune, Megan
                                      6928 N. Sheridan Road
                                             Apt. 3
                                        Chicago, IL 60626




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                                        Mcdonald, Judith
                                      152 West 131 Street,
                                            Apt 3
                                      New York, NY 10027


                                       McDonald, Nephra
                                         1390 5th Ave
                                           Apt. 12F
                                      New York, NY 10026


                                       Mcdonell, Maurice
                                         70 Lenox Ave
                                           Apt. 11G
                                      New York, NY 10026

                                     McDonnell, Nora
                                   180 Beach 121 Street
                                 Rockaway Park, NY 11694

                                      McDowell, Shamika
                                        660 Arnow Ave
                                       Bronx, NY 10467


                                        McFadden, Lolea
                                      777 White Hall Place
                                            Apt 1
                                       Bronx, NY 10466

                                       Mcgee, Kenneth
                                      53 Kings Ferry Rd.
                                      Montrose, NY 10548

                                  Mcgillycuddy, Katelyn
                                 4200 Herkimer Pl Apt 4A
                                  Bronx, NY 10470-1941

                                    McGlynn, Colleen
                                      32 Fremont Rd
                              Sleepy Hollow, NY 10591-1118



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                                      Mcgowan, Jacqueline
                                       63 Van Wormer Rd
                                      Pearl River, NY 10965

                                       McGowan, Veronica
                                        PO Box 210247
                                      Woodhaven, NY 11421

                                   Mcgrath, Kathleen
                                      31 Smith Ave
                                  White Plains, NY 10605

                                        Mcgrew, Genesis
                                           48 Sand St
                                      Garnerville, NY 10923

                                        Mcguirk, Arlene
                                        54 Sedgwick Ave
                                       Yonkers, NY 10705


                                       Mcilwain, Christine
                                       125-30 Sutphin Blvd
                                             Apt B3
                                       Jamaica, NY 11434


                                        McIntyre, Sandra
                                         19 W 137 St
                                           Apt. 3-C
                                      New York, NY 10037

                                        Mckelvey, Lolita
                                          P.O. Box 809
                                        Bronx, NY 10451

                                       Mckenna, Georgia
                                         10 Walker Ln
                                      Wurtsboro, NY 12790




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                                      McKenna, Jennifer
                                         7 Hilltop Rd
                                      Katonah, NY 10536

                                       McKenzie, Patrice
                                      1058 East 42nd Street
                                      Brooklyn, NY 11210

                                      Mckillip, Sarah
                                     13 Montclair Ave
                                 Cedar Grove, NJ 70091029


                                      McKoy, Kiesha
                                   21-30 35th Avenue
                                         Apt. 1B
                                Long Island City, NY 11106

                                     McLennan, Erica
                                     95 Lispenard Ave
                                  New Rochelle, NY 10801

                                        Mcleod, Barbara
                                       126-38 145 Street
                                       Queens, NY 11436


                                        McLeod, Sandra
                                      69 West 130th Street
                                            Apt 2
                                      New York, NY 10037


                                        Mcloyd, Fatimah
                                      315 East 102nd Street
                                            Apt.604
                                      New York, NY 10029


                                        Mcmillan, Taliba
                                       425 Nostrand Ave.
                                           Apt. 2C
                                      Brooklyn, NY 11216



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                                        Mcnamara, John
                                      599 Reat Plain Road
                                       Danbury, CT 6811

                                       Mcnamee, Dianne
                                       134 South 1st Ave
                                      Mt Vernon, NY 10550


                                        McNeil, Antonia
                                       277 Gates Avenue,
                                           Apt. 2-A
                                      Brooklyn, NY 11216

                                        McNeil, Sharon
                                        110 Linden Dr.
                                      Savannah, GA 31405

                                        Mcneill, Shannon
                                       1717 Hughes Street
                                      Bridgeville, PA 15017

                                       McPhee, Fawn
                                     35 Cannon Avenue
                                  Staten Island, NY 10314

                                   McPherson, Juliette
                                     37 Linden Ave
                                 Mount Vernon, NY 10552


                                   Mcpherson, Neketa
                                   35 Rochelle Terrace
                                        Apt. E-7
                                 Mount Vernon, NY 10550


                                        McQueen, Shonte
                                      353 West 117th Street
                                            Apt 3
                                      New York, NY 10026




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                                        Mcrae, Monique
                                       748 Henry Street
                                            Apt-1F
                                      Brooklyn, NY 11231


                                 McRae-Robinson, Barbara
                                   40 Memorial Hwy
                                        Apt 33G
                                 New Rochelle, NY 10801

                                        McShane, Maura
                                       160 Rocklyn Ave
                                      Lynbrook, NY 11563

                                 Mctyson, Kourtney-Ann
                                     260 Union Ave
                                 Mount Vernon, NY 10550

                                   Meacham, Kaesean
                                  234 Wynsome Blvd
                               Camden Wyoming, DE 19934


                                            Medina
                                        245 E 94th Street
                                            Apt 4-B
                                      New York, NY 10128


                                        Medina, Xiomara
                                         480 E 143rd St
                                            Apt 2M
                                        Bronx, NY 10454


                                         Meggett, Kevin
                                       1186 Grenada Place
                                           Apt. 3-D
                                        Bronx, NY 10466

                                      Mejia Figuereo, Grisel
                                          44 Edward St
                                       Sparkill, NY 10976

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                                      Mejia, Maria
                                       6 Biehn St
                                         Apt 3
                               New Rochelle, NY 108012202

                                     Mela, Dorothy A.
                            206 Linden Ponds Way, Unit 0W627
                                Hingham, MA 02043-3793


                                 Melendez-Mowatt, Nichole
                                    100 Erskine Place,
                                         Apt 9E
                                     Bronx, NY 10475

                                       Melita, Jenna
                                    180 N Monroe Ave
                                Lindenhurst, NY 11757-4232

                                    Melnik, Stephanie
                                  666 Pelham Rd Apt 6B
                               New Rochelle, NY 10805-1043


                                  Melo De Montas, Melina
                                       11 Fisher Ct.
                                         Apt. 6D
                                  White Plains, NY 10601


                                       Mency, Schneiqua
                                        1540 E 102nd St
                                            Apt 6B
                                      Brooklyn, NY 11236

                                        Mendoza, Leonela
                                       2964 Perry Ave 3G
                                      Bronx, NY 104582105

                                        Menjivar, Carlos
                                          107 Rianna ct
                                      Brentwood, NY 11717



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                                        Menjivar, Jennifer
                                          107 Rianna Ct
                                      Brentwood, NY 11717

                                          Mensah, Ann
                                        171-19 119th Ave
                                       Jamaica, NY 11434

                                         Mentor, Brian
                                         837 E 38th St
                                      Brooklyn, NY 11210


                                       Menze, Samantha
                                          543 4th St
                                            Apt 2R
                                      Brooklyn, NY 11215

                                       Mercado, Annette
                                      261 Hosmer Avenue
                                       Bronx, NY 10465


                                       Mercado, Stefanie
                                       76 0 Park Avenue
                                            Apt-2H
                                      Brooklyn, NY 11206

                                     Mercedes, Julieta
                                 243 Lakewood Drive Apt 2
                                    Bloomfield, NJ 7003

                                Merchants Automotive Group
                                     1278 Hooksett Rd
                                   Hooksett, NH 03106

                                     Merritt, Damani
                                12421 Flatlands Ave Apt 5E
                                   Brooklyn, NY 11208




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                                          Mess, Patricia
                                        300 Putnam Ave.
                                            Apt. 6H
                                       Brooklyn, NY 11216

                                    Messina, Alyssa
                                      21 Bayard St
                               New Rochelle, NY 108051504


                                        Metro Swim Shop
                                           PO Box 207
                                         1221 Valley Rd
                                        Stirling, NJ 07980


                              Metropolitan Swim Conference
                               William Patterson University
                             Athletic Deptartment Swim Coach
                                     Wayne, NJ 07470


                                        Metz Jr, Gordon
                                      167 East 124th Street
                                              Apt
                                      New York, NY 10035

                                       Mevs, Nathalie
                                   1657 N Jerusalem Rd
                                  East Meadow, NY 11554

                                    Michael O'Donnell
                                  45 Meadowbrook Road
                                  White Plains, NY 10605

                                         Michel, Kendra
                                         10712 133rd St
                                      Queens, NY 114193226


                                        Michele, Francis,
                                       87-13 97th Avenue
                                             Apt 1
                                      Ozone Park, NY 11416

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                               Micro Optics Precision Instrum
                                68-23 Fresh Meadow Lane
                                Fresh Meadows, NY 11365

                       Middle States Commission On Higher Education
                                       3624 Market St
                                Philadelphia, PA 19104-2680


                                       Middleton, Joseph
                                        269 W 118th St
                                           Apt. 2B
                                      New York, NY 10026

                                       Miedzybrodzka, Olga
                                      815B Larchmont Acres
                                      Larchmont, NY 10538

                                       Miele, Maria
                                       4 Bancker Pl
                                  New Rochelle, NY 10805


                                    Mighty, Taniqua
                                  616 East Lincoln Ave
                                        Apt C41
                                 Mount Vernon, NY 10552

                                        Mikoku, Ann
                                      PO Box 040385
                                  Staten Island, NY 10304


                                     Milan, Amber
                                   30 Fleetwood Ave
                                         Apt 6F
                                 Mount Vernon, NY 10552


                                          Miles, Claude
                                         905 Tinton Ave
                                            Apt. 9E
                                        Bronx, NY 10456



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                                       Milewski, Sylvia
                                       66-18 53rd Road
                                            Apt 2
                                      Maspeth, NY 11378

                                    Miller, Dewlinton
                                  228 North 6th Avenue
                                 Mount Vernon, NY 10550


                                         Miller, Hassan
                                      2760 Dewey Avenue
                                           Apt 3-B
                                       Bronx, NY 10465

                                       Miller, Katrina
                                  4340 Pleasant Point Drive
                                     Decatur, GA 30034

                                       Miller, Maureen
                                       10 Plymouth Rd
                                      Fishkill, NY 12524

                                      Miller, Maureen
                                      10 Plymouth Rd
                                  Fishkill, NY 12524-1407

                                        Millett, Megan
                                      3100 Purchase Street
                                      Purchase, NY 10577

                                         Mills, Kadian
                                       3056 Bruner Ave
                                       Bronx, NY 10469

                                         Mills, Thomas
                                      139 Madison Street
                                      Brooklyn, NY 11216




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                                     Miluso, Stephanie
                                    206 Wellington Rd S
                                  Garden City S, NY 11530

                                    Minhas, Navpreet
                                      8626 235th Ct
                                 Queens Village, NY 11427


                                     Minor, Shahidah
                                      33 Lincoln Ave
                                         Apt 10C
                                  New Rochelle, NY 10801

                                         Minter, Eugene
                                        431 Halsey Street
                                       Brooklyn, NY 11216

                                     Mirabile, Kristina
                                       51 Acorn Ter
                                  New Rochelle, NY 10801

                                        Miranda, Vanessa
                                      570 St. Marys Street 5C
                                        Bronx, NY 10454

                                     Miscione, Rosalie
                                     50 Wenlock Street
                                  Staten Island, NY 10303

                                  Misenas-Rivera, Carmen
                                     30 Newkirk Road
                                   Yonkers, NY 10710

                                      Mitaa, Maksuda
                              1305 Commonwealth Ave Apt 1F
                                     Bronx, NY 10472




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                                         Mitchell, Jean
                                       1308 Loring Ave.
                                           Apt. 7G
                                      Brooklyn, NY 11208


                                      Mitchell, Julie
                                      3 Prospect St.
                                         Apt 4H
                                  New Rochelle, NY 10805


                                        Mitchell, Korrin
                                       890 Trinity Avenue
                                           Apt. 7-D
                                        Bronx, NY 10456


                                        Mitchell, Latesha
                                       209 West 118 Street
                                           Apt. 4-C
                                      New York, NY 10026


                                         Mizelle, Cherise
                                         14819 90th Ave
                                            Apt 7H
                                       Jamaica, NY 11435

                                        Mobley, Derick
                                       65 River Oaks Cir
                                       Bluffton, SC 29910

                                          Modic, Terri
                                       21 Centennial Ave
                                      Sewickley, PA 15143

                                    Mohammed, Zelina
                                 53 Hartley Ave 1st Floor
                                   Mt Vernon, NY 10550

                                      Mohatt, Jason
                                       361 5th Ave
                                  New Rochelle, NY 10801

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                                        Moholland, Felicia
                                          21 Annas Dr
                                       Charlotte, ME 04666

                                     Mohrmann, Holly
                                       37 Moran St
                                  New Rochelle, NY 10801

                                       Moise, Giani
                                      10204 32nd Ave
                               East Elmhurst, NY 113692506

                                        Moliere, Sandie
                                      1558 Mayflower Ave
                                       Bronx, NY 10461

                                   Molina-Duran, Karina
                                 3540 Decatur Ave Apt 4H
                                        Bronx, NY

                                        Monge, Lisa
                                 780 Saint Anns Ave Apt 7E
                                     Bronx, NY 10456


                                        Monroe, Charaine
                                        557 Decatur Street
                                             Apt. 3
                                       Brooklyn, NY 11233


                                          Montag, Kevin
                                          102-25 67th Dr
                                              Apt 1V
                                      Forest Hills, NY 11375

                                   Monteagudo, Marcos
                                    6 Leffingwell Place
                                  New Rochelle, NY 10801




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                                 Montero-Nelson, Yessenia
                                       16 Todd Pl
                                   Ossining, NY 10562

                                       Montesi, Melinda
                                        420 E 102nd St
                                      New York, NY 10029


                                       Montgomery, Nita
                                       488 St. Marks Ave
                                           Apt 807-B
                                      Brooklyn, NY 11238

                                    Montgomery, Sharon
                                   1514 Beach 12th Street
                                  Far Rockaway, NY 11691

                                       Montgomery, Tyrik
                                       3328 Delavall Ave
                                       Bronx, NY 10475


                                         Montoya, Diana
                                      1144 Pelham Pk'way S
                                             Apt 2F
                                        Bronx, NY 10461

                                      Moody, Shavon
                                  2134 Amsterdam Avenue
                                   New York, NY 10032

                                 Moody's Investors Service
                                     PO Box 102597
                                 Atlanta, GA 30368-0597


                                         Moore, Aaron
                                        2013 5th Avenue
                                           Apt C4-1
                                      New York, NY 10035




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                                          Moore, Alecia
                                        158 Winthrop Ave
                                       Elmsford, NY 10523


                                        Moore, Christina
                                         1024 E 219 St
                                             Apt 1
                                        Bronx, NY 10469

                                          Moore, Erica
                                       115-105 227th Street
                                        Queens, NY 11411


                                       Morales, Benjamin
                                      173 West 107th Street
                                              Apt
                                      New York, NY 10025


                                         Morales, Jasmin
                                         300 Moffat Dr.
                                            Apt. 4H
                                      Cheraw, SC 295203035


                                          Morales, Jesus
                                      2146 W Oak Ridge Rd
                                               Apt J
                                      Orlando, FL 328093856

                                     Morales, Steven
                                 643 Upper Mountain Ave
                                 Montclair, NJ 07043-1622


                                        Morales, Viviana
                                      1981 Schieffelin Ave
                                             Apt 2
                                        Bronx, NY 10466

                                    Moran, Naihomy
                                 8417 149th Ave Apt 2
                              Howard Beach, NY 11414-1218

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                                         Moreira, Yolani
                                      50 Amsterdam Avenue
                                            Apt 13
                                      New York, NY 10023


                                         Moreno, Louis
                                      851 Belmont Avenue
                                            Apt- R
                                      Brooklyn, NY 11208


                                        Morgan, Colette
                                         4142 Ely Ave
                                            Apt 2
                                      New York, NY 10466

                                       Morio, Daniel
                                      107 Patten Street
                                  Staten Island, NY 10307

                                      Morris, Ashara
                                      56 Willow Dr
                                  New Rochelle, NY 10805

                                     Morris, Denise
                                      148 Vista Pl
                              Mount Vernon, NY 10550-2712


                                        Morris, Khaliah
                                      301 East 23rd Street
                                           Apt. 4-A
                                      Brooklyn, NY 11226

                                         Morris, Myriol
                                      1575 Brooklyn Avenue
                                       Brooklyn, NY 11210

                                          Morris, Nejala
                                        7505 Grabil Drive
                                       Charlotte, NC 28269



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                                        Morrison, Bradley
                                           3 Belle Ave
                                             Apt 2E
                                       Ossining, NY 10562

                                    Moser, Margaret A.
                              6306 Diamond Head Circle #204
                                    Dallas, TX 75225


                                       Moses & Singer LLP
                                      The Chrysler Building
                                      405 Lexington Avenue
                                      New York, NY 10174

                                          Moss, Lucile
                                      524 West Lyon Farm
                                      Greenwich, CT 6831


                                 Mount Saint Mary College
                                     330 Powell Ave
                                   Attn Career Center
                                  Newburgh, NY 12550

                       Mountain Measurement Inc NCLEX Programs
                                    PO Box 86736
                                  Portland, OR 97286

                                      Muentes, George
                                  22259 Catherine Avenue
                                  Port Charlotte, FL 33952


                                      Muhammad, Mustafa
                                       2430 7th Avenue,
                                           Apt 2G
                                      New York, NY 10030


                                       Muir-Snipe, Denise
                                      120 North Broadway
                                            Apt 16C
                                      Irvington, NY 10533

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                                    Mulero, Cassandra
                                       11 E 1st St
                                        Apt 725
                                 New York, NY 100039191

                                       Mullen, Andrea
                                       6 Edgewood Dr
                                      Katonah, NY 10536

                                       Mullin, Kisha
                                 823 Brooklyn Avenue -3C
                                   Brooklyn, NY 11203


                                       Mullings, Jhanelle
                                       100 Dreiser Loop
                                           Apt. 18G
                                       Bronx, NY 10475

                                       Mullings, Kimone
                                       3745 Barnes Ave
                                       Bronx, NY 10467

                                       Mullings, Kimone
                                       3745 Barnes Ave
                                       Bronx, NY 10467


                                 Multicultural Coalition
                                 Franky Perez, Guidance
                             Poughkeepsie City School District
                                Poughkeepsie, NY 12603

                                     Mulvena, Alicia
                                    25B Nautilus Place
                                  New Rochelle, NY 10805

                                       Munding, Michele
                                      13802 Fulmer Drive
                                      Chantilly, VA 20151




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                                      Munive, Javier
                                   650 Main St. Apt#3D
                                  New Rochelle, NY 10801


                                      Muniz, Marco
                                    15 Madeleine Ave
                                          Apt 2
                                  New Rochelle, NY 10801

                                      Muniz, Melissa
                                 4218 Carpenter Ave 1 Rear
                                     Bronx, NY 10466

                                       Munoz, Ana
                                     211-22 90 Court
                                 Queens Village, NY 11428


                                       Munoz, Veronica
                                       1034 Ave St. John
                                            Apt. 1
                                       Bronx, NY 10455

                                        Munson, Joanne
                                      6321 Ne Arrowhead
                                      Kenmore, WA 98028

                                     Munson, Lauren
                                      64 Lovers Lane
                                 Putnam Valley, NY 10579

                                      Muratore, Concetta
                                        14 Custer Ave
                                      Yonkers, NY 10701

                                     Murphy, Belinda
                                 207 West 134th Street 2nd
                                   New York, NY 10030




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                                      Murphy, Carolyn
                                     781 Floral Park Rd
                              Franklin Square, NY 110103918

                                   Murphy, Dominique
                                     245 Union Ave
                                 Mount Vernon, NY 10550

                                      Murphy, Pamela
                                       15 Shore Rd
                                  Old Greenwich, CT 6870

                                        Murphy, Patricia
                                      5103 Whiteford Ave
                                      Baltimore, MD 21212

                                         Murphy, Tyriek
                                       235 Madison Street
                                       Brooklyn, NY 11216

                                          Murray, Felicia
                                       5730 N. Hope Street
                                      Philadelphia, PA 19120

                                     Murray, Franklin
                                    11 Lane Crest Ave
                                  New Rochelle, NY 10805


                                         Murray, Latasha
                                       120 Chauncey Street,
                                            Apt. 3L
                                       Brooklyn, NY 11233

                                    Murray, Nichelle
                                   62 Rockledge Ave
                                 Mount Vernon, NY 10550




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                                         Murray, Teckla
                                      649 Empire Boulevard
                                            Apt. 28
                                       Brooklyn, NY 11213

                                  Murray-Rouse, Carolette
                                   536 East 38th Street
                                   Brooklyn, NY 11203


                                         Musah, Shirazu
                                        1780 Walton Ave
                                            Apt. 3A
                                        Bronx, NY 10453

                                       Musso, Stephanie
                                         15 Vista Drive
                                      Manorville, NY 11949

                                        Muth, Alicia
                                 175 Father Capodanno Blvd
                                  Staten Island, NY 10305

                                    Mutual of America
                                      PO Box 2493
                                 New York, NY 10185-2493

                                  Myrie Stanford, Kadian
                                   60 E 4th St Apt D7
                                 Mount Vernon, NY 10550


                                          Myvett, Joella
                                      428 West 163rd Street
                                              Apt
                                      New York, NY 10032

                                         Nader, James
                                      109 Rivendell Drive
                                      Tamiment, PA 18371




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                                       Nakovski, Adrijana
                                        968 Sherman Ave
                                             Apt 4B
                                      Bronx, NY 104566446

                                          Nam, Hyein
                                        37A Cortland Pl
                                      Tenafly, NJ 76701625


                                  Nana Oppong, Kwarteng
                                    279 W 150th Street
                                        Apt. 4B
                                   New York, NY 10039

                                         Nardis, Marissa
                                         21 Schofield St
                                        Bronx, NY 10464

                                      Nash, Michelle
                                      9717 220th St
                                 Queens Village, NY 11429


                                            NASPAA
                                      1029 Vermont Ave NW
                                            Suite 100
                                      Washington, DC 20005


                                      Nathaniel, Devonequa
                                       70 Decatur Street
                                            Apt-3D
                                      Brooklyn, NY 11216

                       National Association of Colleges and Employers
                                     62 Hiighland Ave
                                   Bethlehem, PA 18017


                          National Board For Certified Counselors
                                Continuing Education Dept
                                      PO Box 63160
                                   Charlotte, NC 28263

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                                     Naufal, Naashia
                              109/2 21st St Khayaban-e-Sehar
                                     Karachi, 755500

                                     Nazario, Jasmine
                                 2384 Paulding Ave Apt 6E
                                     Bronx, NY 10469


                                      Nazario, Sayde
                                     2261 Palmer Ave
                                         Apt. 2J
                                  New Rochelle, NY 10801


                                       NCA College Expo
                                          595 Route 25A
                                              Suite 18
                                      Miller Place, NY 11764


                                         NCS Pearson Inc
                                        19500 Bulverde Rd
                                         PO Box 599700
                                      San Antonio, TX 78259

                                       Ndiaye, Amy
                               1235 Grand Concourse Apt 311
                                     Bronx, NY 10452


                                         Negron, Hector
                                      3184 Grand Concourse
                                            Apt. 2-H
                                        Bronx, NY 10467

                                         Neil, Jacquelin
                                      120 Dreiser Loop 16F
                                        Bronx, NY 10475

                                      Nelson, Donna
                                 421 A Larchmont Acres W
                                   Larchmont, NY 10538



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                                        Nelson, Jennique
                                      2200 Madison Avenue
                                            Apt 7-
                                      New York, NY 10037

                                        Nelson, Rashida
                                       3706 Dyre Avenue
                                       Bronx, NY 10466


                                          Nelson, Teri
                                      488 East 164th Street
                                           Apt. 2C
                                       Bronx, NY 10456

                                       Neukum, Rosalinda
                                         26 Henrietta Dr
                                        Faifield, NJ 7004


                                       Neumann, Jennifer
                                       1400 Benson Street
                                            Apt 3H
                                        Bronx, NY 10461


                                         Nevels, Maleek
                                       690 Riverdale Ave.
                                            Apt. 1R
                                      Brooklyn, NY 11207

                                      Nevil, Bertania
                                77 Locust Hill Ave Apt 1001
                                    Yonkers, NY 10701

                               New Rochelle Fire Department
                                     90 Beaufort Pl
                                 New Rochelle, NY 10801


                       New Rochelle Industrial Development Agency
                                     515 North Ave
                                   Attn Finance Dept
                               New Rochelle, NY 10801

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                              New Rochelle Police Department
                                     475 North Ave
                                New Rochelle, NY 10801


                               New Rochelle Street Fair
                         New Rochelle Parks and Recreation Dept.
                                 Accounts Receivable
                               New Rochelle, NY 10801


                          New York College of Podiatric Medicine
                                  Accounts Receivable
                                  53 East 124th Street
                                 New York, NY 10035


               New York Metropolitan Reference and Research Library Agency
                                    599 11th Avenue
                                        8th Floor
                                  New York, NY 10036


               New York State Education Department Office of the Profession
                               State Board of Social Work
                                   89 Washington Ave
                                   Albany, NY 12234

                                        Newkirk, Matthew
                                      9005 W Remington Pl
                                       Littleton, NY 80128


                                         Newman, Niya
                                      12 Kingston Avenue,
                                            Apt 4B
                                      Brooklyn, NY 11216


                                          Ngo, Alina
                                          441 1st St
                                            Apt 1L
                                      Brooklyn, NY 11215




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                                       Nguyen, Quangnhat
                                         1727 Yates Ave
                                      Bronx, NY 104611909


                                        Nicholas, Shavon
                                       1987 Morris Avenue
                                             Apt 2
                                        Bronx, NY 10453

                                         Nichols, Jazmyne
                                      225 East 149 Street 17E
                                        Bronx, NY 10451

                                        Nicholson, Warren
                                        498 Powell Street
                                       Brooklyn, NY 11212

                                      Nicolas, Diana
                                      11713 220th St
                              Cambria Heights, NY 114111608

                                      Nieves, Isaiah
                               134 E Mosholu Pkwy S Apt 1J
                                  Bronx, NY 10458-1045

                                       Nikolla, Nora
                                        14 Dey St
                                  West Harrison, NY 10604


                                          Niles, Ianthe
                                          421 Crown St
                                            Apt 11-L
                                       Brooklyn, NY 11225


                                        Nixon, Charlene
                                         120 Elgan Place
                                            Apt 14A
                                        Bronx, NY 10475




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                                         Nixon, Kellie
                                        1712 Linden St
                                            Apt 1L
                                      Redwood, NY 11385


                                      Nixon, Warren
                                        11 Park Pl
                                         Apt. 311
                                  New Rochelle, NY 10805

                                      Njoku, Maritha
                                  2549 Jerome Ave Box 82
                                     Bronx, NY 10468


                                        NLR Inc
                                       256 Main St
                                         Suite B
                               East Windsor, CT 06088-0680

                                       Noble, Sharifa
                                    1078 Willmohr Street
                                  Brooklyn, NY 112121714

                                          Noel, Gail
                                      796 East 51st Street
                                      Brooklyn, NY 11203

                                        Norman, Jamika
                                      100-10L Alcott Place
                                       Bronx, NY 10475


                                        Norman, Latasha
                                       28 West 9th Street,
                                           Apt 2A
                                      Brooklyn, NY 11231


                                  Northeast Environmental
                                   Accounts Receivable
                                     225 Valley Place
                                  Mamaroneck, NY 10543

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                                     Nugent, Celene
                                  653 East Lincoln Ave
                                 Mount Vernon, NY 10552

                                         Nunes, Avril
                                        50 Halsey Street
                                      Brooklyn, NY 11216

                                       Nunez, Lucia
                                     2781 Cypress Ave
                                  East Meadow, NY 11554

                                   Nunnally, Nadiyah
                                       409 Nuber
                                 Mount Vernon, NY 10553

                                       Nwankwo, Thereasa
                                      1307 Intervale Avenue
                                        Bronx, NY 10459

                                      NYC Fire Dept
                                      90 Beaufort Pl
                                  New Rochelle, NY 10801

                               NYC Transit Metro Card Sales
                                    GPO Box 26133
                                New York, NY 10087-6133

                              NYS Child Support Processing C
                                     PO Box 15363
                                Albany, NY 12212-5363


                                  NYS Council of Deans
                       c/o Foundation of New York State Nurses, Inc
                                2113 Western Ave, Suite 4
                                 Guilderland, NY 12084

                                          NYSACAC
                                          PO Box 28
                                      Red Hook, NY 12571

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                                          NYSACAC
                                          PO Box 28
                                      Red Hook, NY 12571

                             Oath Envoromental Control Board
                              P.O. Box 2307 Peck Slip Station
                                   New York, NY 10272


                                         Obazee, Stella
                                      1356 Bergen Street
                                            Apt -3
                                      Brooklyn, NY 11213

                                       Obot, Ini
                                    297 Sickles Ave
                                 New Rochelle, NY 10801

                                       O'Brien, Kristen
                                        221 Blair Ave
                                       Bronx, NY 10465

                                       O'Brien, Kristen
                                        221 Blair Ave
                                       Bronx, NY 10465

                                        O'Byrne, Klara
                                       167 Pheasant Lane
                                       Branford, CT 6405


                                         Ocasio, Jose
                                       603 Morris Ave.
                                           Apt. 6D
                                       Bronx, NY 10451


                                     Ochoa, Martha
                                     229 Union Ave
                                          2B
                                 New Rochelle, NY 10801




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                                      Ochoa, Nadia
                                        12 6th St
                                  New Rochelle, NY 10801

                                         OCLC Inc
                                      PO BOX 714746
                                 Cincinnati, OH 45271-4746

                                       O'Connor, Cynthia
                                        710 E 218th St
                                       Bronx, NY 10467

                                       O'Connor, Nicholia
                                       126 N Terrace Pht
                                      Mt Vernon, NY 10550


                                          Odell, Helen
                                      180 Turn of River Rd.,
                                            Apt. 5A
                                       Stamford, CT 6905

                                    O'Donnell, Michael
                                   45 Meadowbrook Rd
                                  White Plains, NY 10605


                                       Odutayo, Funmilola
                                        10225 Bissonnet
                                           Apt 1176
                                       Houston, TX 77036

                                         Oghoru, Joana
                                       764 East 227 Street
                                        Bronx, NY 10466


                                       Oglesby, Shaniqua
                                        110 Grove Street
                                            Apt. 4F
                                      Brooklyn, NY 11221




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                                         O'Hara, Kathleen
                                        18 Jefferson Road
                                       Scarsdale, NY 10583

                                      Ojeda, Maribel
                                7232 Hickory Branch Circle
                                    Orlando, FL 32818


                                  Okonkwo-Okoye, Yoshi
                                     140 Erdman Pl
                                        Apt. 4A
                                    Bronx, NY 10475

                                     Okyere, Agyapong
                                  2420 Hunter Ave Apt 3D
                                     Bronx, NY 10475

                                        Oladele, Olubunmi
                                       1036 Evergreen Ave
                                      Bronx, NY 10472-5508

                                         Olatunji, Folake
                                      1450 Clay Ave Apt 4H
                                        Bronx, NY 10456

                                      O'Leary, Nicole
                                    472 Pinebrook Blvd
                                  New Rochelle, NY 10804

                                          Oliphant, Jon
                                      Lot 31 Cedar Gardens
                                        Mandeville, 876


                                         Oliver, Bettrina
                                        360 Williams Ave
                                             Apt 6A
                                       Brooklyn, NY 11207




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                                         Oliver, Reginald
                                      185 Wortman Avenue,
                                             Apt 6G
                                       Brooklyn, NY 11207

                                         Oliver, Shanyce
                                       3300 Lurting Avenue
                                        Bronx, NY 10469

                                           Olivera, Silvia
                                          59 Elmont Ave
                                      Port Chester, NY 10573

                                       Olivero, Magdalena
                                         1812 Himrod st
                                      Ridgewood, NY 11385

                                     Olsen, Analisa
                                625 Gramatan Ave Apt 4J
                              Mount Vernon, NY 10552-1815


                                        Olufarati, Andrea
                                         400 Brook Ave
                                           Apt. 19-C
                                        Bronx, NY 10454

                                   Oluwajana, Ifetoluwa
                                    32 Brookdale Circle
                                  New Rochelle, NY 10801

                                   Omana, Beenakumari
                                        42 5th St
                                  New Rochelle, NY 10801


                                        Omboro, Nickson
                                        3856 Bronx Blvd
                                            Apt 6M
                                        Bronx, NY 10467




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                                         Onatte, Susan
                                      179 Saratoga Avenue
                                       Yonkers, NY 10705

                                     O'Neal, Jocarol
                               2830 Webb Avenue, 2nd Floor
                                    Bronx, NY 10468

                                         O'Neill, Kerry
                                          3719 Mill St
                                      Shrub Oak, NY 10588

                                          O'Neill, Lori
                                       2142 Haring Street
                                      Brooklyn, NY 11229


                                       Opalisky, Partrick
                                        311 W 111Th St
                                            Apt 6D
                                      New York, NY 10026

                                   Opoku Kusi, Mighty
                              20 W Mosholu Pkwy S Apt 32K
                                  Bronx, NY 10468-1154


                                      Oppong, Vera
                                  1551 Williamsbridge Rd
                                         Apt 4A
                                     Bronx, NY 10461

                                       Oquendo, Margarita
                                      2320 Bronx Park East
                                        Bronx, NY 10467

                                         Orgella, Rhodie
                                      213 Forest View Drive
                                        Avenel, NJ 7001




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                                Orkin Pest & Termite Control
                                    Accounts Receivable
                                    2 Westchester Plaza
                                    Elmsford, NY 10523


                                          Ortega, Ana
                                       494 Sheffield Ave
                                            Apt 5N
                                      Brooklyn, NY 11207


                                       Ortiz, Alejandrino
                                       3556 Webster Ave
                                            Apt 3K
                                       Bronx, NY 10467

                                         Ortiz, Clarilsa
                                      1085 Manhattan Ave
                                      Brooklyn, NY 11222


                                         Ortiz, Cynthia
                                      997 Dekalb Avenue
                                           Apt. 11F
                                      Brooklyn, NY 11221


                                         Ortiz, Karen
                                      3000 Valentine Ave
                                           Apt 3H
                                       Bronx, NY 10458

                                          Ortiz, Lisa
                                       59-57 61st Street
                                      Maspeth, NY 11378

                                       Ortiz, Massiel
                                 20 W Harriet Ave Apt 12A
                                  Palisades Park, NJ 7650

                                         Ortiz, Vanessa
                                      140 Debs Pl Apt 24G
                                       Bronx, NY 10475

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                                         Osbourne, Jonelle
                                      163-63 Mathias Avenue
                                        Jamaica, NY 11433

                                       Oscar, Liza
                                       9 Pease St
                                 Mount Vernon, NY 10553

                                    Osei Tutu, Rebecca
                                     22 Woodmont Dr
                                  East Hartford, CT 06118

                                       Osei, Gertrude
                                 1926 Crotona Pkwy Apt 6B
                                   Bronx, NY 10460-1847

                                       Osei-Tutu, Kimberly
                                          698 Grant Ter
                                       Teaneck, NJ 07666

                                       Osorio-Pizarro, Leyla
                                      1212 Grant Avenue 4E
                                        Bronx, NY 10456


                                         Osuoha, Henry
                                      236 East Gunhill Road
                                            Apt. G2
                                        Bronx, NY 10467


                                           Otero, Elisa
                                       1711 Randall Avenue
                                             Apt 4D
                                         Bronx, NY 10473

                                     Otis Elevator Co
                                      PO Box 13898
                                  Newark, NJ 07188-0898




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                                         O'Toole, Violet
                                      1465 Washington Ave
                                          Apt. 7E N
                                        Bronx, NY 10456

                                        Otsin, Mildred
                                        560 W 165th St
                                      New York, NY 10032


                                       Ouedraogo, Shirren
                                       320 Beekman Ave
                                           Apt. 4C
                                       Bronx, NY 10454

                                        O'Uhuru, Sakina
                                         59 Genesee Ave
                                        Teaneck, NJ 7666

                                        Oustecky, Kristen
                                        80 30 244th Street
                                       Bellerose, NY 11426


                                        Owens, Devoard
                                         1365 Lyman Pl.
                                            Apt. 3-C
                                        Bronx, NY 10459


                                         Owes, Claudette
                                        305 E 166th Street
                                            Apt. 3D
                                        Bronx, NY 10456

                                        Owusu, Ebenezer
                                      224 E 164th St Apt 5D
                                        Bronx, NY 10456

                                      Owusuaa, Eva
                                  1815 Morris Ave Apt G
                                     Bronx, NY 10453



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                                      Owusu-Afriyie, Vivian
                                      2420 22 B Hunter Ave
                                        Bronx, NY 10475


                                        Oye Adu, Ezeikiel
                                        1240 Walton Ave
                                             Apt 607
                                      Bronx, NY 104528029

                                      Pacheco, Ivory
                                  2778 Schley Ave Apt 1A
                                     Bronx, NY 10465

                                   Padilla Rios, Fabiola
                                     37 Park Avenue
                                  White Plains, NY 10603


                                         Padilla, Alan
                                        3333 Broadway
                                          apt C-12G
                                      New York, NY 10027


                                  Padmanabhan, Presanna
                                     195-15A 67th Ave
                                         Apt. 3B
                                 Fresh Meadows, NY 11365

                                 Paetec Communications Inc
                                      PO Box 9001013
                                 Louisville, KY 40290-1013


                                           Pagan, Jose
                                       1100 Teller Avenue,
                                             Apt 2
                                        Bronx, NY 10456


                                        Palmer, Carleton
                                      124 West 111th Street
                                              Apt
                                      New York, NY 10026

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                                     Palmer, Shante
                                  300 East Prospect Ave
                                         Apt 1K
                                 Mount Vernon, NY 10553

                                          Pantoja, Miriam
                                           11 Perry Ave
                                      Port Chester, NY 10573

                                           Papa, Jaime
                                        65 Glenwood Rd
                                       Millwood, NY 10546

                                       Papacharisis, Lisa E
                                        15 Central Drive
                                      Bronxville, NY 10708


                                       Papadakis, Stephanie
                                      721 Governor Morrison
                                             Apt 526
                                       Charlotte, NC 28211

                                         Papanko, Eunice
                                      355 Rutland Rd Apt 1L
                                       Brooklyn, NY 11225

                                      Pareja, Vanessa
                                 400 Tarryhill Way Apt 414
                                  White Plains, NY 10603

                                          Parker, Donna
                                         16 Locust Street
                                      Roslyn Hgts, NY 11577


                                         Parker, Karmilla
                                        54-09 100th Street,
                                             Apt. 410
                                        Corona, NY 11368




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                                        Parker, Lazelle
                                       818 Home Street
                                           Apt 5R
                                       Bronx, NY 10459


                                      Parker, Michael
                                  260 Mother Gaston Blvd
                                         Apt. 3A
                                    Brooklyn, NY 11212


                                      Parker, Rakim
                                     25 Meadow Lane
                                         Apt #2
                                  New Rochelle, NY 10805

                                        Parker, Rashaa
                                       140 Lynch Street
                                      Warrenton, NC 27589


                                         Parker, Sharon
                                       140 DeKruif Place
                                            Apt 16H
                                       Bronx, NY 10475

                                     Parkinson, Mona
                                     333 Lincoln Ave
                                  New Rochelle, NY 10801

                                   Parmesar, Stephanie
                                      47 Liberty Dr
                                  Rock Tavern, NY 12575

                                       Parra, Rebecca
                                        26 Eunice Ct
                                 Tarrytown, NY 105913812

                                   Parris-Fray, Beverly L
                                    223-29 113 Avenue
                                 Queens Village, NY 11429



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                                         Parrish, Denise
                                        2730 8th Avenue
                                            Apt 1-I
                                      New York, NY 10039

                                  Parry-Mccallmon, Brenda
                                        264 East Ave
                                     Norwalk, CT 06855


                                          Parson, Shayla
                                        315 Sutter Avenue
                                            Apt. 21E
                                       Brooklyn, NY 11212


                                          Pasha, Kariba
                                          3021 Avenue I
                                             Apt. E4
                                       Brooklyn, NY 11210

                                      Patricio, Michelle Anne
                                         673 Kimball Ave
                                       Yonkers, NY 10704

                                          Patrick, Erica
                                        177 Laurel Place
                                       Bridgeport, CT 6604

                                        Patterson, Monique
                                       465 Franklin Avenue
                                       Brooklyn, NY 11238

                                         Patterson, Sheena
                                        115 Lexington Ave
                                       Brooklyn, NY 11238

                                       Paul Simco
                                      15 Petit Lane
                                  Pound Ridge, NY 10576




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                                        Paul, Elissa
                                  10 Overlook Road North
                                  White Plains, NY 10603


                                          Paul, Heidi
                                        1148 E 103rd St
                                             Apt 1
                                      Brooklyn, NY 11236

                                 Paychex of New York LLC
                                      PO Box 29769
                                   New York, NY 10087

                                          Payne, Juanita
                                      350 Lafayette Avenue
                                      New York, NY 10012


                                       Payne, Marie
                                  50 Fleetwood Avenue -
                                          Apt. 4B
                                 Mount Vernon, NY 10550

                                      Pearson Blount, Teresa
                                         146-07 South Rd
                                       Jamaica, NY 11435


                                      Pearson, Janelle
                                    2121 Westbury Court
                                         Apt. 6K
                                  Brooklyn, NY 112255675


                                         Peeples, Tiffany
                                       183 City Island Ave
                                             Apt 2R
                                        Bronx, NY 10464

                                        Pellegrino, Jaclyn
                                      200 Edgewood Avenue
                                       Yonkers, NY 10704



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                                       Pemberton, Carmen
                                         325 E 176th St
                                            Apt 2E
                                        Bronx, NY 10457


                                          Pena, Frances
                                        1934 Harrison Ave
                                             Apt 4C
                                         Bronx, NY 10453


                                            Pena, Luz
                                        1595 East 174th St
                                            Apt 14H
                                        Bronx, NY 10472


                                        Pena-Diaz, Sonia
                                       147 Holly Hill i Unit
                                             Apt. 4
                                       Greenwich, CT 6830


                                        Pender, Catherine
                                       124 West 114 Street
                                            Apt. 3B
                                      New York, NY 10026


                                      Pendleton-Rock, Sandra
                                        377 So Harrison St
                                             Apt. 13G
                                       East Orange, NJ 7018

                                    Pennant, Alesha
                                    43 Claremont Pl
                                 Mount Vernon, NY 10553


                                        Pennant, Paulette
                                        2541 7th Avenue
                                            Apt 21J
                                      New York, NY 10039




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                                       Penrod, Jack E.
                                     425 Haverford St.
                                 Johnstown, PA 15905-1831

                                      Penrod, Vera F.
                                     425 Haverford St.
                                 Johnstown, PA 15905-1831


                                    Pepper Hamilton LLP
                                  3000 Two Logan Square
                                 Eighteenth and Arch Streets
                                Philadelphia, PA 19103-2799


                                      Pereda, Lucia
                                    208 Centre Avenue
                                         Apt. 2H
                                  New Rochelle, NY 10801

                                       Perez, Ashley
                                   25 Prospect St Apt 4F
                                  New Rochelle, NY 10805

                                         Perez, Iris
                                      2334 Boston Road
                                      Bronx, NY 10467

                                       Perez, Janyll
                                      53 Chelsea Pl
                                  Yonkers, NY 107105436

                                      Perez, Katrina
                                     153 Clinton Ave
                                  New Rochelle, NY 10801


                                      Perez, Tamara
                                       1 Odell Place
                                          Apt 6A
                                  New Rochelle, NY 10801




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                                      Perez-Segnini, Camila
                                        71 Apawamis Ave
                                         Rye, NY 10580

                                         Perkins, Denise
                                      912 E 178th St Apt 4F
                                        Bronx, NY 10460

                                     Perrone, Jasmine
                                      139 Ramona Ct
                                  New Rochelle, NY 10804

                                         Perry Jr, Erica
                                       12 Brevoort Place
                                      Brooklyn, NY 11216


                                        Persaud, Vindhiya
                                      1840 Grand Concourse
                                             Apt 3B
                                        Bronx, NY 10457

                                           Pete, Tiffany
                                      216 S. Hampton Drive
                                      Spartanburg, SC 29303


                                     Peters, Carmen
                                     80 William St
                                         Apt 1D
                                 Mount Vernon, NY 10552


                                        Peters, Christian
                                      208 Lexington Ave.
                                            Apt 2-R
                                      Brooklyn, NY 11216

                                       Petroro, Jenna
                                     3104 Ferncrest Dr
                                Yorktown Heights, NY 10598




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                                          PG Calc Inc
                                      129 Mount Auburn St
                                      Cambridge, MA 02138

                                         Pham, Maria
                                         43 Martin Ln
                                      Westbury, NY 11590

                                           Pharmedix
                                        3281 Whipple Rd
                                      Union City, CA 94587


                                        Phifer, Michele
                                         9 Argyle Road
                                            Apt-4B
                                      Brooklyn, NY 11218


                                       Philip, Beverly
                                  178 Thomas S Boyland St
                                           Apt 3E
                                    Brooklyn, NY 11233


                                         philip, Carolyn
                                         415 E 157th St
                                            Apt. 7H
                                        Bronx, NY 10451

                                     Philix, Greshma
                                       28 Clove Rd
                                  New Rochelle, NY 10801


                                       Phillips, Courtney
                                        628 Eldert Lane
                                            Apt. 3H
                                      Brooklyn, NY 11208


                                         Phillips, Tahlia
                                        1051 Ocean Ave
                                             Apt 17
                                      Brooklyn, NY 11226

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                                        Phinazee, Doniqua
                                      1600 Sedgwick Avenue
                                              Apt 4
                                        Bronx, NY 10453


                                      Piantini-Tiwari, Estrella
                                        184 Claremont Ave
                                               Apt 6
                                      Mt. Vernon, NY 10550

                                     Pierre, Camille
                                   16 E 4th St Apt 32
                              Mount Vernon, NY 10550-4159

                                      Pierre, Carmel
                                  485 Ocean Ave Apt 2O
                                 Brooklyn, NY 11226-2907


                                      Pierre-Pierre, Deborah
                                        451 E. 22nd Street
                                             Apt. 2C
                                       Brooklyn, NY 11226


                                          Pigatt, Danette
                                        1589 Unionport Rd
                                             Apt 3G
                                         Bronx, NY 10462

                                         Pigford, Donald
                                       392 Putnam Avenue
                                       Brooklyn, NY 11216


                                          Pillai, Karthika
                                         50 Riverdale Ave
                                              Apt 9M
                                        Yonkers, NY 10701




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                                         Pinckney, Ida
                                       735 Gates Avenue,
                                            Apt. 5E
                                      Brooklyn, NY 11221


                                         Pine, Candice
                                        485 Jackson Ave
                                             Apt 1
                                        Bronx, NY 10455

                                      Pircio, Anthony
                                  95 N Broadway Apt D2-2
                                   White Plains, NY 10603

                                         Piris, Lavelle
                                        165 Sumpter St
                                      Brooklyn, NY 11233

                                         Pisano, Tina
                                         27 Adams Ct
                                       Westwood, NJ 7675

                                         Pisera, Diane
                                         120 Broad St
                                      Hawthorne, NY 10532

                                        Pitterman, Fayge
                                        52 East 9th Street
                                       Lakewood, NJ 8701


                                         Pitts, Lee
                                      41-15 12 Street
                                          Apt 4B
                                Long Island City, NY 11101

                                 PKF O'Conner Davies, LLP
                                   500 Mamaroneck Ave
                                    Harrison, NY 10528




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                            PNW BOCES College & Career Fair
                                     Antonio Paone
                                   200 BOCES Drive
                            Yorktown Heights, NY 10598-4399

                                       Pocasangre, Delmy
                                          43 Alvin Pl
                                       Inwood, NY 11096


                                         Poinsett, Raaid
                                      410 St. Nicholas Ave.
                                             Apt, 6A
                                      New York, NY 10024


                                        Poitier, Santita
                                      875 Amsterdam Ave
                                            Apt.2C
                                      New York, NY 10025


                                         Polanco, Xavier
                                           34 N 6th St
                                             Apt 8A
                                       Brooklyn, NY 11249


                                          Polat, Miranda
                                          3913 Pisa Dive
                                            Apt. O-4
                                      Panama City, FL 32405


                                         Polite, Diamond
                                         383 E 143rd St
                                             Apt 12A
                                      Bronx, NY 104541221

                                      Polizzi, Jennifer
                                     508 Beach 129 St
                                  Belle Harbor, NY 11694




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                                       Pollidore, Natelle
                                       623 Franklin Ave
                                            Apt. 2
                                      Brooklyn, NY 11238

                                      Pollock, Debra
                                1715 Fountain Rkwy Unit B
                                  Edgewood, MD 21040

                                     Poniros, Mark
                                    1510 Henry Ave
                                  Mamaroneck, NY 10543

                                          Pope, Jamie
                                         8817 181st St
                                        Hollis, NY 11423

                                          Poppas, Elena
                                           17 Byron Ln
                                      Larchmont, NY 10538

                                      Porgpraputson, Marisa
                                           147 Lee Rd
                                       Scarsdale, NY 10583


                                     Portilla, Fernado A
                                  271 Fort Washington Ave
                                              3H
                                    New York, NY 10032


                                           Posey, Lisa
                                      176 West 137th Street,
                                            Apt 5-C
                                      New York, NY 10030

                                        Potocki, Daniel
                                         56 Fisher Ave
                                      Tuckahoe, NY 10707




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                                         Potts, Charles
                                       65 Tompkins Ave
                                           Apt. 8C
                                      Brooklyn, NY 11206

                                         Pow, Denesha
                                        3644 Harper Ave
                                        Bronx, NY 10466

                                          Powell
                               4676 albany post rd APT 14C1
                                 HYDE PARK, NY 12538


                                         Powell, Crystal
                                       2048 Arthur Avenue
                                             Apt. 2
                                        Bronx, NY 10457


                                         Powell, Destiny
                                      643 Cauldwell Avenue
                                            Apt. B1
                                        Bronx, NY 10455


                                      Powell, Katrina
                                 4676 ALBANY POST RD
                                        Apt 14C1
                                 HYDE PARK, NY 12538


                                         Powell, Niejoni
                                      215 Rochester Avenue
                                            Apt. 4B
                                       Brooklyn, NY 11213

                                          Power, Eileen
                                        1 Kimball Terrace
                                       Yonkers, NY 10704

                                        Pozzi, Lauren
                                    432 Willow Brook Rd
                                 Clinton Corners, NY 12514

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                                          Pratt, Cassie
                                        205 W 140th St.
                                            Apt 2A
                                      New York, NY 10030

                                          Pratt, Chelsea
                                         1130 E 179th St
                                        Bronx, NY 10460

                                         Predovan, Anna
                                      311 Manhattan Avenue
                                      Hawthorne, NY 10532


                                       President, Kyonda
                                      815 East 213th Street
                                           BSMT 1A
                                       Bronx, NY 10467

                                      Pressley, Robert
                                304 Saratoga Avenue 2nd-Fl
                                    Brooklyn, NY 11233


                                           Price, Dana
                                          63 Secor Rd.
                                            Apt 13-1
                                       Ardsley, NY 10502

                                        Price, Nancy
                                      16 Journey Street
                                  Staten Island, NY 10303

                                        Pringle, Katrina
                                       515 Barbey Street
                                      Brooklyn, NY 11207

                                       Pritchard, Crishonda
                                           61 Furnace St
                                      Little Falls, NY 13365




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                                           Privatel Inc
                                           PO Box 73
                                      Spring Lake, NJ 07762

                                      Project Community Inc
                                           PO Box 8089
                                        Pelham, NY 10803


                                     Protano, Michael
                                      72 Foxwood Dr
                                           Apt 9
                                  Pleasantville, NY 10570

                                        Proudley, Bethany
                                       115 Bobbi's Terrace
                                       New Egypt, NJ 8533


                                         Pruitt, Tuesday
                                       5 South Lake Drive
                                             Apt. A
                                      Hackensack, NJ 7601


                                        Pryor, Cassandra
                                       51 East 129Yh St.
                                           Apt. 1-E
                                      New York, NY 10035

                                      Pryor-Davis, Tanicqua
                                       5116 Glenwood Rd
                                       Brooklyn, NY 11234

                                PS Marcato Elevator Co Inc
                                    44-11 Eleventh St
                                Long Island City, NY 11101

                                       Pugh-Bostick, Tanya
                                      66-44 Burchell Avenue
                                       Brooklyn, NY 11692




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                                      Pulido, Dante
                                  8200 Shore Front Pkwy
                                         Apt 8F
                                Rockaway Beach, NY 11693


                                       Punter, Malcolm A
                                       2569 Adam Clayton
                                         Powell Jr #25-J
                                      New York, NY 10039


                                         Purcell, Shawn
                                      2101 Bedford Avenue,
                                             Apt 6J
                                       Brooklyn, NY 11226

                                       Purdie, Charmaine
                                       150 Crown Street
                                      Brooklyn, NY 11225

                                     Pureland Supply
                                       210 Gale Ln
                                 Kennett Square, PA 19348

                                        Quarrie, Howard
                                       54 Madison Avenue
                                      Amityville, NY 11701


                                         Quetel, Tiffany
                                      941 Washington Ave.
                                           Apt. 3-A
                                      Brooklyn, NY 11225

                                      Quezada, Elaine
                                  3950 Bronx Blvd Apt 5B
                                     Bronx, NY 10466

                                         Quinn, Patricia
                                         65 Main Street
                                      Unionville, NY 10988



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                                         Quinn, Susan
                                          56 Allen St
                                      Allendale, NJ 7401

                                   Quinones, Genevieve
                                      186 Mt Joy Pl
                                  New Rochelle, NY 10801


                                       Quintyne, Joshua
                                      1225 Eastern Pwky.
                                           Apt. 3A
                                      Brooklyn, NY 11213


                                  Ra Security Systems Inc
                                       10 Bridge St
                                       PO Box 609
                                    Milford, NJ 08848


                                        Radtke, Jennifer
                                        20 Butler Place
                                           Apt #65
                                      Brooklyn, NY 11238

                                 Ragudos, Michael Vincent
                                    231 Culloden Road
                                    Stamford, CT 6906

                                Rajcumar-Kendall, Cassandra
                                      45 S 12th Ave
                                  Mount Vernon, NY 2912

                                      Ramirez, Elizabeth
                                       419 Keller Ave
                                      Elmont, NY 11003

                                       Ramirez, Kailene
                                      17 Cowles Avenue
                                      Yonkers, NY 10704




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                                        Ramirez, Kenia
                                       963 Anderson Ave
                                            Apt. 1F
                                       Bronx, NY 10452

                                         Ramirez, Maria
                                         907 Burke Ave
                                        Bronx, NY 10469

                                      Ramnauth, Shakuntala
                                        436 Thieriot Ave
                                        Bronx, NY 10473

                                        Ramos, Brandon
                                      92-14th Gettysburg St
                                      Bellerose, NY 11426

                                     Ramos, Carmen
                                       233 Elm St
                                  New Rochelle, NY 10805


                                          Ramos, Elba
                                         281 Brook Ave
                                            Apt. 1C
                                        Bronx, NY 10454


                                         Ramos, Kaira
                                      345 East 101st Street
                                            Apt. 1B
                                      New York, NY 10029


                                         Ramos, Yucenia
                                      977 Bedford Avenue -
                                           Apt. 2017
                                       Brooklyn, NY 11205

                                       Ramotar, Ruanne
                                          5 Ascot Pl
                                       Coram, NY 11727



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                                   Ramsey, Alphonse
                                  265 S Columbus Ave
                                        Apt 2G
                                 Mount Vernon, NY 10553


                                         Randall, Jennifer
                                      3390 Chelsea Park Lane
                                             Apt. H
                                       Norcross, GA 30092

                                           Rawji, Rabia
                                        7 Saint John Street
                                        Norwalk, CT 6855

                                        Raymond, George
                                       17 Sunnybrook Rd
                                      Bronxville, NY 10708


                                         Rayside, Deanna
                                       1800 Pitkin Avenue
                                             Apt-4G
                                       Brooklyn, NY 11212

                                      Reaves-Quarles, Ruby
                                          9 Nassau Rd
                                       Yonkers, NY 10710


                                         Recarey, Iliana
                                        1743 Fulton Ave
                                            Apt 1H
                                        Bronx, NY 10457


                                          Reden, Laura
                                       2111 Acacia Park Dr
                                           Apt. 208N
                                       Lyndhurst, OH 44124

                                         Redzaj, Jessica
                                        273 Quincy Ave
                                        Bronx, NY 10465

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                                  REEC West 125th St LLC
                                c/o Real Estate Equities Corp
                                  18 East 48th St Penthouse
                                    New York, NY 10017


                                          Reed, Davine
                                         515 Blake Ave.
                                           Apt. D211
                                       Brooklyn, NY 11207


                                           Reed, Debra
                                      879 Van Siclen Avenue
                                             Apt. 4D
                                       Brooklyn, NY 11207

                                      Reed, Melissa
                                 552 Van Siclen Avenue 1F
                                   Brooklyn, NY 11207


                                          Reed, Wyesha
                                        295 Jackson Street,
                                              Apt 1G
                                       Brooklyn, NY 11211


                                     Regalado, Helen
                                 1332 Metropolitan Avenue
                                         Apt. 6K
                                     Bronx, NY 10462

                                      Regina, Dawn
                                    17 Hanford Avenue
                                  New Rochelle, NY 10805


                        Registry for College & University Presidents
                                     3 Centennial Drive
                                          Suite 320
                                    Peabody, MA 01960




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                                          Reid, Jamie
                                      787 East 46th Street,
                                           Apt. 5A
                                      Brooklyn, NY 11203


                                       Reid, Shellion
                                    356 W. Putnam Ave
                                          Apt. 1
                                  Greenwich, CT 68305244

                                  Reilly-Antalec, Margaret
                                    478 West William St.
                                Port Chester, NY 10573-3557

                                          Rellis, Kaylyn
                                      21021 Brunswick Lane
                                       Millsboro, DE 19966

                                  Remove, Test Financials
                                         314 pi
                                  New Rochelle, NY 10802

                                     Renae, Williams,
                                    116 Premium Point
                                  New Rochelle, NY 10801


                                         Rene, Armelle
                                        133 Main Street
                                            Apt.1
                                       Norwalk, CT 6851

                                        Rennie, Samantha
                                         9018 107 AVE
                                      Ozone Park, NY 11417

                                        Rentas, Arianna
                                        2673 W 37th St
                                      Brooklyn, NY 11224




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                                        Restrepo, Andrea
                                        3800 Waldo Ave
                                             Apt 5G
                                        Bronx, NY 10463


                                          Rey, Joseline
                                       825 Boyton Avenue
                                            Apt. 4-J
                                        Bronx, NY 10473

                                          Reyes, Abel
                                      19 Mountain View Dr.
                                       Warwick, NY 10990

                                        Reynolds, Jazmine
                                      140 Alcott Pl Apt 20D
                                        Bronx, NY 10475

                                         Rhabb, Tyrone
                                      193 N Columbus Ave
                                       Freeport, NY 11520

                                       Rhamdeow, Kristen
                                         2817 Ely Ave
                                        Bronx, NY 10469

                                           Rhodes
                                       630 Wilkinson Rd
                                      Macedon, NY 14502


                                    Ricanor, Lemlie
                                   161 Pearsall Drive
                                        Apt. 2E
                                 Mount Vernon, NY 10552

                                   Ricciardi, Dominique
                                       58 Vernon Dr
                                 Scarsdale, NY 10583-6124




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                                         Ricciardi, John
                                         268 Logan Ave
                                             Apt 1
                                        Bronx, NY 10465


                                          Rice, Gabrielle
                                      89 Christopher Avenue,
                                             Apt13G
                                       Brooklyn, NY 11212

                                     Richards, Nicola
                                781 Washington Ave Apt 1E
                                   Brooklyn, NY 11238


                                      Richardson, Devanette
                                          2306 Dean St.
                                              Apt 3
                                      Brooklyn, NY 11233


                                       Richardson, Falima
                                        60 West 120th St
                                            Apt. 3A
                                      New York, NY 10027


                                       Richardson, Samatha
                                        454 E. 148th Street
                                             Apt 2N
                                         Bronx, NY 10456

                                      Richardson, Tikimba
                                      95-31 Waltham Street
                                       Jamaica, NY 11435


                                       Richardson, Wanda
                                       1540 Unionport Rd
                                            Apt 8-G
                                        Bronx, NY 10462




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                                          Riley Damerell
                                       411 Westchester Ave
                                      Port Chester, NY 10573

                                        Riley, Cathy
                                 9554 Spottswood Rd. West
                                   Jacksonville, FL 32202


                                           Riley, Crystal
                                       114-34 East 122nd St.
                                             Apt. 9-C
                                       New York, NY 10035

                                          RingCentral Inc.
                                          Dept. CH 19585
                                      Palatine, IL 60055-9585


                                          Rivas, Julissa
                                         612 Elton Street
                                             Apt. 6
                                       Brooklyn, NY 11208

                                           Rivera, Alex
                                          146 Coffey St
                                       Brooklyn, NY 11231


                                           Rivera, Anita
                                       1029 Longfellow Ave
                                             Apt. 1F
                                         Bronx, NY 10459


                                           Rivera, Anita
                                       1029 Longfellow Ave
                                             Apt. 1F
                                         Bronx, NY 10459

                                      Rivera, Deanna
                                     1056 Hunter Ave
                                 Pelham Manor, NY 10803



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                                        Rivera, Lorraine
                                         2701 Dewitt Pl
                                        Bronx, NY 10469


                                         Rivera, Luisa
                                       203 West 140th St.
                                            Apt 3B
                                      New York, NY 10030

                                        Rivera, Margarita
                                      925 Canada Street N.E.
                                       Palm Bay, FL 32905

                                         Rivera, Marilyn
                                       1505 Townsend Ave
                                        Bronx, NY 10452

                                          Rivera, Megan
                                           417 First Ave
                                      Pelham, NY 108031104

                                         Rivera, Victoria
                                        2963 Schley Ave
                                        Bronx, NY 10465


                                          Rivera, Zoila
                                      1332 Metropolitan Ave
                                            Apt 7G
                                        Bronx, NY 10462


                                         Rizer, Christina
                                      311 West 127th Street
                                               Apt
                                      New York, NY 10027

                                     Roberson, Alex
                                       30 Park Ave
                                 Mount Vernon, NY 10550




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                                         Roberson, D'An
                                         882 Bryant Ave
                                             Apt C
                                        Bronx, NY 10474

                                       Roberts, Bathsheba
                                      257 Hancock Street
                                      Brooklyn, NY 11216

                                        Roberts, Jennifer
                                       29 East 58th Street
                                      Brooklyn, NY 11203

                                        Roberts, Joanne
                                      315 Hawthorne Street
                                      Brooklyn, NY 11225

                                        Robinson, Angela
                                      1736 Vanburen Street
                                        Bronx, NY 10460


                                         Robinson, Dana
                                       400 Brookside Ave
                                            Apt 8A
                                        Bronx, NY 10454


                                      Robinson, Domonique
                                      280 Herkimer Street,
                                              Apt
                                      Brooklyn, NY 11216

                                        Robinson, Dwight
                                        1156 N Broadway
                                       Yonkers, NY 10701

                                      Robinson, Ebony
                                  125 Beach 17th Street 6D
                                  Far Rockaway, NY 11691




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                                      Robinson, Elijah
                                      177 N Cottage St
                                  Valley Stream, NY 11580

                                       Robinson, Jeanine
                                      708 East 39th Street
                                      Brooklyn, NY 11203


                                      Robinson, Lashawn
                                       1471 Watson Ave
                                           Apt 6G
                                       Bronx, NY 10472

                                       Robinson, Rashidi
                                       712 East 217 Street
                                        Bronx, NY 10475


                                       Robinson, Sonya
                                        562 Morris Ave
                                            Apt 8
                                       Bronx, NY 10451


                                       Robinson, Tangia
                                        2383 2nd Ave.
                                           Apt.1206
                                      New York, NY 10035


                                        Robinson, Tineil
                                      225 Buffalo Avenue
                                           Apt. 3D
                                      Brooklyn, NY 11213


                                  Robinson-Gueye, Tammy
                                   1011 Washington Ave
                                         Apt. 410
                                     Bronx, NY 10456




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                                         Rodriguez, Ana
                                         940 Simpson St
                                             Apt 3F
                                        Bronx, NY 10459

                                    Rodriguez, Brianna
                                  1571 Zerega Ave 1st FL
                                     Bronx, NY 10462


                                        Rodriguez, Chris
                                        100 Dreiser Loop
                                           Apt. 21-J
                                        Bronx, NY 10475

                                        Rodriguez, David
                                        353 Pin Oak Lane
                                       Westbury, NY 11590

                                       Rodriguez, Ilsy
                                     2626 Beech Street
                                  East Meadow, NY 11554

                                        Rodriguez, Ivonne
                                        939 College Ave
                                        Bronx, NY 10456

                                       Rodriguez, Jacqueline
                                      601A Gomains Avenue
                                      Chapel Hill, NC 27516

                                        Rodriguez, Joseph
                                        41 Hanratty Street
                                       Kingston, NY 12401

                                        Rodriguez, Kayla
                                          33 Kingston St
                                        Elmont, NY 11003




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                                       Rodriguez, Kimberly
                                       232 N. Poplar Street
                                      Massapequa, NY 11758


                                        Rodriguez, Lillian
                                       1460 Parkchester Rd
                                             Apt 6B
                                        Bronx, NY 10462


                                        Rodriguez, Marcos
                                         775 Fox Street
                                            Apt. 4-C
                                        Bronx, NY 10455

                                       Rodriguez, Nashalyn
                                             2 Hill St
                                       Ossining, NY 10562


                                        Rodriguez, Natalie
                                        2727 Lawton Ave
                                              Apt 1
                                        Bronx, NY 10465


                                        Rodriguez, Rosa
                                      2729 Creston Avenue,
                                              Apt
                                        Bronx, NY 10468


                                       Rodriguez, Wadelin
                                       2766 Sedgwick Ave
                                            Apt. 4B
                                        Bronx, NY 10468


                                       Rodriguez, Yadhira
                                         114 W 238th St
                                             Apt 1A
                                        Bronx, NY 10463




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                                       Rohan, Tiazaynelle
                                        508 East 163rd
                                            Apt 2B
                                       Bronx, NY 10451

                                        Rojas, Lisa
                                  3400 Paul Ave Apt 12C
                                  Bronx, NY 10468-1010

                                      Rojas, Synthia
                                      5 East Avenue
                                 Washingtonville, NY 10992


                                        Rolle, Caiphia
                                      5900 Arlington Ave
                                           Apt 10M
                                       Bronx, NY 10471


                                       Rolon, Josephine
                                       1376 Ogden Ave
                                           Apt. 4B
                                       Bronx, NY 10452


                                        Romaine, Mia
                                       2733 Barker Ave
                                          Apt. Q43
                                       Bronx, NY 10467


                                       Roman, Cheyenne
                                       2301 Creston Ave
                                          Apt. 2-F
                                       Bronx, NY 10468


                                         Roman, Martha
                                        50 East 104th St.
                                            Apt.10H
                                      New York, NY 10029




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                                         Romero, Maria
                                        2281 Stewart Ave
                                       Westbury, NY 11590

                                    Romney, Gretchen
                                      P.O Box 1674
                                  New Rochelle, NY 10805


                                         Roriguez, Mabel
                                         224 York Street,
                                            Apt. 11C
                                       Brooklyn, NY 11201


                                           Rosa, Bianca
                                       871 Westchester Ave
                                             Apt 711
                                        Bronx, NY 10459

                                     Rosa-Geliga, Erica
                                       110 Main St
                                Lake Katrine, NY 124495001


                                         Rosally, Melody
                                      1501 Lexington Avenue
                                               Apt
                                       New York, NY 10029

                                         Rosario, Desiree
                                       754 Mace Ave Apt 4J
                                         Bronx, NY 10467

                                          Rose, Janice
                                       135 Claremont Ave
                                       Montclair, NJ 7042

                                Rosewell-Glasford, Amanda
                               4240 Hutchinson Rvr Prkwy E
                                    Bronx, NY 10475




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                                           Rossi, Pat
                                      765 Co-Op City Blvd
                                       Bronx, NY 10475

                                       Rotondi, Jacqueline
                                        287 Northern Blvd.
                                      Saint James, NY 11780


                                         Rougier, Sherma
                                          83 Lott Street
                                           Apt. 2nd Fl.
                                       Brooklyn, NY 11226

                                    Rouldson, Suedeen
                                 2504 Bronx Park E Apt 4M
                                     Bronx, NY 10467


                                          Rouse, Darna
                                        845 Schenck Ave
                                             Apt 1B
                                       Brooklyn, NY 11207

                                     Rousseau, Daniel
                                       147 Hobart St
                                  Ridgefield Park, NJ 7660


                                       Rowell, Elizabeth
                                       6341 Pheasant Ln
                                            Apt 85
                                      Middleton, WI 53562

                                          Roy, Desiree
                                        3127 Mickle Ave
                                        Bronx, NY 10469

                                      Ruane, Niamh
                                   401 Farmers Mills Rd
                                  Carmel, NY 10512-3104




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                                        Rubiani, Melissa
                                       191 Huntington Ave
                                      Bronx, NY 104653229

                                      Rudder, Andra
                                    807 Weaver Street
                                  New Rochelle, NY 10804

                                       Ruffin, Dominique
                                        9 Robins Sq East
                                       Norwalk, CT 6854


                                          Ruiz, Jasalle
                                         695 E. 163 St.
                                            Apt 8D
                                        Bronx, NY 10456


                                          RuMe
                                   Accounts Receivable
                                7042 South Revere Parkway
                                  Englewood, CO 80112

                                       Ruocco, Tyler
                                    37 Stephenson Blvd
                                  New Rochelle, NY 10801

                                          Rush, Leslie
                                        2954 Marion Ave
                                        Bronx, NY 10458

                                       Russ, Jeffrey
                                     220 Pelham Rd.
                                  New Rochelle, NY 10805


                                        Russell, Theresa
                                        894 Rogers Place
                                            Apt. 4F
                                        Bronx, NY 10459




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                                     Russo, Theresa
                                      P.O. Box 337
                                 Mount Vernon, NY 10552

                                     Russo, Theresa
                                      P.O. Box 337
                                 Mount Vernon, NY 10552

                                       Ruszkowski, Susan
                                       116 Washburns Ln
                                        Stony Point, NY


                                         Ruta, Angela
                                       150 Dreiser Loop
                                           Apt 10J
                                       Bronx, NY 10475

                                          Ryan, Eileen
                                         852 Sw 18th St
                                      Cape Coral, FL 33991

                                       Ryan, Laurie
                                 10 Sniffen Mountain Road
                                Cortlandt Manor, NY 10567


                                      Sabb-Brown, Levonia
                                         630 Lenox Ave
                                             Apt La
                                      New York, NY 10037


                                           Sable, Alan
                                       1640 Mace Avenue
                                             Apt. 3
                                        Bronx, NY 10469


                                       Sabree, Iman
                                     361 Main Street
                                          Apt 4
                                  New Rochelle, NY 10801



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                                           Saenz, Jose
                                         964 Morris Ave
                                             Apt. 4J
                                        Bronx, NY 10456

                                 SafeNet Security Solutions
                                         42 West St
                                  Spring Valley, NY 10977

                                    SAGE Publications
                                      2455 Teller Rd
                                 Thousand Oaks, CA 91320


                                          Saidy, Ndey
                                        1143 Colgate Ave
                                             Apt 2F
                                        Bronx, NY 23120

                                  Saint Fleur, Dapheney
                                      10236 216th St
                                 Queens Village, NY 11429


                                      Saintil, Erica
                                      55 Adams St
                                         Apt 1
                                 Mount Vernon, NY 10550

                                         Saintil, Natacha
                                        21 Rumbrook Rd
                                       Elmsford, NY 10523

                                             Saire, Jose
                                            56 Grove St
                                      Port Chester, NY 10573


                                          Saka, Basira
                                       735 Lincoln Avenue
                                            Apt. 9T
                                       Brooklyn, NY 11208



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                                       Salama, Cony
                                41-25 Elbertson St. 1st Floor
                                    Elmhurst, NY 11373

                                         Salley, Deena
                                      9 Western Parkway
                                      Irvington, NJ 7111


                                Sallie Mae Operation Finance
                                       Check Processing
                                        P.O. Box 8002
                                   Fishers, IN 46038-9000


                                       Salmon, Kyucca
                                        3437 Corsa Ave
                                           Apt GA
                                       Bronx, NY 10469

                                        Salonga, Regin
                                      83-25 Vietor Ave 4L
                                      Elmhurst, NY 11373

                                        Saltzman, Liza
                                       30 Chester Lane
                                      Nanuet, NY 10954

                                       Sampson, Candace
                                         9 Hull Street
                                      Brooklyn, NY 11233


                                       Samuel, Dwayne
                                        100 Darrow Pl
                                           Apt 20D
                                       Bronx, NY 10475


                                       Samuel, Melissa
                                       445 Beach 51st
                                          Apt. 2C
                                  Far Rockaway, NY 11691



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                                        Samuels, Camille
                                        271 Clifton Place
                                       Brooklyn, NY 11216

                                         Sanabria, Andy
                                      1776 Boston Rd Apt 6B
                                        Bronx, NY 10460


                                        Sanchez, Cynthia
                                        260 S Broadway
                                            Apt 8V
                                       Yonkers, NY 10705

                                        Sanchez, Desiree
                                      5058 Jonesboro Road
                                      Union City, GA 30291


                                        Sanchez, Gladys
                                        613 E 138 Street
                                            Apt. 3C
                                        Bronx, NY 10454


                                        Sanchez, Melinda
                                          328 E 145 St
                                           Apt. 11-E
                                        Bronx, NY 10451


                                      Sanchez, Paubla
                                     145 Franklin Ave
                                          Apt 6A
                                  New Rochelle, NY 10805


                                        Sanchez, Stacey
                                        267 West 140 St
                                           Apt. 4B
                                      New York, NY 10030




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                                         Sanders, Iris
                                        131 E 101st St
                                           Apt 3E
                                      New York, NY 10029


                                        Sanders, Naa'Ila
                                       450 E 169th Street
                                           Apt. 7A
                                       Bronx, NY 10456

                                      Sanders, Nolaida
                                  660 Arnow Ave Apt 10G
                                     Bronx, NY 10467

                                        Sanders, Sirod
                                      2760 Woodhull Ave
                                       Bronx, NY 10469


                                       Sanders, Teneizha
                                      110 Chauncey Street
                                           Apt. 5Q
                                      Brooklyn, NY 11233


                                     Sanders, Yolonda
                                    716 County Rd 104
                                          Apt 1A
                                 Loch Sheldrake, NY 12759


                                   Sandoz Torres, Marcela
                                 3150 Rochambeau Avenue,
                                           Apt
                                     Bronx, NY 10467


                                         Sands, Tanisha
                                      77 Tompkins Avenue
                                           Apt. 12M
                                      Brooklyn, NY 11206




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                                        Sanes, Gabriella
                                       2140 Madison Ave
                                            Apt 12B
                                      New York, NY 10037

                                         Sanford, David
                                      194-17 104th Avenue
                                      Brooklyn, NY 11412

                                       Sanon, Stephanie
                                         1116 E 58th St
                                      Brooklyn, NY 11234

                                        Santana, Brianna
                                        3559 Ropes Ave
                                        Bronx, NY 10475


                                        Santiago, Melissa
                                        1013 Freeman St
                                             Apt 6F
                                        Bronx, NY 10459


                                        Santiago, Nancy
                                        800 St Anns Ave
                                            Apt. 4G
                                        Bronx, NY 10456

                                     Santiago, Shadai
                                      18 Lakeside Dr
                                  Valhalla, NY 105951945

                                     Santiago, William
                                     311 North Ave 10
                                  New Rochelle, NY 10801

                                      Santos Arias, Lismairy
                                      100 Herriot St Apt 3D
                                       Yonkers, NY 10701




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                                           Sapp, Vada
                                       120 Coop City Blvd
                                            Apt. 22E
                                        Bronx, NY 10475


                                        Sargent, Deborah
                                         50 Lefferts Ave
                                             Apt 4M
                                       Brooklyn, NY 11225


                                   Sarmiento, Alexandra
                                19 Old Mamaroneck Road -
                                          Apt. 4G
                                White Plains, NY 106051728


                                        Sarpong, Richard
                                       95-117 Ravine Ave
                                            Apt 1A
                                       Yonkers, NY 10701

                                          Sass, Jayresa
                                      1406 Pacific St Apt D4
                                       Brooklyn, NY 11205

                                          Sass, Jayresa
                                      1406 Pacific St Apt D4
                                       Brooklyn, NY 11205


                                        Saunders, Dawn
                                      346 Rockaway Pkwy
                                           Apt. 2R
                                      Brooklyn, NY 11212

                                        Savcak, Michael
                                        68 Stevens Ave
                                       Yonkers, NY 10704




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                                         Scarlett, Andre
                                         1134 Elder Ave
                                             Apt 2F
                                        Bronx, NY 10472

                                    Schneider, Laura
                                   677 Knollwood Rd
                                  White Plains, NY 10603

                                         Schodt, Cheryl
                                        914 Chelsea Ave
                                         Erie, PA 16505

                                       Schoeller, Rosalie
                                        452 11th Street
                                      Brooklyn, NY 11215


                                         Scholl, Jeanine
                                        777 N. Ashley Dr.
                                           Apt. 1013
                                        Tampa, FL 33602

                              School Health - Sports Medicine
                                     6764 Eagle Way
                                    Chicago, IL 60678

                                  School of New Resources
                                     55 Leland Avenue
                                  New Rochelle, NY 10805


                                        Schuler, Dynasiah
                                      1570 East 102nd Street
                                            Apt. 1D
                                       Brooklyn, NY 11236


                                         Schultz, Sasha
                                         2155 Daly Ave
                                             Apt 5A
                                      Bronx, NY 104601950



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                                    Sciommeri, Alissa
                                       136A Main St
                                Center Moriches, NY 11934

                                         Scollo, Maria
                                       2484 Bragg Street
                                      Brooklyn, NY 11235


                                          Scott, Choice
                                       88 West 19th Street
                                            Apt 2 N
                                        Bayonne, NJ 7002

                                         Scott, Diana
                                        45 Locust Hill
                                      Yonkers, NY 10701

                                         Scott, Kriastin
                                       100 Benchley Place
                                        Bronx, NY 10475


                                         Scott, Nakeda
                                       210 East 124th St.
                                           Apt. 3-C
                                      New York, NY 10035


                                        Scott, Shannon
                                      166 Rockaway Pkwy
                                            Apt 1B
                                      Brooklyn, NY 11212


                                          Scott, Tpring
                                        2660 8th Avenue
                                           Apt. 17K
                                      New York, NY 10030

                                     Scozzari, Joanne
                                       15 West Way
                                  New Rochelle, NY 10801



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                                       Scroggins, Shirmella
                                       740 Stanley Avenue
                                            Apt. 1D
                                       Brooklyn, NY 11207


                                        Seabrook, Jasmin
                                        2160 Seward Ave
                                             Apt 4B
                                        Bronx, NY 10473

                                        Seabrook, Natasha
                                      820 East 180 Street 8P
                                        Bronx, NY 10460

                                        Seabrook, Ronald
                                       1050 E 232nd St Ph
                                        Bronx, NY 10466


                                        Seabrooks, Detorra
                                        33 Buffalo Avenue
                                            Apt. 1-R
                                       Brooklyn, NY 11233


                                       Seales, Jellene
                                  1352 New York Avenue
                                         Apt. 2B
                                    Brooklyn, NY 11210


                                          Sealey, Anette
                                        320 Empire Blvd
                                             Apt-4A
                                       Brooklyn, NY 11225


                                          Seay, Taniya
                                         2045 Story Ave
                                            Apt 10F
                                        Bronx, NY 10473




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                         Security Mutual Life Insurance Co. of NY
                                      PO Box 1625
                               Binghamton, NY 13902-1625


                                       Seemer, Catherine
                                        14 westview ave
                                            apt 210
                                      Tuckahoe, NY 10707


                                        Sekou, Amakeda
                                         2528 7th Ave
                                             Apt 1
                                      New York, NY 10039


                                 Sentinel Pension Advisors
                                 100 Quannapowitt Parkway
                                        SUITE 300
                                   Wakefield, MA 01880

                                      Serrano, Betzaida
                                  480 Riverdale Avenue 5R
                                    Yonkers, NY 10705

                                      Serrano, Lexus
                                  1109 Clay Ave Bsmt Apt
                                     Bronx, NY 10456

                                       Serrette, Keith
                                  1348 Webster Avenue 6K
                                     Bronx, NY 10456

                                           SESAC
                                      PO Box 900013
                                  Raleigh, NC 27675-9013


                                         Sesay, Iyesha
                                        853 Elsmere Pl
                                           Apt. 1B
                                       Bronx, NY 10460



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                                       Sexton, Hallie
                                     47 Lincoln Ave E
                                  West Harrison, NY 10604

                                     Seymour, Tanisha
                                790 Concourse Village West
                                     Bronx, NY 10451

                                     Shah, Riddhisha
                                 1149 Route 17A, House 1
                                Greenwood Lake, NY 10925


                                         Shakitta, Bishop
                                       1415 St Johns Place
                                             Apt 20
                                       Brooklyn, NY 11213

                                          Shalian, Annie
                                         53 Field Terrace
                                       Irvington, NY 10533

                                          Shalian, Annie
                                         53 Field Terrace
                                       Irvington, NY 10533

                                        Shaps, Kathleen
                                        25 Lanark Road
                                       Yonkers, NY 10705

                                          Sharma, Shveta
                                          96 Sunset Ave
                                      Farmingdale, NY 11735

                                         Shaw, Khadeeja
                                       591 East 165th Street
                                        Bronx, NY 10456




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                                         Shaw, Renee
                                       162 Troy Avenue
                                           Apt. 6E
                                      Brooklyn, NY 11213


                                        Sheehan, Maegan
                                       354 Columbus Ave
                                            Apt 1L
                                       Tucahoe, NY 10707

                                         Sheer, Victoria
                                      6929 Little Neck Pkwy
                                      Glen Oaks, NY 11004


                                       Shell, Tabitha
                                  71-15 Beach Channel Dr.
                                         Apt. 8B
                                     Averne, NY 11692

                                 Shem-Yahudah, Reshonah
                                 A.C.P 2212, P.O. Box 1110
                                    Albany, NY 12201


                                        Shepherd, Gillian
                                       522 Ocean Avenue
                                            Apt-2R
                                      Brooklyn, NY 11226


                                      Sheppard, Atiya
                                  1026 Longfellow Avenue
                                           Apt
                                     Bronx, NY 10459

                                     Sherlon Mckenzie
                                       7 Kalmia Lane
                                  Valley Stream, NY 11581

                                      SHI International Corp
                                       290 Davidson Ave.
                                       Somerset, NJ 08873

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                            Shimadzu Scientific Instruments,Inc
                                 7102 Riverwood Drive
                                  Columbia, MD 21046


                                     Shipman, Rebecca
                                  280-300 East 161th Street
                                          Apt. 72
                                     Bronx, NY 10451

                                Shleppers Moving & Storage
                                      920 E 149th St
                                     Bronx, NY 10455


                                        Sibert, Tamatha
                                       504 West 134Th St
                                            Apt 2D
                                      New York, NY 10031


                                          Sica, Sarah
                                         530 E 76th St
                                           Apt 17F
                                      New York, NY 10021

                                Sign Design and JC Awning
                                      404 Willett Ave
                                  Port Chester, NY 10573

                                        Signore, Christina
                                           7 Hart Ave
                                       Yonkers, NY 10704

                                           Silberto, Jane
                                        5 Woodland Road
                                      Miller Place, NY 11764

                                      Silva, Stephany
                                     2388 Palmer Ave
                                  New Rochelle, NY 10801




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                                  Simmons Taylor, Lashana
                                    1350 5th Ave Apt 11F
                                    New York, NY 10026


                                        Simmons, Antwane
                                      437 Manhattan Avenue
                                             Apt 2-
                                       New York, NY 10026

                                       Simmons, Jamillah
                                      920 Prospect Avenue
                                       Bronx, NY 10459


                                       Simmons, Marques
                                        287 Hancock St.
                                            Apt. 4
                                      Brooklyn, NY 11216

                                         Simon, Norma
                                      2587B Bainbridge B2
                                        Bronx, NY 10458


                                      Simon-Pierce, Cheryl
                                      2298 Creston Avenue
                                            Apt. 20
                                        Bronx, NY 10468

                                        Simons, Debra A.
                                        22 Kendall Court
                                       Norwalk, CT 06854


                                         Simpson, Bruce
                                         1460 Lelandave
                                             Apt 2
                                        Bronx, NY 10460


                                       Simpson, Tyrone
                                       427 St John Place
                                           Apt. 2A
                                      Brooklyn, NY 11238

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                                      Sims-Rosado, Sharika
                                         818 E 166th St
                                           Bronx, NY

                                     Sinchi, Jessica
                              1243 Morrison Avenue - Apt. 2F
                                    Bronx, NY 10472


                                       Singh, Carolina
                                        94-11 34 Rd
                                           Apt 6G
                                 Jackson Heights, NY 11372

                                         Singh, Manjit
                                         18 Edith Way
                                       Hastings, NY 10706

                                        Singh, Shaniqua
                                         2133 Daly Ave
                                        Bronx, NY 10460


                                           Singh, Syron
                                      101 St Nicholas Aveneu
                                                Apt
                                       Brooklyn, NY 11237

                                        Singleton, Nichole
                                       1890 Schieffelin Ave
                                        Bronx, NY 10466


                                         Singleton, Yorel
                                      755 White Plains Road
                                             Apt. 2E
                                        Bronx, NY 10473

                                         Skender, Barleta
                                        45 Blackford Ave
                                       Yonkers, NY 10704




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                                       Skender, Bergita
                                       45 Blackford Ave
                                      Yonkers, NY 10704

                                         Skiba, Lauren
                                       252 Hillside Ave
                                       Paramus, NJ 7652


                                         Skyers, Jason
                                        12 Patchen Ave
                                           Apt. 4-I
                                      Brooklyn, NY 11221


                                         Slade, Edward
                                       120 Einstein Loop
                                            Apt 11D
                                       Bronx, NY 10475

                                      Slowe, Makeba
                                  503 Lakeside Village Dr
                                    Atlanta, GA 30317


                                        Smalls, Ayodele
                                        2441 7th Avenue
                                           Apt 7-A
                                      New York, NY 10030


                                        Smalls, Ayodele
                                        2441 7th Avenue
                                           Apt 7-A
                                      New York, NY 10030


                                     Smalls, Samantha
                                  2045 Rockaway Parkway,
                                         Apt. 7A
                                    Brooklyn, NY 11236




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                                         Smalls, Shanaya
                                      145 North Elliott Walk,
                                               Apt
                                       Brooklyn, NY 11205

                                         Smerling, Selene
                                          32 N Dutcher St
                                       Irvington, NY 31518


                                      Smith Ferri, Elizabeth
                                         1 Georgia Ave
                                             Apt 6D
                                      Bronxville, NY 10708


                                         Smith, Ashley
                                        3602 Boller Ave
                                             Apt 2
                                        Bronx, NY 10466

                                       Smith, Cara
                                 333 Avalon Gardens Drive
                                    Nanuet, NY 10954


                                          Smith, Ebony
                                       806 Lexington Ave.
                                             Apt. 2
                                       Brooklyn, NY 11221


                                          Smith, Evelyn
                                       1050 Tremont Street
                                            Apt. 619
                                        Boston, MA 2120


                                           Smith, Judy
                                        348 Maple Street
                                            Apt. B7
                                       Brooklyn, NY 11225




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                                         Smith, Lashawn
                                      2408 Cambreleng Ave.
                                             Apt.5
                                        Bronx, NY 10458


                                         Smith, Lastarr
                                       385 Fountain Ave
                                            Apt 3A
                                      Brooklyn, NY 11208

                                         Smith, Lenore
                                      75 West End Avenue
                                      New York, NY 10023

                                         Smith, Niketa
                                       667 E 237th Street
                                       Bronx, NY 10466


                                         Smith, Sabrina
                                          740 E 178 St
                                           Apt. 14-I
                                        Bronx, NY 10457


                                      Smith, Wesley
                                      300 Pelham Rd
                                          Apt 2P
                                  New Rochelle, NY 10805

                                     Smith, Yanique
                                  416 Cedar Avenue PH
                                 Mount Vernon, NY 10553


                                          Snagg, Kira
                                       517 Milford Street,
                                            Apt. 2
                                      Brooklyn, NY 11208

                                     Snyder, Margaret
                                 10 Mitchell Place, Apt. 13B
                                 New York, NY 10017-1801

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                                      Soadwa, Lilian
                                3313 WIlliam Johnstone Lane
                                          Apt. 24
                                    Dumfries, VA 22026

                                         Soares, Georgia
                                        45 Ridgewood Rd
                                       Ridgefield, CT 6872

                                     Sobers, Terrence
                                 1089 Grant Avenue 2nd Fl
                                   Brooklyn, NY 11208

                                       Sobolewiski, Beatrice
                                           160 Pilot St
                                        Bronx, NY 10464


                                        Sobolewski, Marie
                                           160 Pilot St
                                              B13
                                        Bronx, NY 10464

                                       Sohan, Amit
                             78-09 153rd Ave Unit 1D2 Box 11
                                 Howard Beach, NY 11414


                                           Sola, Dorcas
                                        1965 Lafayette Ave
                                             Apt. 7N
                                         Bronx, NY 10473

                                          Sola, Ssive
                                        3 Brandon Road
                                       Yonkers, NY 10704


                                           Solano, Iraida
                                      410 St Nicholas Avenue
                                                Apt
                                       New York, NY 10027



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                                         Soleyn, Earl
                                     636 Anderson Ave
                                           Apt 3C
                                  Cliffside Park, NJ 07010

                                      Solis, Gabriela
                                     39 Cross Hill Ave
                                  Yonkers, NY 10703-1423

                                         Somai, Lauren
                                         10 Fowler Ave
                                       Yonkers, NY 10701

                                     Somwaru, Aruna
                                   466 Grant Ave Apt 1R
                                 Brooklyn, NY 11208-3041

                                        Sorinola, Victoria
                                      4339 Snowcrest Lane
                                       Raleigh, NC 27616

                                           Soto, Jorge
                                         444 E 140 St Ph
                                        Bronx, NY 10454


                                         Soto, Michael
                                      320 East 115th Street
                                            Apt. 5C
                                      New York, NY 10029


                                            Soto, Tyla
                                         1574 Beach Ave
                                             Apt 2O
                                      Bronx, NY 104606346

                                Southard, Kristine DOnofrio
                                       6 Roy Place
                                  Eastchester, NY 10709




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                                        Southard, Kristine
                                             6 Roy Pl
                                      Eastchester, NY 10709

                                      Sow, Tcheoua
                                120 Benchley Place Apt 24B
                                     Bronx, NY 10475


                                        Sowell, Reginald
                                        2430 7th Avenue
                                           Apt 11-D
                                      New York, NY 10030

                                          Spady, Rose
                                         20 Martens Ave
                                        Valley, NY 11580


                                       Speights, Shaneeka
                                      19 Woodruff Avenue
                                           Apt. C-3
                                      Brooklyn, NY 11226


                                         Speller, Valerie
                                        1084 Gerard Ave
                                             Apt1B
                                        Bronx, NY 10452


                                    Spence, Hermine
                                    30 Park Avenue,
                                        Apt 1-J
                                 Mount Vernon, NY 10550


                                     Spence, Nathalia
                                1299 Corporate Dr Apt 1309
                                  905 Mitchel Field Way
                                   Westbury, NY 11590




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                                        Spencer, Tanya
                                         4 River Road
                                           Apt. 5M
                                      New York, NY 10044


                                        Spragion, Maleeka
                                        85 Crooke Avenue
                                             Apt. 5
                                       Brooklyn, NY 11226

                                         Sprint PCS
                                        PO Box 4181
                                Carol Stream, IL 60197-4181

                                        Spruill, Anissa
                                        12 Gombert Pl
                                      Roosevelt, NY 11575

                                         Spruill, Carnell
                                        30 Jefferson Ave
                                      Roosevelt, NY 11575

                                      Squillante, Lori
                                     22 Edgewood Pk
                                  New Rochelle, NY 10801

                                         Squirewell, Nakia
                                        2917 W. Oalcdalest
                                      Philadelphia, PA 19132


                                      Sr. Marie, Sobolewski,
                                           160 Pilot St
                                               B13
                                        Bronx, NY 10464


                                   St John Fisher College
                                 Attention Student Accounts
                                     3690 East Avenue
                                    Rochester, NY 14618



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                                     Stadnik, Amanda
                                     1250 North Ave
                                         Apt 218
                                  New Rochelle, NY 10804

                                       Stafford, Cara
                                       8 Cherokee Ct
                                  Katonah, NY 10536-2910

                                      Stalley, Erania
                                2111 Southern Blvd Apt 29B
                                     Bronx, NY 10460


                              Stanford Research Systems, Inc.
                                   Accounts Receivable
                                1290-D Reamwood Avenue
                                   Sunnyvale, CA 94089

                                    Stanlewics, Ronette
                                      67-45 79 Street
                                  Middlevillage, NY 11379


                                        Stanley, Naomi
                                         10 W 65th St
                                            Apt 2M
                                      New York, NY 10023


                                        Stanley, Taisha
                                       3026 Bouck Ave.
                                            Apt.Ph
                                       Bronx, NY 10469

                                       Stanley, Vashaun
                                        321 Hancock St
                                      Brooklyn, NY 11216

                                         Staples, Tara
                                       1656 Library Ave
                                       Bronx, NY 10465



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                                         Stapleton, Cathy
                                       610 Mead Street P.H
                                        Bronx, NY 10460

                                  State Industrial Products
                                       PO Box 74189
                                 Cleveland, OH 44194-0268

                                      Staton-Cisse, Celestine
                                       908 Old Country Rd
                                       Elmsford, NY 10523

                                       Stavropoulos, Anna
                                         67 Curtis Lane
                                       Yonkers, NY 10710


                            Stein Riso Mantle McDonough LLP
                                    405 Lexington Ave
                                         Floor 42
                                   New York, NY 10174

                                         Stein, Abraham
                                       500 East 182 Street
                                        Bronx, NY 10453

                                          Stella, Nicole
                                       605 Hollywood Ave
                                        Bronx, NY 10465


                                        Stephen, Shanyle
                                         134-35 166th Pl
                                             Apt 1C
                                       Jamaica, NY 11434


                                        Stephens, Donisha
                                       120 Benchley Place
                                            Apt. 20-J
                                        Bronx, NY 10475




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                                        Stephens, Yanique
                                      302 Jessamine Avenue
                                              Apt. 1
                                       Yonkers, NY 10701

                                     Stepheny, George
                                    147 Holland Avenue
                                  Staten Island, NY 10303


                                    Sterling, Jasmine
                                    25 Chestnut Place
                                         Apt. 25
                                 Mount Vernon, NY 10553

                                          Sterling, Karla
                                      720 East 151 Street 3C
                                        Bronx, NY 10455

                                         Sterling, Lennon
                                      4811 Wilder Ave 1st flr
                                        Bronx, NY 10470


                                        Stevenson, Theotto
                                         120 Alcott Place
                                             Apt 32F
                                        Bronx, NY 10475

                                         Stewart, Alfred
                                        149-59 253 Street
                                       Rosedale, NY 11422

                                        Stewart, Deandra
                                        2569 7th Ave 6G
                                      New York, NY 10039


                                         Stewart, Dekera
                                         80 Rivedale Ave
                                             Apt 10C
                                        Yonker, NY 10701



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                                       Stewart, Jacqueline
                                      233 West 140th Street
                                      New York, NY 10030


                                         Stewart, Paula
                                         10 Hill Street
                                            Apt. 7K
                                        Newark, NJ 7102

                                        Stewart, Rickeisha
                                       1574 Beach Ave 3Q
                                      Bronx, NY 104606309


                                       Stewart-Evans, Debra
                                      227-29th West 140th St
                                             Apt. 5D
                                       New York, NY 10030

                                            Stiles, Sara
                                           96 Gabriel Rd
                                      Corinth, NY 128221804


                                         Stokes, Celeste
                                        1933 Union Street
                                            Apt. 2K
                                       Brooklyn, NY 11233


                                          Stone, Sharon
                                        30-37 47th Street
                                              Apt. 3
                                        Astoria, NY 11103


                                  Strachan-Gittens, Esther
                                      100 Alcott Place
                                         Apt. 4-J
                                     Bronx, NY 10475




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                                  Strata Information Group
                                     3935 Harney Street
                                           Ste. 203
                                   San Diego, CA 92110


                                       Stratton, Quintasia
                                         598 E 164th St
                                             Apt. 1
                                       Bronx, NY 10456

                                      Strauss, Nicole
                                790 Bronx River Rd Apt A68
                                   Bronxville, NY 10708

                                         Streeter, Kathe
                                       20608 Johnson Rd
                                      South Bend, IN 46614


                                         Stroud, Saabira
                                      1700 Bedford Avenue
                                            Apt. 4C
                                       Brooklyn, NY 11225

                                          Stuart, Haylee
                                         53 Holloway St
                                       Freeport, NY 11520


                                         Stukes, Stacey
                                       2333 Webster Ave
                                            Apt 5-L
                                       Bronx, NY 10458

                                      Stukes, Tamika
                                  1258 E 57th St. 2nd Floor
                                    Brooklyn, NY 11234

                                          Su, Susan
                                      3443 Hylan Blvd
                                  Staten Island, NY 10306



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                                       Suarez, Christopher
                                       183 Lime Ridge Rd
                                      Poughquag, NY 12570

                                       Suarez, Jennica
                                       33 Albert Court
                                  Staten Island, NY 10303

                               Suez Water Westchester Distric
                                       PO Box 371804
                                 Pittsburgh, PA 15250-7804

                             Suez Water Westchester District 1
                                      PO Box 371804
                                Pittsburgh, PA 15250-7804

                                 Sullivan & Worcester LLP
                                      PO Box 842482
                                     Boston, MA 02284

                                    Sullivan, Dr. Angela
                                  19 De Halve Maen Drive
                                   Stony Point, NY 10980

                                  Sullivan, Marilouise B.
                                  417 E. Kiowa St., #405
                                Colorado Springs, CO 80903

                                   Sullivan, Oona Burke
                                    223 Garfield Place
                                 Brooklyn, NY 11215-2206

                                       Sumpter, Anthony
                                       667 Quincy Street
                                      Brooklyn, NY 11221

                                      SUNY Oneonta
                                  SICAS Center, Lee Hall
                                  Oneonta, NY 13820-4015



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                                    SUNY Oswego
                          SUNY Oswego Career Services Office
                        RE: Grad & Prof School Fair / Michael Petri
                                  Oswego, NY 13126

                                         Suryani, Dahlia
                                       1522 Jarvis Avenue
                                        Bronx, NY 10461


                                       Sutherland, Brittany
                                       1112 Gates Avenue,
                                             Apt. 1
                                       Brooklyn, NY 11221


                                    Sutherland, Violet
                                     60 Locust Ave
                                        Apt 506
                               New Rochelle, NY 108017337

                                     Sutton, Georgiana
                                  441 Lee Highlands Blvd
                                 Virginia Beach, VA 23452


                                         Sutton, Tanisha
                                      436 Jefferson Avenue
                                              Apt.3
                                      Brooklyn, NY 11221

                                      Swiatkowski, Elizabeth
                                          302 Daniel St
                                      Lindenhurst, NY 11757


                                         Sy, Maimouna
                                       1103 Sheridan Ave
                                             Apt 2F
                                      Bronx, NY 104564934




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                                          Sykes, Valerie
                                        642 Park Avenue
                                            Apt. 5B
                                       Brooklyn, NY 11206

                                          Sylla, Darlene
                                           46 Grant St.
                                      Phoenixville, PA 19460


                                      Symplicity Corporation
                                        1560 Wilson Blvd
                                              Ste 550
                                       Arlington, VA 22209

                                      Szala, Carolyn
                                    1 Cummings Ave
                               White Plains, NY 10604-1401


                                       Tabak, Ewa
                                      70 Locust Ave
                                        Apt B615
                                  New Rochelle, NY 10801


                                         Tabb, Stewart
                                        100 Carver Loop
                                            Apt 26A
                                        Bronx, NY 10475

                                       Tagoe, Aaron
                                 354 Nepperhan Ave Apt 6C
                                       Yonkers, NY

                                       Tagoe, Aaron
                                 354 Nepperhan Ave Apt 6C
                                  Yonkers, NY 10701-6531


                                         Tagoe, Jessica
                                       920 Baychester Ave
                                            Apt 16B
                                        Bronx, NY 10475

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                                         Taitt, Samira
                                         40 Ann Street
                                      New York, NY 10038


                                       Talavera, Wendy
                                        146 17th Street
                                           Apt 4-E
                                      Brooklyn, NY 11215

                                         Tam, Janeece
                                      1076 72nd street 2flr
                                      Brooklyn, NY 11228


                                         Tano, Kwadwo
                                        2660 8th Avenue
                                           Apt 15-G
                                      New York, NY 10030

                                      Target Fire Protection
                                      321 Changebridge Rd
                                      Pine Brook, NJ 07058

                                     Tavarez, Viviana
                                     18008 143rd Ave
                                  Jamaica, NY 11434-4718

                                         Taveras, Janet
                                         1 Mortimer Pl
                                      Bronxville, NY 84515


                                Tax Collector - New Rochelle
                                    City Hall Tax Office
                                       515 North Ave
                                  New Rochelle, NY 10801


                                       Taylor, Christine
                                          319 Ave. C
                                           Apt. 2-R
                                       Bayonne, NJ 7002



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                                          Taylor, Margo
                                        593 E 141st Street
                                            Apt. 3A
                                        Bronx, NY 10454


                                        Taylor, Shatiqua
                                       2902 Cortelyou Rd
                                            Apt 14C
                                      Brooklyn, NY 11226


                                         Taylor, Shinere
                                       700 E. 156th Street
                                            Apt. 6E
                                        Bronx, NY 10455


                                         Taylor, Stefan
                                       230 Clinton Street
                                           Apt. 1A
                                      New York, NY 10002


                                       Taylor, Yvonne
                                   c/o Eisenberg & Baum
                                24 Union Square East, 4th Fl.
                                   New York, NY 10003

                                    Teachey, Yvette
                                    138 Poplar Ave.
                                 Newport News, VA 23607

                                      Team Connection, Inc.
                                          PO Box 5045
                                      High Point, NC 27262

                                             Tech Air
                                          PO Box 0021
                                      Brattleboro, VT 05302




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                                         Teheran, Elsy
                                         110 Post Ave
                                           Apt 312
                                      New York, NY 10034

                                        Tejada, Melissa
                                         90-15 76th St
                                      Woodhaven, NY 11421


                                      Tejada-Brea, Yuclenia
                                          300 Winston Dr
                                              Apt 3022
                                      Cliffside Park, NJ 7010

                                      Tekovery Inc
                                 560 South Third Avenue
                                 Mount Vernon, NY 10550


                                         Telford, Kobe R
                                         1212 Ocean Ave
                                             Apt #4D
                                       Brooklyn, NY 11230

                                          Tellez, Xavier
                                       3282 Middletown Rd
                                        Bronx, NY 10465

                                Tempaire of Westchester Inc
                                       3590 Route 9
                                  Cold Spring, NY 10516

                               Temple Israel of New Rochelle
                                  1000 Pinebrook Blvd.
                               New Rochelle, NY 10804-1806


                                          Tenia, Eleanor
                                       1677 Sterling Place,
                                             Apt. 1
                                       Brooklyn, NY 11233



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                                       Terrelonge, Karen
                                       790 Astor Aveenue
                                             Apt2A
                                        Bronx, NY 10467

                                          Terry, Pela
                                        55 Abbey Lane
                                       Danbury, CT 6810


                                          Terry, Steve
                                       370 Decatur Street
                                            Apt -2
                                      Brooklyn, NY 11233


                                        Testman, Neshla
                                      734 Gates Avenue
                                            Apt. 2C
                                      Brooklyn, NY 11221


                                         Tevi, Innocentia
                                      3201 Grand Concourse
                                             Apt 3B
                                        Bronx, NY 10468


                                 Teye-Ampomah, Cecilia
                                   231 E Prospect Ave
                                         Apt 5D
                               Mount Vernon, NY 105502367


                                        Thaddeus, Eddie
                                        747 E. 216th St.,
                                            Apt. 3R
                                        Bronx, NY 10467

                             The Chronicle of Higher Education
                                      PO Box 16359
                             North Hollywood, CA 91615-6359




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                                    The College Board
                                   11955 Democracy Dr.
                                  Reston, VA 20190-5662


                                The Common Application Inc
                                   3003 Washington Blvd
                                         Suite 1000
                                    Arlington, VA 22201


                                 The DreamYard Project Inc
                                   1085 Washington Ave
                                       Ground Floor
                                     Bronx, NY 10456


                                       The HMA Law Firm
                                      7926 Jones Branch Dr
                                            Suite 600
                                       Mc Lean, VA 22102

                                   The MathWorks Inc.
                                      PO Box 21301
                                 New York, NY 10087-1301


                         The Riverside Church in City of New York
                                    Events Department
                                    490 Riverside Drive
                                   New York, NY 10027


                                  The Tuition Exchange Inc
                                  3 Bethesda Metro Center
                                          Suite 700
                                    Bethesda, MD 20814


                                  Thermo Fisher Scientific
                                   Accounts Receivable
                                    Bldg 2B, Suite 400
                                   Asheville, NC 28803




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                                        Thiam, Taalibah
                                         145 W 168th St
                                            Apt. 6C
                                        Bronx, NY 10452

                                        Thomas Cannella
                                      2884 Dudley Avenue
                                       Bronx, NY 10461


                                      Thomas Isles, Jennifer
                                        500 St.John Place
                                           Apt. 4-M
                                      Brooklyn, NY 11238


                                       Thomas, Bernisher
                                       700 E 156th Street
                                           Apt. 6A
                                       Bronx, NY 10455


                                       Thomas, Channele
                                       4064 Bronx Blvd
                                           Apt. 6
                                       Bronx, NY 10466

                                        Thomas, Chelsea
                                      666 Adee Ave Apt 5A
                                        Bronx, NY 10467


                                        Thomas, Danielle
                                        880 Boynton Ave
                                            Apt 11D
                                        Bronx, NY 10473


                                       Thomas, Denitrell
                                        113 Ralph Ave.
                                            Apt. 4
                                      Brooklyn, NY 11221




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                                         Thomas, Esther
                                      75 Cumberland Walk
                                            Apt-11A
                                      Brooklyn, NY 11205

                                         Thomas, Herbert
                                      179-61 Selover Road
                                      St. Albans, NY 11434

                                     Thomas, Janice
                                     35 Monitou Trl
                                  White Plains, NY 10603

                                         Thomas, Juliet
                                       111-36 179th place
                                       Jamaica, NY 11433


                                      Thomas, Keisha-mae
                                      4 Roxbury Drive East
                                             Apt 2
                                       Yonkers, NY 10710

                                         Thomas, Klisha
                                      2036 Tillotson Avenue
                                        Bronx, NY 10475

                                        Thomas, Mervyn
                                       172 Sullivan Place
                                      Brooklyn, NY 11225

                                        Thomas, Shanna
                                      200 E 131st St Apt 5E
                                         New York, NY

                                        Thomas, Sharon
                                         2 Hollis Court
                                      Bardonia, NY 10954




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                                        Thomas, Tenisha
                                        575 E 79th St Fl 1
                                       Brooklyn, NY 11236

                                         Thomas, Tincy
                                         33 Linn Place
                                       Yonkers, NY 10705


                                      Thomas, Xiomara
                                     51-45 Almeda Ave
                                          Apt 7F
                                  Far Rockaway, NY 11691

                                      Thomas-Travis, Sharryl
                                       1133 Burton Road #2
                                        Bronx, NY 10456

                                    Thompson , Robert J
                                      130 Liberty Ave
                                  New Rochelle, NY 10805

                                       Thompson Jr., Henry
                                      1447 Prospect Avenue
                                        Bronx, NY 10456


                                         Thompson, Daryl
                                       390 Georgia Avenue,
                                            Apt. 4C
                                       Brooklyn, NY 11207

                                        Thompson, Gervon
                                         967 Dumont Ave
                                       Brooklyn, NY 11207

                                      Thompson, Jacquelyn
                                      51-49 Almeda Avenue
                                       Queens, NY 11691




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                                        Thompson, Kaon
                                         977 Adee Ave
                                             Apt 1
                                        Bronx, NY 10469

                                       Thompson, Nadine
                                      137 Beechwood Ave
                                      Mt Vernon, NY 10553

                                    Thompson, Qwame
                                 2070 Seward Ave Apt 10D
                                     Bronx, NY 10473


                                       Thompson, Stephanie
                                        5801 Glenwood Rd
                                             Apt. 1E
                                       Brooklyn, NY 11234


                                       Thompson, Zohorah
                                        2260 Crotona Ave
                                            Apt 7L
                                        Bronx, NY 10457


                                  Thornton-Smith, Susan
                                       45 Park Ave
                                         Apt 4N
                                 Mount Vernon, NY 10550


                                         Threats, Teresa
                                       100 Benchley Place
                                            Apt 16H
                                        Bronx, NY 10475

                                         Tiller, Morgan
                                       36 Commander Ave
                                      Hempstead, NY 11550

                                          Tillman, Devin
                                         10302 Haas Ave
                                      Los Angeles, CA 90047

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                                    Time Warner Cable
                                      PO Box 11820
                                  Newark, NJ 07101-8120

                                    Timmins, Morgan
                                  100 La Salle St Apt 16F
                                 New York, NY 10027-4730

                                         Tissot, Victoria
                                       262 Mills Cross Rd
                                      Staatsburg, NY 12580

                                        TJM Promotions
                                        511 NW 48th Ter
                                        Ocala, FL 34482

                                         Tocco, Steven
                                        160 Warren Ave
                                      Hawthorne, NY 10532

                                        Toledo, Samantha
                                      2046 McGraw Avenue
                                        Bronx, NY 10462


                                       Tomaszek, Joanna
                                        93 Nassau Ave
                                             Apt 1
                                      Brooklyn, NY 11222

                                         Tomebe, Rosine
                                      975 Union Avenue #41
                                        Bronx, NY 10459

                                       Tomlin, Shavonne
                                       958 Hegeman Ave
                                      Brooklyn, NY 11208




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                                     Torres, Amanda
                                      64 St. John's Pl
                                          Apt. 1
                                  New Rochelle, NY 10801

                                      Torres, Andre
                                  1216 Burke Ave Apt 6A
                                        Bronx, NY

                                      Torres, Andrea
                                  1216 Burke Ave Apt 6A
                                        Bronx, NY

                                        Torres, Anthony
                                          Po Box 2144
                                       Alachua, FL 32615

                                       Torres, Arielle
                                 780 Pelham Pkwy S Apt D5
                                      Bronx, NY 10462

                                     Torres, Elizabeth
                                 2966 Southern Pines Loop
                                   Clermont, FL 34711

                                        Torres, Kimberly
                                      302 Euclid Ave #203
                                       Oakland, CA 94610

                                        Torres, Maribel
                                         87-16 97th St
                                      Woodhaven, NY 11421

                                         Torres, Mariela
                                       3276 Reservoir Oval
                                        Bronx, NY 10467

                                      Torres, Nancy
                                2030 Haviland Avenue 1st Fl
                                     Bronx, NY 10472

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                                      Torres, Rosalba
                                        30 Park Pl
                                  New Rochelle, NY 10801


                                        Torruella, Jessica
                                          3416 3rd Ave
                                             Apt 3A
                                        Bronx, NY 10456

                                       Torruellas, Giovanni
                                      159-38 Harlem Rvr 3A
                                      New York, NY 10039

                                  Toyota Financial Services
                                       PO Box 9490
                                   Ceder Rapids, IA 52409

                                         Tozzo, Deanna
                                         3729 Oriole Ct
                                      Shrub Oak, NY 10588


                                         Tracy, Donna
                                       150 West 225th St.
                                           Apt. 27-D
                                       Bronx, NY 10463


                                      Trader, Belinda
                                      1 Glencar Ave
                                          Apt 2-J
                                  New Rochelle, NY 10801

                             Trading Partners International LLC
                                    31 New Plant Court
                                 Owings Mills, MD 21117


                                  Transworld Systems Inc
                                       PO Box 5505
                               Attn Norcross Lockbox 24886
                               Carol Stream, IL 60197-5505



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                                       Traynum, Natasha
                                      342 Bainbridge Street
                                           Apt. 7-B
                                      Brooklyn, NY 11233


                                       Triad Sports Group
                                        912 Pancho Road
                                               #B
                                      Camarillo, CA 93012


                                       Tribble, Laclesha
                                      28 Mac Donough St
                                           Apt. 3K
                                      Brooklyn, NY 11216

                                        Triplett, Kimberly
                                       217 Bradwell Street
                                      Hinesville, GA 31313

                                    Tripodi, Christina
                                     226 Union Ave
                                  Mamaroneck, NY 10543

                                        Tripodi, Monica
                                          18 4th Street
                                       Stamford, CT 6905

                                     Troche, Mildred
                                2 West Farms Square Plaze 3
                                    Bronx, NY 10460

                                 Trump Maintenance Group
                                     378 Pelham Rd
                                 New Rochelle, NY 10805


                                        Tuider, Patience
                                        279 W 117th St
                                            Apt 5P
                                      New York, NY 10026



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                             Tuition Management Systems LLC
                                      171 Service Ave
                                           # 200
                                     Warwick, RI 02886


                                           Tull, Shireen
                                      7600 Shore Front Pkwy
                                            Apt. 12P
                                        Arverne, NY 11692


                                   Tullis-Bukhari, Mercy
                                    40 Memorial Hwy
                                          Apt 10Q
                                  New Rochelle, NY 10801

                                        Tunstall, Vincent
                                      111 Cameron Avenue
                                       Merrick, NY 11566


                                         Turner, Denise
                                      252 Tompkins Avenue
                                            Apt. 3-R
                                       Brooklyn, NY 11216


                                         Turner, Diondra
                                         760 Eldert Lane,
                                             Apt. 6F
                                       Brooklyn, NY 11208


                                         Turner, Felicia
                                          735 Magenta
                                            Apt 3F
                                        Bronx, NY 10472


                                         Turner, Francine
                                       168 Hendrix Street,
                                            Apt. 1B
                                       Brooklyn, NY 11207




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                                         Twerski, Yachi
                                           115 6th St
                                       Lakewood, NJ 8701

                                     Twumasi, Gloria
                                 2337 Tiebout Ave Apt 5A
                                     Bronx, NY 10458

                                          Tynan, Apryl
                                       79 Edgemont Road
                                       Katonah, NY 10536


                                         Tyner, Debbie
                                      225 East 149th Street
                                            Apt. 4S
                                       Bronx, NY 10451

                                          Tyre, Megan
                                        49 Orchard Street
                                       Cos Cob, CT 06807


                             U.S. Department of Homeland Se
                             Jacob K. Javits Federal Building
                                    26 Federal Plaza
                                  New York, NY 10278


                       U.S. Postal Service (NeoPost Postage-on-Call)
                                        CMRS-POC
                                    P.O. Box 7247-0255
                               Philadelphia, PA 19170-0255

                                        Uka, Kelechi
                                  3300 Palmer Ave Apt 232
                                     Bronx, NY 10475


                                          Umali, Ismael
                                         110 Fisher Ave
                                             Apt. 2A
                                      Eastchester, NY 10709



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                                          Umba, Sarah
                                         764 E. 229th St.
                                        Bronx, NY 10466

                                    United Parcel Service
                                     PO Box 7247-0244
                                Philadelphia, PA 19170-0001


                                   United States Treasury
                                  Internal Revenue Service
                                   P.O. Box 480, Stop 660
                                 Holtsville, NY 11742-0480

                                   United States Treasury
                                      PO Box 219236
                                Kansas City, MO 64121-9236

                                         University Lease
                                        28 Executive Park
                                        Irvine, CA 92614


                                        Urbina, Brianna
                                        44 Tuckhaoe Rd
                                             Apt 2
                                       Yonkers, NY 10710


                                         Ursuline Sisters
                                       3120 Naamans Rd
                                             T-311
                                      Wilmington, DE 19810

                                       USPS - Hasler
                                     PO Box 7247-0217
                                Philadelphia, PA 19170-0217

                               USPS Business Mail Entry Unit
                                  1000 Westchester Ave
                               White Plains, NY 10610-9651




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                                          USPS
                                      255 North Ave
                                  New Rochelle, NY 10801


                                           Utak, Imoh
                                      135 West 132nd Street
                                            Apt. 4A
                                      New York, NY 10027


                                         Utsey, Calvina
                                      1990 Lexington Ave.
                                            Apt 3-
                                      New York, NY 10035

                                         Vaccaro, Lisa
                                          15 Central Dr
                                      Bronxville, NY 10708

                                   Valdovinos, Diego
                                  404 N High St Apt O
                                 Mount Vernon, NY 10552

                                   Valdovinos, Diego
                                  404 N High St Apt O
                                 Mount Vernon, NY 10552

                                     Valencia, Lydia
                                    102 Richbell Road
                                  Mamaroneck, NY 10543

                                     Valencia, Maritsa
                                  2 Madeleine Ave 2nd Fl
                                  New Rochelle, NY 10801


                                        Valentin, Jerelyn
                                        600 W 169th St
                                            Apt. 2
                                      New York, NY 10032




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                                     Valentin, Lourdes
                                 2021 Holland Ave 5-I         N
                                     Bronx, NY 10462

                                         Valero, Leslie
                                      3920 3rd Ave Apt 4R
                                      Brooklyn, NY 11232


                                         Valles, Kareem
                                       765 East 166 Street
                                            Apt. 32
                                        Bronx, NY 10456

                                     Vanadia, Noelle
                                    140 Rose Hill Ave
                                  New Rochelle, NY 10804

                                      VanAlstine, Julieanne
                                          317 Main St
                                      Otego, NY 138253251


                                         Vance, Kendra
                                      348-50 E 119th Street
                                            Apt. 6B
                                      New York, NY 10035

                                    Vanderberg, Lindsay
                                    60 Grove Ave Apt 2
                                  New Rochelle, NY 10801

                                          Vann, Jahar
                                      186 Vernon Avenue
                                      Brooklyn, NY 11206

                                    Vara, Edith Julissa
                                      37 Orchard Ln
                                 Elmsford, NY 10523-2033




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                                         Varbaro, Tiffany
                                       389 Sylvan Knoll Rd
                                        Stamford, CT 6902


                                          Vargas, Aida
                                      2254 Davidson Avenue
                                             Apt 1
                                        Bronx, NY 10453

                                         Vargas, Jeannette
                                      61 Grandview Ave Fl 1
                                      Port Chester, NY 10573


                                    Varughese, Blessy
                                  221 Rumsey Rd Apt 2A
                                         Apt 2A
                                    Yonkers, NY 10705

                                      Vasquez, Diana
                                       34 E Maple St
                                Central Islip, NY 117223129


                                        Vasquez, Jasmine
                                       731 East 161st Street
                                            Apt. 8-Hb
                                        Bronx, NY 10456


                                     Vasquez, Raquel
                                    102 26 86th Avenue
                                         Apt B4
                                 Richmond Hill, NY 11418


                                          Vaughan, Fay
                                         3150 Desert Dr
                                              Apt. 7
                                        Atlanta, GA 30344

                                      Vaughan-Cox, Melissa
                                      1285 Walter Smith Rd
                                      Mobile, AL 366959682

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                                      Vaughan-Cox, Melissa
                                      1285 Walter Smith Rd
                                      Mobile, AL 366959682

                                      Vazhappilly, Sr. Sherly
                                      32832 St. Anthony Way
                                      San Antonio, FL 33576

                                         Vazquez, Melissa
                                       1005 Helderberg Ave
                                      Schenectady, NY 12306

                                       Vecchiarello, Eugene
                                         104 Brittle Lane
                                       Hicksville, NY 11801

                                          Veilleux, Dana
                                         43 Atherstone Rd
                                          Scarsdale, NY


                                         Velardi, Karen
                                      1840 Crompond Road
                                            Apt. 7C3
                                       Peekskill, NY 10566


                                         Velardo, Raynard
                                       2086 Bronx Park East
                                              apt 4c
                                         Bronx, NY 10462

                                    Velazquez, Nadia
                                      8417 89th St
                                Woodhaven, NY 11421-1323


                                      Velez, Melody
                                 1210 Mayflower Ave Apt 2
                                          APT 2
                                     Bronx, NY 10461




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                                         Veloz, D'Aliza
                                      318 45th St 3rd floor
                                      Brooklyn, NY 11220


                                         Veloz, Tania
                                           857 59th
                                            Apt. 2
                                      Brooklyn, NY 11220

                                       Ventrella, Taylor
                                      764 Wilcox Avenue
                                       Bronx, NY 10465

                                       Vera, Daniela
                                       592 Oder Ave
                                  Staten Island, NY 10304

                                         Verizon
                                      PO Box 408
                                  Newark, NJ 07101-0408

                                      Verneus, Wileena
                                       47 W Euclid St
                                  Valley Stream, NY 11580

                                        Vernon, Ricardo
                                      737 East 92nd Street
                                      Brooklyn, NY 11236

                                       Vicenti, Alejandro
                                       91 Glen Rock Cir
                                      Highland, NY 12528


                                          Viera, Alicia
                                      202 Montrose Avenue
                                            Apt. 2
                                      Brooklyn, NY 11206




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                                        Vieux, Kiara
                                         19 Frank St
                                  Valley Stream, NY 11580


                                        Vilchis, Jennifer
                                         63 Chestnut St
                                             Apt 1
                                       Yonkers, NY 10701

                                        Villamil, Lindsay
                                       7 Dean St. Unit 304
                                      Danbury, CT 68102004

                                        Vincent Tunstall
                                       111 Cameron Ave
                                       Merrick, NY 11566

                                        Vincent, Ahmari
                                         72 N 13Th St
                                        Newark, NJ 7107

                                        Vineyard, Juliette
                                         14 Vine Street
                                        Nyack, NY 10960


                                          Virola, Wanda
                                       2400 Hunter Avenue
                                             Apt. 7G
                                        Bronx, NY 10475

                                      Virtuit Systems
                                 101 Airport Executive Park
                                     Nanuet, NY 10954

                                      Voltaire, Susan
                                       626 E 80th St
                                 Brooklyn, NY 11236-3312




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                                       Waddy, Pernetha
                                        202 York Street
                                           Apt. 4C
                                      Brooklyn, NY 11201

                                      Wagner, Taylor
                                        83 East St
                                  South Salem, NY 10590

                                         Wahhaj, Hujrah
                                         114-38 169 St.
                                       Jamaica, NY 11434

                                       Waldman, Bruce
                                       18 Westbrook Rd
                                      Westfield, NJ 07090


                                         Waldo
                                    118 N Bedford Rd
                                        Suite 201
                                  Mount Kisco, NY 10549

                                        Waldron, Neville
                                         11140 156th St
                                       Jamaica, NY 11433

                                        Walfall, Sophia
                                      6343 Day Lilly Lane
                                      Charlotte, NC 28216

                                        Walker, Cathleen
                                        25 Hettiefred Rd
                                      Greenwich, CT 06831

                                       Walker, Shawanda
                                        2537 Young Ave
                                      Bronx, NY 104695619




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                                          Walsh
                                       57 1st Street
                                  New Rochelle, NY 10801


                                         Walston, Sharise
                                      1579 Metropolitan Ave
                                            Apt. 7A
                                        Bronx, NY 10462

                                        Walters, Fredrine
                                       1039 East 213 Street
                                        Bronx, NY 10469


                                    Walters, Natalie
                                     220 Pelham Rd
                                        Apt 3G
                                 New Rochelle, NY 10805

                                     Walters, Nicole
                                  550 Locust St Apt 5I
                                 Mount Vernon, NY 10552


                                        Waltower, Andre
                                      111 West 138th Street
                                             Apt 5
                                      New York, NY 10030


                                        Wanda, Berroa,
                                      101-125 W 147Th St
                                           Apt 13G
                                      New York, NY 10039

                                          Wang, Chloe
                                       132 Edgemont Rd
                                      Scarsdale, NY 10583

                                  Ward-Gauvin, Georgia
                                  300 Gramatan Ave. F78
                                 Mount Vernon, NY 10552



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                                          Ware, Rhonda
                                      65 Cumberland Ave Ph
                                      Great Neck, NY 11020


                                          Warner, Aiden
                                        140 Bellamy Loop
                                            Apt. 22F
                                        Bronx, NY 10475

                                      Washington, Brandon
                                          657 E. 59th
                                      Brooklyn, NY 11234


                                    Washington, Patricia
                                  321 St. Nicholas Avenue
                                          Apt. 59
                                   New York, NY 10027

                                    Washington, Renetta
                                       91 Brook Street
                                  Staten Island, NY 10301

                                      Washington, Shateka
                                       225 Macon Street
                                      Brooklyn, NY 11216


                                       Washington, Teri
                                        305 Decatur St
                                           Apt. 4F
                                      Brooklyn, NY 11233


                                        Watford, Brittney
                                        140 Einstein Loop
                                            Apt 21E
                                        Bronx, NY 10475

                                      Watford, Elijah
                                      14 Lincoln Ave
                                  New Rochelle, NY 10801



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                                       Watkins, April
                                     1593 St Marks Ave
                                           Apt 1
                                  Brooklyn, NY 112334723


                                  Watkins-Abdullah, Linda
                                      105 Quincey St
                                          Apt 1B
                                   Brooklyn, NY 11238

                                     Watts, Kawanna
                                    13 Ferdinand Place
                                  New Rochelle, NY 10801

                                    WB Mason Co Inc
                                      PO Box 981101
                                  Boston, MA 02298-1101


                                         Webb, Dwayne
                                        345 Classon Ave.
                                           Apt. 16-D
                                       Brooklyn, NY 11205


                                          Webster, Ciasia
                                      196 Rockaway Parkway
                                            Apt. 2B
                                       Brooklyn, NY 11212

                                    Webster, Samantha
                                    24 Congress Street
                                  New Rochelle, NY 10801

                                     Wedjane, Yvette
                                      159 Pelham Rd
                                  New Rochelle, NY 10805


                                      Wedlaw, Paula
                                    52 Webster Avenue
                                         Unit 36
                                  New Rochelle, NY 10801

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                                       Wedlaw, Sela
                                    52 Webster Avenue
                                         Unit 36
                                  New Rochelle, NY 10801

                                   Weisheit, Edwina G.
                                  390 B. Orrington Lane
                                  Monroe Twp., NJ 08831

                                         Welch, Beverly
                                         3304 Kingsland
                                        Bronx, NY 10469

                                      Welch-Jackson, Gladys
                                      120-20F Erdman Place
                                        Bronx, NY 10475

                                Weldler-Zelishovsky, Rachel
                                    1004 Madison Ave
                                   Lakewood, NJ 8701

                                Wells Fargo Vendor Fin Serv
                                      P.O. Box 70239
                                Philadelphia, PA 19178-0239

                                   Weschler, Michael
                                    49 Continental Dr
                                  West Nyack, NY 10994


                                 Westbrook Marketing LLC
                                   3199 Albany Post Rd
                                        Suite 236
                                  Buchanan, NY 10511


                            Westchester County Association Inc
                                  1133 Westchester Ave
                                       Suite S-217
                                 White Plains, NY 10604




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                                        Westerman, Sarah
                                         271 Kings Street
                                             Apt. 3B
                                      Port Chester, NY 10573


                                         Weston, Ashia
                                       41 Convert Avenue,
                                            Apt 4E
                                      New York, NY 10027

                                        Weston, Yakima
                                         2 Lafayette Pl
                                       Yonkers, NY 10701


                                       Whigham, Kimberly
                                       950 Evergreen Ave
                                            Apt. 9M
                                        Bronx, NY 10473


                                        White, Corinne
                                      40 West 135th Street
                                            Apt 3
                                      New York, NY 10037

                                         White, Juanita
                                        4044 Pauling Ave
                                        Bronx, NY 10466


                                         White, Kimberly
                                        704 Decatur Street
                                            Apt. 4R
                                       Brooklyn, NY 11233


                                         White, Krystina
                                       464 East 159th Street
                                            Apt. 1D
                                        Bronx, NY 10451




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                                         White, Latoya
                                      111 Skidmore Lane
                                             Apt-2
                                      Brooklyn, NY 11236

                                           White, Selina
                                      5335 West 53rd Street
                                      Indianapolis, IN 46254


                                        White, Timothy
                                       157 West 123rd St
                                           Apt. 4F
                                      New York, NY 10027


                                         White, Viveca
                                        2400 7th Avenue
                                             Apt 2
                                      New York, NY 10030


                                       Whitehead, Sarah
                                      110 Chauncey Street,
                                            Apt 5W
                                      Brooklyn, NY 11233

                                      Whitfield, Craig
                                  357 Marcus Garvey Blvd
                                    Brooklyn, NY 11221

                                        Whitton, Theresa
                                         9 Sterling Place
                                       Blauvelt, NY 10913

                                        Whyte, Asha-Kay
                                       3944 Duryea Ave A
                                        Bronx, NY 10466


                                  Wiggins-Amoako, Carol
                                    23 St Casimir Ave
                                       Apt. A 402
                                   Yonkers, NY 10701

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                                         Wilkens, Angela
                                         9 Huntley Road
                                      Eastchester, NY 10709


                                         Wilkins, Jessica
                                      261 E Kingsbridge Rd
                                            Apt N26
                                        Bronx, NY 10458


                                    Wilkinson, Tiffiny
                                    68 Chauncey Ave.
                                         Apt. 2
                                  New Rochelle, NY 10801

                                        William, Jnie A
                                      2130 1st Ave Apt 212
                                      New York, NY 10029

                                       Williams Reese, Staci
                                         13505 Linden Blvd
                                      S. Ozone Pk, NY 11420


                                        Williams, Andrea
                                       447 Rogers Avenue
                                             Apt-3R
                                       Brooklyn, NY 11225

                                       Williams, Annatashia
                                           962 e 217 st
                                        Bronx, NY 10469

                                   Williams, Antwain
                                  155 Hillside 1st Floor
                                 Mount Vernon, NY 10553


                                   Williams, Arnaisia
                                        8 E 4th St
                                          Apt 3
                                 Mount Vernon, NY 10550



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                                        Williams, Benita
                                        50 Burhans Ave
                                             Apt. 3
                                       Yonkers, NY 10701

                                    Williams, Charlene
                                       P.O Box 381
                                  New Rochelle, NY 10802


                                      Williams, Christopher
                                        2289 5th Avenue
                                            Apt 9-F
                                      New York, NY 10037


                                       Williams, Cornelia
                                         755 Gates Ave
                                            Apt. 3B
                                      Brooklyn, NY 11221


                                       Williams, Dwayne
                                        270 Wilson Ave
                                           Apt. 1-D
                                      Brooklyn, NY 11237


                                       Williams, Joe
                                 c/o Melcer Newman PLLC
                                   111 John St., Ste 1500
                                    New York, NY 10038

                                        Williams, Katrina
                                      620 Heron Glen Drive
                                       Columbia, SC 29229


                                        Williams, Keisha
                                        2991 Eighth Ave
                                             Apt 6J
                                      New York, NY 10039




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                                       Williams, Laquan
                                        561 Tenth Ave
                                           Apt. 5M
                                      New York, NY 10036

                                         Williams, Larry
                                        89-11 96th Street
                                      Woodhaven, NY 11421


                                          Williams, Lisa
                                      1850 Lafayette Avenue
                                            Apt. 8G
                                        Bronx, NY 10473

                                        Williams, Lourdes
                                      3896 Light Arms Place
                                       Waldorf, MD 20602

                                       Williams, Malcolm
                                       4357 Guther Ave
                                       Bronx, NY 10466


                                         Williams, Mason
                                       401 Morgan Avenue,
                                             Apt. 1A
                                       Brooklyn, NY 11211

                                        Williams, Matilda
                                       153 Herkimer Street
                                       Brooklyn, NY 11216

                                     Williams, Michelle
                                 775 Concourse Village East
                                     Bronx, NY 10451


                                        Williams, Monifa
                                      1950 East Tremont Ave
                                             Apt. 4B
                                        Bronx, NY 10462



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                                       Williams, Renee
                                       1775 Weeks Ave
                                            Apt. 2
                                       Bronx, NY 10457


                                     Williams, Rich
                                   117 South 2nd Ave
                                        Apt. 4D
                                 Mount Vernon, NY 10550

                                       Williams, Roberta
                                        68 Federal Court
                                       Galloway, NJ 8205

                                     Williams, Ruthell
                                  13 S. Cherrybrook Place
                                   Great Neck, NY 11020


                                       Williams, Shaquayia
                                      1430 Amsterdam Ave
                                             Apt 19A
                                      New York, NY 10027

                                        Williams, Sonia
                                       100 Dreiser Loop
                                       Bronx, NY 10475


                                       Williams, Tiffany
                                       95 Lenox Avenue
                                           Apt 4-G
                                      New York, NY 10026


                                        Williams, Tracey
                                      3591 Bainbridge Ave
                                            Apt. 5K
                                       Bronx, NY 10467

                                        Williams, Tricia
                                       4611 Matilda Ave
                                       Bronx, NY 10470

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                                         Williams, Veli
                                         508 E 162nd St
                                            Apt 2D
                                        Bronx, NY 10451


                                        Williamson, Damel
                                      40 MacDonough Street
                                             Apt. 4D
                                       Brooklyn, NY 11216

                                         Willis, Ebony
                                       150 Decatur Street
                                      Brooklyn, NY 11233

                                     Willis, Jermaine
                                 100 Bellamy Loop Apt 8B
                                     Bronx, NY 10475

                                         Willis, Marnay
                                       1741 Pacific Street
                                      Brooklyn, NY 11213

                                        Willomon, Leah
                                         P.O.Box 22016
                                        Trenton, NJ 8607


                                        Wilmer, Shawan
                                       218 Rochester Ave
                                           Apt. 2-A
                                      Brooklyn, NY 11213


                                         Wilson, Audra
                                        2082 Hughs Ave
                                             Apt 3
                                        Bronx, NY 10457


                                        Wilson, Daquana
                                      868 Amsterdam Ave
                                          Apt. 16-G
                                      New York, NY 10025

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                                    Wilson, Deborah
                              4220 Hutchinson River Parkway
                                        Apt. 13D
                                    Bronx, NY 10475


                                        Wilson, Gregory
                                         3673 Third Ave
                                           Apt. 14-C
                                        Bronx, NY 10456


                                    Wilson, Jasmine
                                     300 Pelham Rd
                                        Apt 2G
                                 New Rochelle, NY 10805

                                       Wilson, Sharlene
                                       1286 Albany Ave
                                      Brooklyn, NY 11203


                                        Wilson, Shirley
                                      1020 President Street
                                           Apt. 4D
                                      Brooklyn, NY 11225

                                         Wilson, Tshura
                                          4003 Hill Ave
                                      Bronx, NY 104662301


                                        Wilson, Vicente
                                      3000 Ocean Parkway
                                           Apt 19U
                                      Brooklyn, NY 11235


                                        Winston, Twana
                                      1595 East 174 Street
                                           Apt13G
                                       Bronx, NY 10472




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                                     Wisdom, Nelise
                                    40 Memorial Hwy
                                        Apt 19G
                                  New Rochelle, NY 10801


                                      Witherspoon, Victoria
                                       1556 Fulton Street
                                             Apt. 2
                                      Brooklyn, NY 11216


                                      Wlodarczyk, Andrezej
                                       425 W 45th Street
                                           Apt #1FE
                                      New York, NY 10036


                           Women's Research and Education Fund
                              Attn: Camille Failla Murphy
                                      PO Box 293
                                    Rye, NY 10580

                                         Wood, Alishia
                                        1037 Carlton Pl.
                                      Santa Ana, CA 92707

                                       Wooden, Sherlena
                                        1487 Clover Rd.
                                      Long Pond, PA 18334

                                     Woods, Charles
                                  426 South First Avenue
                                 Mount Vernon, NY 10550

                                     Woods, Tramelle
                                    41 Clinton Place 5C
                                  New Rochelle, NY 10801

                                     Worrell, Akimie
                                    160 E Sidney Ave
                                 Mount Vernon, NY 10550



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                                        Worthington, Ilana
                                      939 W. Green Tree Rd
                                      Milwaukee, WI 53217

                                        Wright, Deborah
                                          50 Durant Str
                                       Stamford, CT 6902


                                         Wright, Endra
                                         109 W 113 St
                                           Apt. 3-B
                                      New York, NY 10026

                                     Wright, Leona
                                     352 S 3rd Ave
                                 Mount Vernon, NY 10550


                                       Wright, Shannetta
                                      607 Willoughby Ave
                                            Apt 3A
                                      Brooklyn, NY 11206


                                      Wright-Brooks, Vikke
                                      4200 Inverrary Blvd
                                           Apt. 78A
                                      Lauderhill, FL 33319


                              WUFT-TV University of Florida
                                 University of Florida
                                WUFT-TV WUFT-FM
                                 Gainesville, FL 32611


                                        Wynn, Elizabeth
                                       505 Lorimer Street
                                             Apt 2
                                      Brooklyn, NY 11211




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                                        Wynn, Kimyarley
                                      210P West 153rd Street
                                              Apt
                                       New York, NY 10039


                                  Wynne, Mary Katherine
                                    10 Davenport Ave
                                          #1H
                                 New Rochelle, NY 10805


                                       Wynter, Kinnasia
                                        306 W 114th St
                                            Apt 3D
                                      New York, NY 10026

                                        Wynter, Patricia
                                         3229 Tenbroeck
                                        Bronx, NY 10469

                              Xerox Educational Services Inc
                                     PO Box 201322
                                 Dallas, TX 75320-1322

                                          Yac, Jasmine
                                           PO Box 83
                                        Speonk, NY 11972

                                   Yancy-Herring, Monea
                                  6 Washington St Apt. 1C
                                    Tuckahoe, NY 10707

                                     Yarchak, Megan
                                    190 Union St Apt 1
                                  Poughkeepsie, NY 12601


                                        Yarde, Michelle
                                        2185 7th Avenue
                                           Apt 3-E
                                      New York, NY 10027



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                                       Yeboah, Jennifer
                                         760 Eldert Ln
                                            Apt 3U
                                      Brooklyn, NY 11208

                                      Yeboah, Naomi
                                 140 Benchley Pl Apt. 27F
                                     Bronx, NY 10475

                                    Yeboah, Richard
                               40 W Mosholu Pkwy S Apt 9F
                                    Bronx, NY 10468


                                         Young, Grace
                                        1330 5th Avenue
                                           Apt 5-M
                                      New York, NY 10027

                                      Young, Jonathan
                                 40-20 Beach Channel Drive
                                  Far Rockaway, NY 11691

                                         Young, Nicole
                                      19 Campwoods Grds
                                      Ossining, NY 10562


                                        Young, Roselyn
                                       2063 Madison Ave
                                           Apt. 2D
                                      New York, NY 10037


                                         Young, Shakira
                                       60 Paladino Avenue
                                            Apt 1-B
                                      New York, NY 10035


                                       Younger, Nikeisha
                                        10 Midwood St
                                            Apt-4A
                                      Brooklyn, NY 11225

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                                       Yu, Shiau-Shu
                                      135 Ocean Ave
                                          Apt 1H
                                  Brooklyn, NY 112254717


                                        Yusifu, Salamat
                                       1382 Crotona Ave
                                            Apt 6B
                                       Bronx, NY 10456

                                    Zappa, Gabriella
                                     252 Myrtle Ave
                                Hawthorne, NY 10532-2001

                                         Zigler, Donald
                                        230-06 145 Ave
                                      Rosedale, NY 11413

                                     Zongo, Nematou
                                 121 N. High Street - Unit 3
                                 Mount Vernon, NY 10550


                                         Zuniga, Ivany
                                       1106 College Ave
                                           Apt. 3L
                                       Bronx, NY 10456

                                        Zuniga, Yolany
                                       3706 Willett Ave
                                       Bronx, NY 10467




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